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UNITED STATES DISTR.IC[` C()URT
EAS'l`ERN DIS'[`R]CT O]" LOUISIANA

 

DESIGNATIONS &_ OBJECTIONS KEY

_ Flaintiff`s' Af`i“mnativc Designations
_ Signal Defs_‘ Affirn'lalive Designations
m Dewan Defs.' Afiirmative Desig;nations
n Bumert Def`s.’ Af`f`mnativc l)esignations

Plaintiffs' Counter Designatiot‘ls
" Signal Defs.' Ccl\mter Designations
l)ewan Defs.' Counter Designations

… Bumet‘t Def`s.' Countf:r Designatiorls

 

P = Plaintiffs S = Signal [)efs. D = Dewan Defs_ B 1 Bumetl Defs.

 

 

KURIAN DAVID_ SUNY * (.`]Vll_, AC']'!O.\'
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* 10 Dewan Cnnsultants Pvl_ 1.td.
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Page 2 Page 4
APPEARANCFS: 1 EXAM[NATION INDEX
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(By. Hugh Sandlel', Esqulre) 4 EXAM[NATION I]Y MR. SANDLER.._.._.._..___ 7
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NEW ORLEANS, LA 70139

 

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2 (Pages 5 to 8)

 

 

 

 

 

 

 

 

Page 5 Page 7
1 F,xhibitl\lo. 612.. .... ..193 1 PROCEED|NGS
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§ artists§?F_'?__‘:Ti‘.‘_..“f‘.'i;.?fi‘?sii 3 we
(Nmes taken by witness at meeting) 4 .lonathan Sanders. Thls deposition is being held
4 5 at 201 St. Charles Avenue in New Orleans,
5 Exi{‘i[l;il;;;l:n:’:;d€;t;d '9/2~('5'/0'6) "'""'2] l 5 _Louisiana on November the l9th, 2009 at the time
5 Ethblt NO 615 215 '»' indicated on the video screen, 10:27.
(E-mail from J. Sanders dated 9/23/06) 5 My name is Kari Stegman_ I'm a certified
7 9 legal video specialist with Depo-Vue_ The court
a F‘Xhlb't NO‘ 616"' "2|7 10 reporter is Wendy Fair with Huffrnan & Robinson.
(E- mail from R. Marler dated 9i19/06) ,
9 Exh;bit NO 617 __220 11 Wili the court reporter please swear m the
(E- -mail from G Dl.ike dated ll/ 15/06) 12 witness.
10 Exh b t N 618... ...225 13 JOHN SANDERS’
11 di _1mai? from L` S`pe`m `d'atéd` 11/17/06) 14 after having been first duly sworn by the above-
12 15 mentioned Certified Court Reporter, was examined and
ij 16 mined as follows
15 17 EXAM[NATION BY MR. SANDLER:
16 13 Q. Good morning, Mr. Sanders.
17 19 A. Good moming.
§§ 20 Q. My name is l-lugh Sandler and I'm an attorney
20 21 at Dewey & LeBoeuf, and I'm co-counsel to plaintiffs
21 22 in this putative lawsuit. We met earlier off the
22 23 record just outside. But that is the first time we've
23 24 met' is that right?
24 ,
25 25 A. YBS.
Page 6 Page 8
1 STIPULATION 1 Q. Okay. Ijustwant togive youacouple-
2 2 a bit of preamble before we start with any questions.
3 lt is stipulated and agreed by and among counsel 3 But, as l said, I represent plaintiffs in a
4 for the parties hereto that the deposition of the 4 putative class aetion. lt's filed against a number of
5 aforementioned witness is hereby being taken under the 5 defendants, including Signal lnternational. l also
5 Federal Rules of Civil Procedure, for all purposes, in 5 want to say that I understand earlier this week your
7 accordance with law; 7 tenure at Signal came to an end. And l want to say
3 That the formalities of reading and signing are 3 I'm sorry to hear that. And l'd like to thank you for
9 specifically not waived; 9 making the drive out from Orange.
19 That the formalities of filing, sealing and 10 I did that drive, actually, a couple of
11 certification are specifically waived; 11 months ago. So l know it's like - it's a good ehunk
12 That all obj ections, save those as to the form of 12 of time. And l appreciate you doing that this
13 the question and the responsiveness of the answer, are 13 moming.
14 hereby reserved until such time as this deposition, or 14 A. Sure.
15 any part thereof, may be used or sought to be used in 15 Q. Before I hegin, I just want to conlirm you
15 evidence 15 are not represented by counsel.
17 17 A. (Witness nods hcad afiirmatively.}
13 * * * * 19 Q. And while there are a lot of attorneys in
19 5 19 this room, none of them is here on your behalf So
20 WENDY MAJORiA, certified court Reponer, state of 20 you understand there
21 Louisiana, officiated in administering the oath to the 21 A. l do.
22 witness 22 Q. okay. I wanted w add that despite that
23 23 any conversations that you had with Ms. Hangartner or
24 24 any other lawyers retained by Signal for the purpose
25 ' 25 of this litigation is privileged and I'm not entitled
i
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Page 17 l Page 19
E
1 A. Okay. I was working in Pascagoula, z 1 executives who you had met were Ron Schnoor and Dick
2 Mississippi in connection with a relief effort post- 2 Marler and that's it?
3 Hurricanc Katrina. § 3 A. 'l`hcy -- they were the two who interviewed
4 Q. okay. And before than f 4 me yes-
5 A. Before that at Texas instruments in 5 Q. Okay. All right. So when you started,
5 Attleboro, Massachusetts. 6 what was your first job at Signal? What was kind of
7 Q. Was there anyone from Texas lnstmments 7 the project that you were first given?
3 that worked at Signal who you met? Was there any of 3 A. l was hired to -- My title at the time was
9 the same personnel there? 9 special projects manager. l think that‘s the title.
10 A. No. 10 And the Special project was to -- was to oversee the
11 Q. No? 11 construction of a workers' housing facility for some
12 A. Not that l'm aware ot`. 12 full-time Signal employees who would be coming from
13 Q. And then you started at Signal in 13 lndia to the Unitcd States on H-ZB visas
14 July 2006? 14 Q. Did they explain to you the H-ZB program
15 A. Correct. 15 when they hired you, given that your job pertained to
15 Q. Actually, before we go there, what were you 15 a big element of their -- of that program?
17 doing at TI‘.’ You were - 17 A. Did they --
13 A. l was a project manager. Well_. l had 10 Q. Did Signal, whomever, whether it was -
19 several positions 19 whomever it was at Signal, did that executive, whether
29 Q. Did you - Was it like a combination of 20 it was Mr. Bingle or Mr. Schnoor or Mr. Marler, did
21 your engineering background and your business 21 they explain to you what the H-ZB program was that
22 background, or what were you kind of employed to do? 22 they were undertaking?
23 A. Project manager was the highest position 23 MR. ALEXIS:
24 that l had. 24 Objcct to form.
25 Q. Okay. 25 Go ahead and answer.
Page 18 Page 20
1 A. And before that, business development and 1 A. l ust -- just general -- general
2 some purchasing experience also. 2 information We want to get some Indian workers in to
3 Q. So dealing with like vendors and dealing 3 Signal on an l-l-2B visa. That's one of many issues
4 with management? 4 that you will be responsible for coordinating To
5 A. Yes. 5 assist in that process, you would be working with
5 Q. Somewhat similar to some of the things you 5 Global Resources, that they‘re handling the recruiting
7 were doing at Signal, at least when you first started? 7 aspects
8 A. Yeah. Corporate America-ty‘pe things. 3 EXAMFNATION BY MR. SANDLER:
9 Q. All right. Sounds good. 9 Q. And did they tell you anything about these
10 You started at Signal -- l know you already 10 workers that were coming over?
11 stated this, but you started at Signal in .}uly 2006? 11 A. Well, they were from lndia.
12 A. Yes. 12 Q. Okay. When was that described to you?
13 Q. And the date? Do you remember your iirst 13 A. That was the project that they had in mind
14 day? 14 for me when the interviews had gone well.
15 A. July 26th, l believe 15 Q. Okay. And so who told you that
16 Q. July 26th. Okay. 15 specifically?
17 And who specifically hired you at Signal or 17 A. l believe it was both Ron Schnoor and Dick
13 can you tell me the application process? 13 Marler.
19 A. Sure. l found out about a potentialjob 19 Q. And developing the man camp was -- How
20 opportunity and interviewed first with Ron Schnoor, 20 would you describe it as kind of a project? Was it
21 who was the senior vice president and general manager 21 like -- How much time did you have to commit to it?
22 at Signal. That was his title at the time. And then 22 And do you want to tell me a little bit about kind of
23 after that l interviewed with Signal's president and 23 ramping up?
24 CEO, Richard Marler. 24 A. Sure. lt began in -- for me, of course, in
25 Q. Okay. So before you started, the 25 late J nly and had to happen on a very condensed time
l

 

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there was nothing

 

 

 

A. Yes.

for that many people

Page 21 Page 23
frame. Because the first workers came in late 1 worked with including the lndian workers, and others
October. So within three months Sig;nal had to 2 could see that. Another adjective is hard working and
coordinate developing an entire workers' housing 3 diligent That would be two.
facility, which we had never done before, had to 4 Q. Okay. You were being asked to cover off
coordinate that from a green field, so to say, where 5 work in both Texas and Mississippi for the housing

6 facility?
So it was my responsibility to coordinate '»' A. Couid you repeat the question?
the selection of vendors to meet with them, convey 3 Q. Sorry. Which yards were you responsible
that information to senior management get their 9 for building a housing facility in?
approval, and then once their approval was granted, to 10 A. Okay. l was responsible for Pascagoula,
interact with many other departments within Signal to 11 Mississippi in its fullness as far as the -- it was my
effect the construction of this facility. 12 job to coordinate those things.

Q. And this was -- this took up your whole 13 ln Texas, it Was a somewhat different
day, at least at the outset. I mean, this was a lot 14 situation We would use the same vendors as far as
of work; is that right? 15 the buildings and the kitchen equipment and -- many of

MS. FENTON: 15 the same vendors, but the actual construction of that

Objection to form. 17 camp, of that housing facility, was done by Texas
EXAMINATION BY li/[R. SANDLER: 15 management with regular updates given to me since l

Q. You can answer that 19 couldn't oversee that construction plus Pascagou|a

A. Yes. lt took up all of my time 20 being in Pascagoula.

Q. How many hours were you putting in? Let's 21 Q. So the decisions, say, to -- just by, for
say for the month of August roughly. 22 instance, to go with whatever vendor to put a housing

A. l don't know, but it was -- there were some 23 facility down, to build the actual housing facility,
days that l worked in excess of 12 hours. That 24 you decided the Pascagoula one, who it would be for
happened, if l recall, fairly regularly 25 Pascagoula?

Page 22 Page 24

Q. Okay. And you said earlier that they were 1 A. Well, it wasn't -- it wasn't my sole
putting up a man camp for the first time ever. Sorry. 2 decision
l think you said housing facility for the first time 3 Q. Okay.
ever. Did they explain to you why they were doing 4 A. Rathcr, l was the one who would be thc
this? l mean, l know that they -- Illdian workers were 5 point man1 if you will, who would interact with
coming over. Did they explain to you why they were 5 potential vendors, get their quotes, consider them
bringing indian workers over, why a housing facility 7 along with purchasing, and then arrive at what we at
needed to be constructed for them? 3 our level felt would be a good decision and then get

9 senior management's approval. Because they -- they're

Q. Please explain. 10 the ones with that authority, not-- not me.

A. July 2006 was not even ayear after 11 Q. Right. You had a reporting authority to
Hurricane Katrina had, as -- as we know1 devastated 12 people at Signal about what was going on, right?
much ofthe Gulf Coast, including Pascagoula. 13 A. When you say "reporting authority" --
Pascagoula was tlooded. There were no homes, no 14 Q. You bad to tell ~- you had to keep
places available yet for people to live. Workers had 15 management apprised of the developments as they were
gone, full-time Signal employees 15 taking place in the process from whenever you started

This was seen, the l-l-ZB process, as a way 17 at the end of Ju|y right through -
to get workers in to fill Signal's needs for its 10 A. Yes.
business and provide these workers with a place to 19 Q. - into the fall and winter?
stay in the absence of other housing in the community 20 A. Yes.
21 Q. Okay. And how periodically were you

Q. How would you describe yourself as an 22 updating'.’
employee of Signal if there were a couple of 23 A. l kept Signal management, including Signal
adjectives to describe it? 24 senior management, apprised on a weekly basis

25

A. l cared very much about everyone that l

 

 

beginning I believe, in August and continuing into

 

 

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Page 25 Page 27
1 September and even October. 1 MR. SANDLER:
2 Q. And you were - but you were traveling 2 Sure. lt's SIGE -- I‘ve got a copy for
3 between Pascagoula and Orange, Texas? 3 you.
4 A_ l did make some trips to Orange, but most ' 4 EXAMINATION BY MR. SANDI_.ER:
5 of my time was spent in Pascagoula. 5 Q. This is for the -- I'm going to give this
5 Q. Was there anyone in Pascagoula who was ' 5 to you, Mr. Sauders.
7 going to Orange as frequently as you were? 7 A. Okay.
3 A. Are you referring to this particular 3 Q. This is taken out of like., I guess what
9 pul'pose? 9 we‘ll just call for the sake of ease, your diary.
10 Q. Yeah, for this purpose. For the purpose of 10 A. Yes.
11 working on the housing facility. 11 Q. This will he marked as Exllibit 601. Can
12 A. l was the one who went the most, though ' 12 you just read it over and then we can talk? It‘s very
13 those visits were, l think, relatively few in number. 13 short
14 Q. What would you say about one objective 14 (Whereupon, the document as described above
15 being - well, what would you say were the main 15 is marked as "Exhibit No. 60].")
15 objectives of your job kind of on a larger scale at 15 A. Yes. It's dated Friday, August -'
17 Signal? What were some of the things that were t 17 EXANIINAT[ON BY MR. SANDLER:
13 important to management in terms of your project? And 13 Q. You don't need to read it out loud. You
19 let's think big picture here, like what you think like - 19 can just read it and then we'll talk about it.
20 Mr. Marler, Mr. Schnoor would value in terms of what 20 A. Okay.
21 you were putting forward. 21 (Witness reviews document.)
22 ` A. To make sure that things were completed as 22 I’ve read the documentl
23 far as this workers' housing project_, completed in an 23 Q. Okay. Right. Do you see in the second
24 expeditious fashion and with -- even though we had 1_ 24 sentence that you said: l've already saved the
25 never done it before and needed to defer to our 25 company $3 million?
Page 2 6 Page 28
1 vendors1 especially -- especially GE for the facility 1 7 A. Yes.
2 itself, what do you reoommend, how should we do this. 2 Q. Was that like -- that was considered quite
3 We hadn't done it before. A lot of people, short 3 a good accomplishment, I guess?
4 time. 4 A. Yes.
5 So they wanted to make sure that that 5 Q. Why was that considered important to you?
5 process went as smoothly as possible and as quickly as 5 A. Because Signal was going to go witha
7 possibie so that when workers came, they would be able ' 7 different vendor than GE Modular Space -- I think it
9 to adapt comfortably and quickly into the new 3 was, if l remember, General Marine Leasing, perhaps -
9 environment in the United States and work for us 9 and had a quote for somewhere between 5 and
10 effectively. .1° $6 million, if l remember. And yet l was -- l found
11 Q. Was cost a factor? 11 out about GE Modular Space and recognized that name --
12 A. Could you describe? 112 GE is obviously avery well-known brand -- and
13 Q. Was saving money a factor or that was l 13 therefore felt that -- after meeting with them that
14 important for Signal? 14 the solution that they offered would meet our needs
15 A. We wanted to provide the very best facility 15 and provide a good quality camp for a price that
15 that we could for -- for the price at hand. 16 was -- at the time that l was writing this felt would
17 Q. Okay. .Iohn - Mr. Sanders -- 17 be approximately 33 million less_
13 A. Does that answer your question? _13 So if you can get a BMW -- a new BMW -- or
19 Q. Yeah. I just want to show you a couple of _19 if you can get a BMW from one dealer for one price and
20 documents, and then we can talk about them. 20 a very similar car for a lower price, then most people
21 A. Sure. _21 would opt for that. And that was sort of the context
22 MR. SANDLER: 22 that this is written in.
23 For the record, it's SIGE0004560. 23 Q. Okay. So cost was important as a factor‘.’
24 MR. ALEXIS: 24 A. lt was not the only factor. lt was one of
25 Would you repeat that, please? § 25 many factors, comfort and ability of the vendors to
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Page 29
. 1 construct quickly also being very important So 1
2 numbers of things including cost_. yes. : 2
3 Q. Mr. Sanders, did you -- in your 3
4 correspondence with senior management, was there a lot n 4
5 of e-mail traffic about the comfort of lndian workers 5
5 at the camp? Was this like something that was 5
7 discussed, like how comfortable are the lndian workers 7
9 going to be‘.’ ' 5
9 A. Yes, we had discussions 9
10 Q. There are e-mails about that? _ 19
11 A. l don't know if they were over e-mail or 11
:12 not. You might know better than me. But yes. 12
13 discussions were had. And it was very important to 13
14 them, as well as of course, to me. ; 14
15 Q. Okay. Mr. Sanders., l'm going to show you 15
_15 another document -- n 1 15
17 A. Okay. 17
15 Q. -- similar to the one Ijust showed you. 13
19 This is going to be Exhibit No. 602. 19
20 I'll ask you to read it over. 20
21 A. Okay. 21
22 (Witness reviews document.) 22
23 (Whereupon, the document as described above 23
24 is marked as "Exhibit No. 602.") 24
25 EXAMINATION BY MR. SANDLER: 25
Page 30

1 Q. Let me know when you're done, Mr. Sanders. 1
2 A. l've read the document 2
3 Q. Okay. All right. Can you read to me 3
4 precisely what‘s said? You know there's like a phrase 4
5 in there that says, "you've earned your salary," one 5
5 of the date entries. l think it's towards the bottom. 5
7 A. Yes. 7
3 Q. 0kay. That's the only date entry l'm going 9
9 to ask you about right now. Right‘.’ 9
10 A_ okay. 10
11 Q. So can you just read to me, "you've earned 11
12 your salary" and then the rest of that paragraph. 12
13 A. Yes. lt says -- 13
- 14 Q. .Iust read it, if you will. 14
` 15 A. Okay. I'm not sure exactly where to start 15
15 l said. "He read the draft email --" he being Ron 15
17 Schnoor "--r l had prepared for the CEO, Dick Marler, 17
19 and said1 'Well, it looks like you've earned your 18
19 salary!'" 19
29 And then I say, "Nothing like having --" in 20
21 the diary l put "Nothing like having an immediate 21
22 impact and putting cash right where the senior 22
‘ 23 executives want it most - into the bottom line. This 23
24 will help immensely in salary negotiations down the 24
25 m _" 25

 

Page 31

Q. Okay. So cash -- l mean, saving the bottom
line, as you referred to it in your entry, that was
important at Signal?

A. Within a given context of high quality for
the workers, yes.

Q. All right. There's two things l want to
ask you about There's one, the saving money for
Signal, and then the second one, salary negotiations
down the road that you put on the end of that.

Su saving money, if l under -- tell me if
l‘m understanding that entry correctly. Saving money
for Signal is good for -- would have been good for you
in your future salary negotiations ls that a correct
interpretation?

A_ Yes, "l`hat was my thought as l wrote this
in early August '06_

Q. Okay. And who -- just remind me, it was
Ron Schnoor who said, "You‘ve earned your salary"‘.’

A_ Yes. Yes.

_ Q. So Mr. Schnoor was happy that you had saved
money for Signal?

A. Yes.

Q. So it was an important factor?

A. Yes. l think that's common practice at
most companies

 

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Q. Are there similar instances you can just
recall, not off the document, obviously, where you've
been told that you've earned your salary because of
things that you've done that have, say, helped with
worker comfort or other considerations in the housing
facility?

A. l don't remember right now.

Q. Okay. Okay. Thank you.

Now, is it fair to say that in August 2006
you were still getting familiar with Signal and the
people and the culture?

A. Yes.

Q. You had just started in July and everyone
else there had obviously been there when you were
coming in?

A. Yes.

Q. Okay. What was your first impression of
the structure of Signal? And l realize that's vague.
lwant to know were the executives separate and
detached or was the company like one big family where
everyone down from like a shipyard worker would be
comfortable with talking with, say, Mr. Marler or
Mr. Schnoor? And this is just your impression. I
mean, it's not anything more.

A. Sure. Sure.

 

 

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My impression - my initial impression upon
joining was that Ron was -- Ron Schnoor was very
approachable. Dick Marler less - less so, but l came
latcr, you know, let's Say well into 2007 and furd'ier,
to realize. well. he's the executive of a large
company and has many things on his mind more than --
more than just the things that l‘m concerned with.

And so some impressions that l might have
had and even wrote about in my diary. [realized after
the fact just might have caught him at a moment and
interpreted something on my side wrongly. And then in
that moment wrote about it and yet would revise
things

Q. All right. l‘m just curious to know what
your thought of the whole Signal company was, what
your impression was, not - perhaps l was wrong
because I stipulated Mr. Marler and Mr. Schnoor. What
ljust mean is -

A. Oka_v.

Q. - was there a general community feeling at
Signal or was it more you have your management here,
you have your office people here, and you have your
shipyard workers there as separate entities. .lust -
just -

A. Sure. l-- l viewed Signal, my time there,

 

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as being part of a big family.

Q. Okay.

A. ln t`act, they even in -- l can't remember
if it was -- l think it was 2007 maybe more than 2006,
but, at any ratet they would have Signal family days
in Pascagoula where all of the Signal employees from
the very top, Mr. Marler and Mr. Schnoor, along with
their wives and loved ones would come, as well as all
ot`Signal management and all of the shipyard workers
with their families who were able to. So it was an
environment that I enjoyed in that regard

Q. Was that often, those - those -- were they
picnics? ls that what you said?

A. The picnic was an annual event.

Q. Once a year? .

A. Yes. But l think that it showed the spirit
that the company sought to convey and the
inclusiveness of it as it did so.

Q. l‘m going to ask you about an instance and
then you can reflect on it as you like. One day l
think quite early in your tenure -- l think it was
like beginning of August 2006 --

Al Okay.

Q. ~- you let Anjay Keswani, who is the man
who was in charge of the food, move food in and out of

 

 

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the kitchen by accessing the hallway where the
executive offices were.
Do you recall that instance?

A. Yes_

Q. Okay. Did that create a problem for any of
the executives?

A. They wondered why -- they wondered why the
office area that -- that they worked in was being come
through with the wait staff and just the vendor
people. But l -- you know, l --

Q. Sorry. Who spoke to you about that? Who
like alerted you to that fact? _

A. lt was Mr. Marler's secretary, Diane Davis,
who -- Imean, as I wrote in this -- earlier in this
same document, when I realized what I had done, I was
modified l think that's the term that I used.

Q. What did she say that led you to be
mortil'ied?

A_ She said, "John, it's not a big deal.

Nobody is upset But in situations like this, please
have -- it would be best if you had the vendors go
through the primary Signa| entrance instead of the
executive entrance."

And so lon my own realized, oh, my
goodness, and made sure not to do it again.

 

Page 3 6

Q. Right. Right. Because it was pretty - I
mean, no -- regardless of the words that Diane,l
think you said her name is, what Diane said, there was
a certain amount of gravitas to that, right? l mean
this is --

MS. FENTON:

Obj ection to the form.

A. l mean -- No. She was very -- she was very
cordial. And it was a big deal only for me because I
wanted to respect our senior managers in that way and
l could have been more considerate and made sure, too.
That was the sense I'm trying to convey.
EXAMINATION BY MR. SANDLER:

Q. So to be fair, then, you having Anjay or
perhaps another vendor use a hallway where
Mr. Marler's office is would be a sign of disrespect
to Mr. Marler? n

A. Just not showing the full -- full proper
thinking on my part. Because not even all of Signal's
employees have access to that area.

Q. Okay. So that's a detached area?

A. I mean, it's -- it's -- it's accessible and
their doors are open.

Q. Wait. Did you just say all Signal
employees didn’t have access to that area?

 

 

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A. Their -- I had -- l had access to it1 but 1 And for the record, it's SIGE0556555.
the vendors -- lhe vendors really should have used 2 (Whereupon, the document as described above
another door. That's the thing I'm trying to convey. 3 is marked as “Exhibit No. 603.")
And l want to emphasize that they were very, very kind 4 EXAMINATION BY MR. SANDL.ER:
in the way that they informed me ofthat. 5 Q. I'm just going to ask you to read it. Oh.
Q. Now, what about the testers? And l know -. 5 You're already ahead of me.
Idon't know if that's a word that was used at Signal. 7 A. Okay. l've read the document
l don't know if that's a test word. lt‘s a word that 9 Q. Okay. Does this document recollect for
I've kind of come up with. I mean people like, say, 9 you -- this is -- the date is Tuesday, August 8th,
W.A. Shouse or people like that. 10 2000. You wrote this?
Would "tester" he a good word for - to 11 A. Yes.
describe people in his - what his job was? 12 Q. Okay. And this -- l think we're just going
A. Well, he was a pipe superintendent 13 to talk ahout, right now at least, just the second
Q. A pipe superintendent Okay. 14 sentence.
Did they strike you - Let me be more 15 A. Ol<.ay.
specific At some point later on, Signa| sent certain 15 Q. I'm going to read it into the record.
employees to India to test the workers, right? 17 "I talked with W. A. Shouse --" "I" being
A. Yes. 13 you, Mr. Sanders, right'.’
Q. Okay. So when Isay "testers," those are 19 A. Yes.
the people who l mean. 20 Q. "-- who told me about India and how it's
A. Yes. 21 like another planet, teeming with hordes of
Q. Specitieally Mr. Shouse was sent? ' 22 poverty-stricken people clogging chaotic streets and
A. Yes. 23 smelling like a hot, humid combination of incense and
Q. So did he strike you as someone who would 24 sweat."
be open and accepting to workers from another country? z 25 What do you think Mr. Shouse was telling
Page 38 Page 4 O
A. He didn't strike me wrong in any way in 1 you that for?
that regard. l don't remember him striking me wrong. 2 A. Well, first of all, l don‘t think those are
Q. So he didn't -- There‘s nothing -- He never 3 his words. If you met him, he doesn't talk like that.
expressed anything to you that would make you think 4 Q. Okay. l have not met him.
that he'd be less than accommodating -- or less than 5 A. But, basically, like l said, there are lots
happy to have, say, Indian workers come from -- come 5 of people there. I mean, they're the most -- the
to work at Signal? 7 second-most populated country on the plant. And
A. No. l mean, his -- Signal's perspective is 3 that's immediately obvious to anyone who goes and --
that we want to have workers who are well qualitied. 9 Q. What did Mr. Shouse say to you that would
And within that we have all kinds of workers from 7 10 get you to record that sentenee? And l understand
dii`l`erent races1 different cultures, and those are 11 this is over three years ago, so you're not going to
welcomed. 12 remember.
Q. What was -- Did he express to you his 13 A. Right. Right. Right. Idon't remember.
perspective on India, the eountry? 14 And as far as the poverty-stricken people, that might
A. lle said it's different from the United ' 15 have been my own interpretation based on never having
Slatcs. _ 16 been there.
Q. Did he give you any specific examples of _ 17 Q. Right.
that‘.’ ` 13 A. For instanee, l had awonderful impression
A. There's a lot more people, obviously. I'm 19 of Mumbai and would love to go back. It'-s like New
not sure it`l remember anything -- l don't remember 20 York City in many ways. You might like it, too.
anything right now. _ 21 Anyhow, yeah, l_knew that India was a developing
Q. All right. I have a document So l'll 22 country, very poor. And so when he said "teeming with
just give it to you and we'll talk about it. `- 23 hordes" -- lmean, he -- well, he didn't say. That
A. Okay. l 24 was my impression ii'om what he said. ldon‘t even
Q, l'm going to enter this document as 603. 25

 

 

remember him saying "poverty-stricken people." lt was

 

 

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1 probably my impression based on developing countries § 1 A. l don't remember if there had been a full
2 Q. Was he saying something to you to the z 2 announcement at that time.
3 effect -- just tell me yes or no because l'm trying to § 3 Q. Okay. So if l were to say to you that
4 understand a little bit about this - I'm really l 4 there wasn't, you‘d have no reason to contradict that?
5 excited that we're having people come from India f 5 A. l don't know one way or the other.
5 because it's a really busy metropolis filled with lots 5 Q. Okay. So l asked you previously in August,
7 of people. I can't wait for them to get here? Was 7 you know, whether there was like any kind of like
3 that what you took away from Mr. Shouse? 3 nicknames or anything used for the housing facility.
3 A. l would sayjust that it's another -- it's 9 And you don't recall if there was or wasn't?
10 another culture, another environmentl And wc want to 1° A. Could you help refresh my memory?
11 have well-qualified workers come to Signal from there. 11 Q. Sure. Let me do that. Let me enter
12 And he worked with me on many aspects and just to have 12 another document, SIGE0556543. And it will be Exhibit
13 those aspects be carried out well so that the workers 13 No. 604.
14 could perform on the job. 'l`hat was his main concem1 14 Just read it over and then we'll talk about
15 workers fitting in comfortably with the rest of the 15 it.
15 workforce and performing well_ 15 (Whereupon, the document as described above
17 Q. And because that was his concern, he told 17 is marked as "Exhibit No. 604.")
13 you that the country they're coming from was a humid 18 A. (Witness reviews document.)
19 combination of -- or that he told you about the 19 Okay.
20 country and that it was teeming with lots of people; 20 EXAMlNA'l`ION BY MR. SANDLER:
21 is that right? 21 Q. Ok.ay. You see in the first sentence
22 A. Uh-huh (indicating affirmatively). 22 there - l'm just going to read it. "I got into work
23 Q. Because he wanted high-quality workers? 23 this morning and went immediately out to the trailer
24 A. l'lejust wanted to give me an impression of 24 site which the shipyard folks are now calling the
25 what india was like since that was -- since the 25 'Reservation.'"
Page 42 Page 44
1 workers were coming from there and it was my projeet. 1 \Vhy do you think they called it a
2 Q. When was Mr. Shouse's last trip to India 2 reservation'.’
3 before he said this? 3 A. You would need to ask them.
4 A. I don't know. 4 Q. What did you think of them calling it a
5 Q. Has he ever been to lndia? 5 reservation?
5 A. lie -- l believe that he had been before, 5 A. Attractive land that had not been used for
7 but you would have to ask him. 7 anything and now was reserved for the use of the
3 Q. Okay. Now, the shipyard guys, those are 3 Indian workers
9 guys, l guess, working on the shipyard. What did they 9 Q. So this was just a clinical or in more like
10 think about this -- l guess this housing facility, man 19 kind of technical term that they were using?
11 camp that was being constructed within plain view of 11 A. Again, you would have to ask them. And
12 where they were working? Did they have any kind of 12 these were just the regular craft workers in the yard
13 impressions of it‘.’ Did they have any nicknames for 13 who were -- l mean, they were excited about the fact
14 it, anything like that? 14 that Indians were coming, a new culture and what would
15 A. 'l`hey thought it was an interesting ooncept, 15 they be like and -- So it didn't have a negative
16 and with communication from Signal as to why it was 15 connotation at all in their minds.
17 being done understood and -- 17 Q. Oh, okay. So then in the second sentence
13 Q. Well, this is -- I'm sorry. We're 13 when you wrote, "Quite a sense of humor they have,"
19 talking -- my fault. This is my fault. I'm not 19 that was because they were using the technical term
29 giving you a time frame context. 20 for it, attractive land?
21 A. Okay_ 21 A. Again, you'd have to ask them. l‘m saying
22 Q. Let's just talk about August 2006. 22 that my -- they were happy about having the indian
23 A. Okay. 23 workers come.
24 Q. At that point had Signal adverted through 24 Q. But that's not my question, Mr. Sanders.
25 the workers that there were Indian workers coming? 25 My question is why did you think that meant they had a
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well., did they have any cash problems?

 

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good sense of humor? Let's go with that. § 1 A. It was not my area to -- to oversee. l
A. l would say that -- I would say that t 2 just interacted with people that would have known.
because they were excited about the workers coming and 3 Q. Were customers paying their bills, to your
here was this tract of land that had been reserved for 4 knowledge, Signal customers?
them. 5 A. There was need for -- work performed to be
Q. Okay. In the U.S., land that is lived on 6 paid.
by First Nations people, Native Americans, is called 7 Q. So there was l guess what we call like
what? 3 outstanding accounts?
A. Territorial lands. 9 A. Accounts payable.
Q. ls it ever referred to as a reservation? 10 Q. Accounts payable
A. Yes. 11 A. It's normal -- normal in businesses
Q. And are Native Americans ever referred to 12 Q. That would be an accounts receivable
as lndians? 13 because it's money coming in to Signal.
A. Yes. 14 A. I'm sorry. And I should know that,
Q. Do you think potentially -- now, I'm just 15 Absolutely. Accounts receivablel That's right. l'm
going to throw this out, and if you don't think that, 15 sorry.
then that's fine. l)o you think there was a double 17 Q. Okay.
entendre there? 13 A. We needed to have our accounts receivable
A. lt’s possible 19 be -- be paid.
Q. So maybe that's why it was funny, too? 20 Q. Right. And they weren‘t being on -- in a
A. Yes. But there was no -- there was no 21 timely way?
negative connotation in their minds, if that's what 22 A. lf l remember from some diary entries, that
you're driving at. 23 was the concem.
Q. l‘m not driving at anything. I just want 24 Q. Okay. So work is going out the door, so to
to know -~ l'm reading these things l want to know 25 speak, and money is not necessarily coming in in the
Page 4 6 § Page 4 8
what's going on. 1 same time frame. So money could be said to be tight?
A. Rjght_ 2 Would that be --
Q. Mr. Sanders, l mean -- and we're going to 3 A. Cash flow management was a priority_
continue here, obviously, but I also want to say that, 4 Q. Okay. Thank you. That helps.
I mean, you were in like quite a unique position in 5 Would you say that Signal was cost
2006. You had a lot of contact with a lot of people. 5 sensitive at this time? We‘re still in August 2006.
And you know a lot of things that were going on. 7 A`. The company always wants to control its
You - just by way of example, l mean, there's more 5 costs, again, given the level of quality that we
e-mails from you than anyone else, you know, in the 9 always want to convey.
e-mails. 10 Q. All right.
So what I'm hoping to get out of today and 11 MR. SAN DLER:
tomorrow is that you know a lot and you're going to 12 Can we take a break? Is that all right if
help us understand what happened. So it's not what 13 we take a break right now?
I'm driving at or anything. A lot of the times I'm 14 THE VIDEOGRAPHER:
just asking you -- 15 We‘re going off the record. It's 11223.
A. Okay. 15 This is the end of Videotape No. 1.
Q. -- and I just want to know. 17 (Whereupon, a recess in the proceedings was
A. Sure. 10 taken.)
Q. What was your impression of Signal's cash 19 Tl-lE VlDEOGRAPHER:
flow in August 2006? Let me -- if that-- well, 20 We're back on the record. It's the
that's the question. Would you like me to explain it 21 beginning of Videotape No. 2. It's 11133.
further? 22 EXAMINATION BY MR. SANDLER:
A. Yes. 23 Q. Mr. Sanders., l think when we left off last
Q. Did they have a -- did you get the sense -- 24 time we were talking about Signal's cash flow issues.
25

I had asked you some questions about that.

 

 

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1 to interpret it. He wrote it to you as well as 1 Q. When did you iirst meet Michael Pol?
2 others? 2 A. l believe it was in early August 2006.
3 A. Yes. 3 Q. And what were the circumstances or the
‘1 Q. So he --in his mind when he drafted it up, 4 contact under which you met him?
5 he was thinking l have to write this in a way that 5 A. Are you talking about my first meeting with
5 John and others will understand 5 him?
7 A. Sure. 7 Q. Yes.
3 Q. S_o I think it's fair to ask you what you 3 A. Very quick in the wing of Signal where l
9 understood the e-mail to mean. 9 had an office and where Lisa Spcars, Signal's
10 A. Okay. 10 contracts manager and risk manager, had an oiiice.
11 Q. And l understand that Mr. Marler could 11 And he came by to see her, and l met him very quickly
12 contradict you. It's possible, but I don't think 12 as she introduced me to him as somebody who would be
13 that's something we have to worry about today. l want 13 coordinating the workers' housing project for the H-2B
14 to know what you understood it to mean. Because I 14 workers who would eome.
15 know what I understand it to mean, but l want to know 15 Q. Okay. And subsequently you met him or
16 what you understand it to mean. 15 e-mailed with him a number of times over that period,
1"' A. Okay. I mean, ultimate|y, Mr. Marler is 11 say, from August into, say, the end ol` the year. Did
13 wondering what the cost of using contract workers from 13 you say you had regular contact with him or how would
19 Mexico would be, what is that cost, That's what he'S 15 you characterize the contact?
211 asking 20 A. I didn't see him through the end ofthe
21 Q. Because -- was that brought on by a concern 21 year.
22 that the cost was getting high on bringing the lndian 22 Q. Right. What l mean to say is from that
23 workers over‘.’ 7 23 first meeting, how periodically would you be in
24 A. Just that there were -- per this flux-core 24 contact with Mr. Pol?
25 issue and workers not trained for it1 that that was -- 25 A. By "contaet" do you mean e-mail and in
Page 54 Page 56
1 that was new and unexpected information So what will 1 person or --
2 it cost to bring these workers up to the skill level 2 Q. Yeah. Let's not distinguish.
3 tha -- 3 A. Okay. Fairly frequently Fairly
4 Q. Okay. So Mr. Marler's -- Now there's new 4 frequentlyl
5 information that's leading Mr. Marler possibly to 5 Q. And what did you understand Mr. Pol'S
6 think that now the costs are getting higher than maybe 5 function to be?
1 they anticipated? 7 A. He was Signal's recruiter.
3 A. Again, I'm not going to speak for him. 3 Q. Okay. For what?
9 Q. Who -- Did anyone provide him with the 9 A. For the H-ZB process
10 Mexican rate, to your knowledge? 10 Q. For the workers in India?
11 A. I don't know. 11 A. Yes_
12 Q. So that certainly wasn’t you. then? 12 Q. Okay. And so he was going to provide
13 A. No. 13 workers to Signal's shipyards in the Guli?
14 Q. All right. It` the Mexican rate were really 14 A. To -
15 low, what do you think would make sense for Signal to 15 Q. Pascagoula and Orange, Texas?
15 do? 16 A. Yes. Yes.
17 A. 'l`hat was not my role. 17 Q. At some point did you begin to suspect that
19 Q. No, it wasn't. 13 Mr. Pol was not to he trusted?
19 A. So I won't speculate 19 A. Yes.
20 Q. _ If it were your role -- strike that. 25 Q. Okay. Did you share that suspicion with
21 Okay. Thank you. 21 anyone?
22 Okay. l‘m going to ask you some questions 22 A. Not immediately
23 about the co-defendants, and it's going to begin with 23 Q. When did you first come to that
24 Michael Pol, who you've met, l believe? 24 realization?
25 A. l have met him. g 25 A. Are you distinguishing between realization
l

 

 

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and suspicion'? 1 wanted to see if there was any negotiating
Q. No. You're right. Sorry. My bad. 2 possibility. Okay?
When did you first suspect he was perhaps 3 Q. Uh-huh (indicating affirmatively).
not to be trusted? 4 A. And so at this luncheon, Michael Po| and I
A. ln the early to middle part of August 2006, 5 had that discussion And l asked him, I said, "Would
if` l rcmember. 5 it be possible to come down from your 314 a day rate?"
Q. All right. So that's quite soon after you 7 Even though l knew that it was good, standard.
met him? 3 Q. l mean, this is standard.
A. Yes. 9 A. Right. And he got -- he seemed to get
Q. Was there - Can you speak to a thing that 10 perturbed. And I remember him banging his fist on the
might have happened that would have - just your first 11 table and saying. "If I'm going to be involved in
kind of like intuition -- and l must say, it might be 12 this, I'm going to make -- l‘m going to make some
quite -- but what your first intuition was that he was 13 money at it." And he said it in a raised and
not to be trusted? 14 irritated voice.
A. Actually, my first impression was that he 15 Q. Okay.
was outgoing, winsome -- 16 A. And with him hanging his fist on the table,
Q. Right. 17 it struck me as an extreme response to a standard
A. -- et cetera. That was my very first 13 question. And so I began at that point to think that
impression. ` 19 he might be greedy.
Q- Righ¢~ 20 Q. Did you think there was an intimidation
A. That changed ata lunch that l had with him 21 element there by him like pounding --
in Pascagouia. ` 22 MS. FENTON:
Q. On site or off site? 23 Object to the form.
A. Oft`site. 24 THE WITNESS:
Q. Who was at the lunch? 25 Could you repeat the question?
Page 58 Page 60
A. Only he and me -- he and l. 1 MR. SANDLER:
Q. Okay. Where was the lunch at? 2 Sure. Well, I will repeat, but let me ask
A. It was held at LY BuFf`et on l-lighway 90 in 3 a question prior to that.
Pascagoula. 4 EXAMINATION BY MR. SANDLER:
Q. So what happened at that lunch? 5 Q. How much older did you think Mr. Pol was to
A. We were discussing the catering aspect of 6 you, just roughly?
the project 7 A. He had told me his age, so approximately
Q. Okay. Can you give a bit ol` background 3 ten years
then? Because -- what was his role in the catering 9 Q. Approximately ten years. Did you -- how
aspect? li' you'd give me like the full kind of 10 did you interpret him pounding his f'ist and raising
background of that lunch meeting. 11 his voice?
A. l-le was responsible for coordinating the 12 A. He was -- he was seeking to be emphatic and
catering at th at point, as well as the recruitment 13 express his frustration that l would question the
Q. All right. So what did he say at that 14 price.
lunch that led you to perhaps not to trust him or to 15 Q. So you didn't perceive that as just a
suspect that he might be not trustworthy? 10 standard negotiating technique like you were doing.
A. l had -- As l mentioned earlier in my 17 You were just asking for a lower price, which was just
testimony, l was responsible for meeting with 13 standard negotiating, hut you didn't perceive his
prospective Signal vendors and, within the overriding 19 response to be that, Is that fair to say?
priority of good quality and convenience for the 20 A. Correct. I would respond a little bit
workers1 find the best price. 21 further in this way. F or instance, l mentioned that
And so with regard to the food vendors, l 22 at Texas lnstmments l had been involved in a
had done some investigation and found that the 314 per 23 purchasing role. l had negotiations with vendorsl
day per worker for three meals was by far the best 24 There was -- l had not encountered a response like
25

rate. And so -- and yet, in spite ofthat, l still

that to that point.

 

 

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16 (Pages 61 to 64)

 

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Page 61 l

Q. Okay. So how would you ~- what did you
make of it, then, that he --

A. Well, l -- We moved on with the
conversation, but l noted in my mind why was he so
focused on the money lt struck me as noteworthy

Q. Okay.

A. And l -- though I didn't share it with
anyone, l filed it away in my mind.

Q. And this is pertaining strictly to the 514
or the whole scheme? I mean, because Mr. Pol is
obviously involved not just with the catering.

A. Well1 there was the -- there was the
catering and that was what our discussion was about
ln that meeting he -- at that luncheon he also
mentioned that he had a ii'iend in the gravel
construction business, and maybe they could help with
our preparation of the roads. And he would be able to
get -- he would be able to coordinate that for us as
well. And he seemed eager to do that, also. But l
said, "No. We have the capability to do that for
ourselves."

Q. Okay. When did this suspicion -- and l
appreciate you may not have a date specifically, but
when did this suspicion move from suspicion to l've
now concluded in my mind, l've realized or -- wait.

 

 

Did this suspicion ever further -- did you ever
further your suspicion to conclusion that Mr. Pol is
not to be trusted?

A. There was one other incident prior to full
realization which Stands out.

Q. Okay. So when was full realization that
Mr. Pol was not trustworthy?

A. Mid-November 2006.

Q. Oh, okay. So before that it was just
suspicion.

Okay. l want to specifically ask you about
an e-mail that --

MS. FENTON:

l'm sorry. Could you speak up'.’

MR. SANDLER:

Sure.

EXAM|NATION BY MR. SANDLER:

Q. l want to specifically ask you about an
e-mail that Mr. Pol sent to you on August -- on August
24th, 2006. And the Bates for it is SIGE0329048.
Give me a second. lt will be Exhibit No. 606.

As we do, I'm going to give you a chance to
read it and then we'll talk about it. But l'd also
like to say that this is already entered as
Exhibit 550 and 569.

 

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Page 63

(Whereupon, the document as described above
is marked as "Exhibit No. 606.")
A. (Witness reviews document.)
l've read the document.
EXAMINATION BY MR. SANDI_,E.R:

Q. All right. l want to ask you about the
fourth paragraph that begins "()ne of us" and then open
parens.

A. (Witness nods head attimiatively.)

Q. What did you understand the fourth
paragraph to mean? If you want to reread it, that's
fine, too. What did it mean to you when you read
that?

MR. ALEXIS:

Object to form.
EXA MINATION BY MR. SANDLER:

Q. You can still tell me what you think it
means.

A. '[`he problem is that l did not process and
probably very high probability did not even read this
information when it came into my inbox in August 2006.
l only noticed it much further down the line into

2008.
Q. 2008?
A. Yes.

 

Page 64

Q. Mr. Sanders, at the beginning I asked you
what kind of employee you were at Signal, right?
A. Yes.
Q. Do you remember the adjectives that you
used?
MR. ALEXIS:
I'm going to object to form.
MR. SANDLER:
What is the objection?
MR. ALEXIS:
Argumentative.
MR. SANDLER:
You can tell me what you --
MR. ALEXIS:

Please answer. I'm sorry.

For the record, let me just say in front of
the witness, we have an agreement among us that
if there's any kind of objection at all to the
question., we just say "object to form,“ And
that's a shorthand way of saying we object to the
question. But as the witness, you can still
answer the question. So 1 apologize for not
telling you that in advance.

THE WITNESS:

Okay.

 

 

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17 (Pages 65 to 68)

 

 

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Page 65 Page 67
MR. ALEXIS: 1 I'm going to object. Can you just define
And if - You still answer. 2 "sua sponte“? Not everybody knows that term. l
And l guess, Erin, the only time that he 3 mean, l do.
would not have to answer is il` you felt it 4 MR. SANDLER:
invaded attorney-client privilege _ 5 Okay. You have a friend
MS. HANGARTNER: 6 EXAMINATION BY MR. SANDLER:
Correct. 7 Q. This is a reply, right? lmean, you can
MR. ALEXIS: 3 even see in the subject line it says, “RE" of the
- and then you'd instruct him not to. 9 e-mail, right?
MS. HANGARTNER: 10 A. ch. Yes.
Correct. 11 Q. "RE" usually means that it's replying to an
MR. ALEXIS: 12 e-mail that was sent prior?
I beg your pardon. 13 A. Yes.
MR. SANI)LER: 14 Q. ()kay. And, in fact. the preceding e-mail
Thank you for that. 15 is here in this exhibit., right?
MIL ALEXIS; 16 A. Yes. `
And, also, Hugh, I don't think I've ever -- 17 Q. So what was the purpose of sending this
I don't know if we‘ve ever told you that. l 13 e-mail that you drafted on August 22nd, 2006 predating
can't remember. 19 his reply?
MR. SANDLER: 20 A. Prcdating by two days
Well, I think at the -- l think in a prior 21 Q. By two days, yes. Wel|, Greenwich Mean
deposition. I think Mr. Duhon. And l've read a 22 Time, probably only one day given the different time
lot of the transcripts, too. I was waiting for 23 zones.
you to say that in the beginning, Ralph. 24 A. Okay. l think that August 24th to
MR. ALEXIS: 25 August 22nd is two days.
, , l
sage 66 l Page 63
Yes. Yes. l forgot. 1 Q. Mr. Sanders --
EXAMINATION BY MR. SANDLER: 2 A. I know. l'mjust Saying.
Q. Okay. Do you remember what the adjectives 3 Q. --it says August 24th, GMT.
were? 4 A. Uh-huh (indicating ailinnatively).
A. I cared about the workers, was hard working 5 Q. GMT stands for Greenwich Mean Time, which
and diligent. 5 is about five hours or six hours ahead of Mississippi
Q. Okay. So -- but you didn't read all your 7 time. So by Central Standard Time, it would be
e-mails. Is that what you're saying now? 3 August 23rd late in the evening.
A. Yes. 9 A. Yes. So --
Q. Why wouldn't you read an e-mail from 10 Q. And you wrote your e-mail on August 22nd.
Michael Pol? ' 11 So it's a day.
MR. ALEXIS: 12 A. Yes, but I would have seen this e-rnail on
Same objection. 13 August 24th, not August 23rd
A. Because within a very short amount of time 14 Q. l just said to you when - we were just
there was an awful lot of work to be done. And l got 15 talking about when he sent it, not when you didn't
many e-mails. And as is the case even now in my 15 read it.
personal e-mails and as was the case in my employment 17 A. l'm simply stating that two days when --
with Signal, there are and there were ones that did 13 there were approximately two days of lapse between my
not get read or processed at the moment that they were 19 preceding c-mail to him and his reply. And it is
sent. This was one of those. 20 highly likely, even inevitable, that within that space
EXAMINATION BY MR. SANDLER: 21 of time i would have received many other e-mails about
Q. But this e-mail is not just a sua sponte 22 many other subjects And in the great busyness of my
e-mail. He's replying to an e-mail that you sent out, 23 job of coordinating, not just the H-ZB process, but So
correct? 24 many other aspects, that this e-rnail was not processed
MS. HANGARTNER: 25

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and almost certainly did not even get opened at that

 

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18 (Pages 69 to 72)

 

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point.

That's what l‘m saying And with the lapse
of two days, that to me is very plausible and
understandable

Q. Okay. Let's talk about the e-mail that you
sent out.

A. Okay.

Q. The preceding one. What Was the purpose --
Ii` you want to reread it, that's line,

A. Okay.

Q. lt seems like a very well-structured
e-mail. There's |ik -- You've organized it. And
you'.ve asked Mr. Pol and, it looks like, Mr. Burnett,
who is also in this e-mail, to kind of like work with
these dates, right, that you've sent out to --
because -- What are these dates pertaining to?

A. My understanding of the schedule that we
would seek to follow.

Q. And we said -- we discussed earlier this
morning that expeditiously getting the workers here
was a very important factor for Signal.

A. Yes. `

Q. Okay. So now we‘ re talking about the
timeline of getting them here.

A. My understanding of that and what do you

\Dm~.lmm-l>lAJNI-l

Page 71

Objection to form.
EXAM|NATION BY MR. SANDLER:
Q. Did you write this e-mail to get answers
that you could then relay to management at Signal?
A. Yes, but also to make sure l understood the
process myself. Because it was brand-new for me. l
Was completely unfamiliar with all of this prior to
coming to Signal and this was -- As l'd mentioned,
Michael Pol was our recruiter. lt was in a large
sense a black box to us. Thcy will handle that. You,
John, handle getting the housing facility set up.
And so when l constructed this, it was a
matter of: l think this is the right understanding
but l‘m not sure. Could you clarify? And then once
that was out of the way as far as l hit "send," nowl
can refocus on the myriad of other tasks requiring
direct and full attention
Q. So it's your testimony under oath that when
the e-mail came back and the subject said, "Time-line
of H-ZB worker arrivals," you didn't read it?
MS. FENTON:
Object.
MR. ALEX|S:
Object to the form.
A. What I'm saying is that l almost certainly

 

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think, is there anything that needs to be added or
modified

Q. Okay. Did you perceive this e-mail to them
as important?

A. My sense was that I had a good
understanding of where things needed to go and had
laid things out pretty clearly. So if l didn't hear
back n`ght away. my inference would have been my
understanding is okay.

Q. But there are three questions at the end of
your e-mail, right?

A. Yes.

Q. So the first one - second one - do you ~~

I mean, you wanted answers to these questions, did you
not?

A. ch.

Q. In the sense like you didn't write: l_f I
don't hear back from you, l'm going to assume that
October lst. You didn't write it like that. You
wrote in the interrogative form requiring a response?

A. Yes.

Q. Okay. And that's because time was of the
essence and y,ou had to answer to management at Signal
about what was going on.

MS. FENTON:

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Page 72

did not read it and 100 percent explicitly did not
process the information that it contained1 did not
process.
EXAMINATION BY MR, SANDLER!

Q. What does it mean you didn't process?

A. Okay. lcannot -- l cannot say that --I
am confident -- l arn confident that I did not even
open this e-mail at that time in 2006. The time lapse
supports that, also, the fact that this e-mai| was
unrespondcd to.

Q. l don't mean to interrupt, but what do you
mean the time lapse supports that? What time lapse?

A. From -- we talked about August 22nd --

Q. Oh, okay. Right.

A. -- and 24th. Yes.

So there was a two-day time lapse, as we
discussed And, ii.lrthermore, there‘s no -- This
e-mail hangs out alone, as l know that you are aware.
And so that -- both of those support the contention
which I am giving under oath that this information was
not digested or processed by me.
And I will also say that it is, therefore,

extremely'likely, with the highest possible
probability short of saying it under oath, that l did
not even open or read the e-mai|.

 

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20 (Pages 77 to 80)

 

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Page 77 Page 79
at that time? 1 EXAMINATION BY MR. SANDLER:
A. Yes. Not until 2003 when it struck me that 2 Q. Earlier on you said that you understood
l was reading it for the very first time. l'd like to 3 Global as handling the workers‘ side; is that right?
add that. 4 Is that a fair characterization of what you said
Q. Okay. That's fair. 5 earlier on today?
If you can kind ol' go -- put your head 5 A. As far as the H-ZB process?
space back into 2006, this is -- you, Signal, is 1 Q. Yes.
working with Global to bring in H-ZB workers at this 3 A. They and the parties they were working
point in time? 9 with, yes.
A. Yes. 10 Q. Who are the parties they were working with?
Q. Okay. So at that point. what do you 11 A. Malvem Burnctt and Dewan Consultants.
think -- why do you think he would send that e-mail to 12 Q. What did you mean by them handling it?
you? 13 A. That they would deliver to Signal or
MS. FENTON: 14 provide to Signal well-qualified, first-class _
Objectiou to form. 15 craftsmen from India in accordance with our needs and
A. You would need to ask him. l didn't ask 15 they would handle the immigration details on our
for that information You would need to ask him. 17 behalf They were the recruiters.
EXAMINAT|ON BY MR. SANDLER: 13 Q. And that understanding came from where?
Q. Do you read -- As you sit here today, do 19 A. There was a contract between Signal and
you read that paragraph as suggestive of anything? 20 Global Resources.
MS. FENTON: 21 Q. So in the contract. That's where you got
Objection. 22 it from, the written contract?
A. Yes. 23 A. The contract specifies those things is my
EXAMINATION BY MR. SANDLER: 24 understandingl
Q. What do you read it as? 25 Q. Do you think that-- again, we' re going to
Page 78 Page 80
MR. ALEXIS: 1 talk about this e-mail -- that Mr. -- does this text
Ohjection. 2 to you as a reader -- you were the intended recipient.
A. Now, you're stating with my current 3 And l don't think when matters for this question. But
knowledge in November 2009? ls that the context of 4 if it does, ask me and l'll stipulate.
your question? 5 A. Okay.
EXAMTNATION BY MR. SANDLER: 6 Q. Do you think that the fourth paragraph is
Q. Yes. 7 written in a way for a reader who is familiar with
MR. ALEXIS: 3 what's going on to -- do you think this fourth
l'd like to object to the form. 9 paragraph is written in a way for the reader to
Go ahead. 10 understand what you just said a couple of answers ago
A. As l sit here today with my present 11 your interpretation of this paragraph is?
understanding of the H-?B process, which is vastly 12 MR. ALEXIS:
greater than in August 2006, though not comprehensive 13 Object to form.
it appears that he is instructing the workers to 14 A. l think you just said is my
mislead the U.S. Consulate. 15 understanding that -- ls another way to say that is --
EXAMlNATlON BY MR. SANDL.ER: 15 is this fourth paragraph intended to show an effort at
Q. Okay. And he's candidly sharing that with 17 misleading the consulate? Is that what your question
Signal in August 2006? 13 is'?
A. Again -- 19 EXAMlNA'I`ION BY MR. SANDLER:
MR. ALEXIS: 20 Q. Yeah. ls it to share that information in a
Object to form. 21 candid way?
A. -- l don't agree that the information was 22 MR. ALEXIS:
shared because of the fact that if somebody does not 23 Same objection.
receive a message, was the message shared? Answer: 24 A. Yes, but that effort to Share it with us
NO_ 25

 

 

failed due to my lack of reading the e-mail.

 

 

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21 tPages 81 to 84)

 

 

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dollars being expended to facilitate this plan. The
timeline for the ten-month l-l-ZB process starts on
October lst. What do you mean that that date might

Because, again, the expectation prior to
nie, l think, had been set at October lst by our
recruiters. At least that was my understanding that
0ctober lst would be when they could come.
Q. Okay. So this was something Signal
management told you, that's our date?

Q. So that's not something that Mr. Pol said

A. He may have had discussions with Signal
senior management about October lst. That date came
from somewhere But l was not a part of those initial

Q. Rjght. I'm saying between you and Mr. Pol,
you have no direct information that gave you that
date. That was only from Signal management,

A. Well, that was the date that the H-2B

 

 

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1 EXAMINAT{ON BY MR. SANDLER; 1
2 Q. Okay. So in your mind, this - now -- 2
3 sorry. l want to be clear. The August 22nd e-mail, 3
4 the preceding e-mail, was never answered? 4 not happen? That was his concern.
5 A_ l‘m not sure. As far as the questions that 5
6 l poscd, I'm not sure if they were answered or not. 5
7 Certainly this e-mail didn't do it if'l didn't read 7
3 it. 3
9 Q. Right. So either -- just correct me if l'm 9
10 wrong. I'm just trying to understand So either 10
11 these questions were answered through another means 11 A. That‘s our target
12 that we haven’t discussed here today that I don't know 12 Q. That's our target
13 about or it was just never answered. 13 A. Yes.
14 A. Those are the two possibilities 14
15 Q. Ynu agree. 15 to you, October lst?
15 A. Yes. 15
17 Q. Do you think that Signal, your bosses, 17
13 Signal management, for lack of a better term, cared 19
19 about this timeline, cared about when people were 19 discussions
20 arriving, when the interviews were? 20
21 A. They cared about the entire process and the j 21
22 workers, so yes. 22
23 Q. Because they were going over to India, 23 October lst?
24 right? People from Signal were going over to India? 24
25 ` A. We were committed to following the 25 ten-month window began.
Page 82 §
1 instructions which our recruiter gave us to the best 1 Q. Right.
2 of our ability. We would follow his instructions to l 2
3 the best of our ability within the confines of the l 3 that,
4 law. 4
5 Q. So Mr. Schnoor's unhappiness that you write 5
5 about in the first line of your e-mail -- 5
7 A. Yes. 7 you?
9 Q. -- it's the second sentence -- did that -- 2
9 was that a factor or the factor, a major factor in 9
10 writing this emaii? 1°
11 A. Yes. 11 properly to him.
12 Q. Which one would you say? 12
13 A. Well, he wanted to know -- the expectation 13
14 within Signal was that workers would be available on 14 A_ Yes.
15 or about October lst. And so when -- when that's the 15
15 expectation, questions are going to come as to whether 15
17 that expectation is being met. 17
13 Q. And Mr. Schnoor wanted to know? 18
19 A. He wanted to know. And when l expressed 19
20 some questions about that might not happen, "Well, why 20
21 not?" 21
22 Q. That was Mr. Schnoor to you? 22 then wrote this e-mail to Mr. Pol?
23 A. Yes. He wanted to know the details about 23 A. No, no, no.
24 the whole company needs -- needs these workers. And 24 Q. Sorry.
25 25

 

we have a significant plan in place and millions of

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»Page 84

A. So l think it's probably predicated upon

Q. Okay. So Mr. Schnoor is unhappy. You
write this e-mail. Does Mr. Schnoor ever ask you what
the results were? Did he ever like follow up with

A. l don't remember. But l, in my mind,
wanted to give -- make sure l understood clearly what
would happen when so that l could articulate that

Q. Did you tell him -- These dates you put in
that e-mail, the ones that start 8/24 -- 8/24, 8/25 --

Q. - those are the dates that you shared with
Mr. Schnoor when he was unhappy?

A. Well, he wanted to know what's going to
happen when, and this would have been my attempt to
answer so that hc would have information And then it
would be shared with others from there.

Q. So you shared that with Mr. Schnoor. You

A. l'm saying that l had -- "John, what's the

 

 

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Page 85 Page 87
timeline going to be?" 1 A. Could you show me?
"Let me figure it out." 2 Q. Well, I want to ask you if you recall that.
Here's -- so to myse|f, here‘s my 3 A. l don't. Could you show roe‘?
understanding Michael Pol, Malvern Bumett, could 4 Q. Okay. Wel|., perhaps this afternoon, but
you confirm so that as I need to give answers to 5 not right now.
Signal management, l will have your support as the 5 A. Okay.
ones we've outsourced the process to, you're the 7 Q. What do you think -- What was your
experts in it1 is this right. And that way, 9 understanding of the legal status of the workers who
especially with me being so new, I would have good 9 were coming to Signal?
infonnation. 10 MR. ALEX|_S:
Q. See, when you just said outsoureed fhem, 11 Ohject to form.
they were not Signal employees They were their own 12 A. When you say "legal status," could you
company, Glohal Resources -- 13 amplify that a little bit?
A. Right. 14 EXAMINATION BY MR. SANDLER:
Q. -- Burnett Law Off”ices -- 15 Q. We're going to stick with that e-mail.
A. Uh-huh ( indicating affinnatively). 15 THE VI DEOGRAPI'|ER:
Q. -- and Dewan Consulting. And they were 17 We're going off the record. lt‘s 12:31.
like agents of Signal through contracts and they were 18 This is the end of Videotape No. 2.
then stipulated to do work? 19 (Whereupon, a recess in the proceedings was
A. No. l -- 20 takell.)
MR. AL.EXIS: 21 THE VIDEOGRAPHER:
Object to fonn. 22 We‘ re back on the record after lunch. It's
A. No. l disagree l disagree, Hugh. They 23 1:29. Beginning of Videotape No. 3.
Were not our agentsl They were recruiters who were 24 EXAN[[NATION BY MR. SANDLER:
engaged -- who were required per the contract to 25 Q. Okay, .]ohn. When we iinished off before
Page 8 6 Page 88
perform a specific task. That's much different from 1 lunch, we were talking about the e-mail that you sent
an agent. 2 to Michael Pol and then the reply that you didn't see.
EXAM[NATION BY MR. SANDLER: 3 A. The August 22nd followed by August 24th.
Q. They were under contract with Signal? 4 Q. Precisely.
MR. SHAPIR(): 5 Ijust`want to ask you about -- Sorry. I
Object to form. 5 just wanted to ask you about a diary entry that was
A. No. We had one contract with Global 7 around that time. And the Bates number for this entry
Resources. And then he coordinated things based on 3 is SIGE0556546. And it will be Exhibit No. 607.
his experience and chose to work with Malvem Burnett 9 So I'm just going to hand it to you and you
and Dewan Consultants. So, no, they were not our 10 can look at it and we'll talk about it.
agent Michael Pol was not our agent 11 (Whereupon, the document as described above
EXAMINAT[ON BY MR. SANDLER: 12 is marked as "E.xhibit No. 607.")
Q. ln your nnderstanding? 13 A. (Witness reviews document.)
A. They were not our agent 14 l've read the documentl
Q. ll`l -- l‘m Sfill going to stick With this 15 EXAMINATION BY MR. SANDLER:
August 22nd e-mail. 15 Q. Okay. Towards the end of the paragraph -
A. Okay. 17 I'm talking about the portion pertaining to
Q. Did you ever write in your diary about 13 August 22nd, 2006 -- you write about having to stay
writing this e-mail, to your reeollection? 19 late to send out an e-mail to Miehael Pol and Malvern
A. I -- 20 Burnett.
Q. You don't recal]? 21 ls that - you know, to the best of your
A. -- don't remember right now, no. 22 recollection, would this e-mail that we've been
Q. If I were to say that you described it as § 23 talking about earlier be that e-mail?
an instrument to get information, would that ring a § 24 A. Most likely.
bell? 25

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Q. Okay. So this e-mail, you stayed late to

 

 

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23 [Pages 109 to 112)

 

 

 

 

 

 

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1 approximation by Signal. 1 is-more nuanced, less explicit, l said, "No. We're
2 Q. Did you understand getting a green card to 2 going to say exactly what the issue is. We're going
3 be part of that process? 3 to be transparent and forthright."
4 A. Part of what process'? 4 EXAMINAT[ON BY MR. SANDLER:
5 Q. Sorry. My mistake. Did you understand 5 Q. We'll get to that -
5 getting a green card to be part of bringing over 5 A. Okay.
7 Indian workers under the H-2B scheme? 7 Q. -- and we're going to talk about those
9 A. l knew that there was a difference between 3 e-mails.
9 H-ZB and green card, but I didn't understand all of 9 A. Okay. Then l maybe -- could you --
10 the particulars that related to the two types, the 10 Q. No. l think that that ~- l just wanted to
11 status 11 ask you that had you seen the Michael Pol --
12 Q. What did you know about these two statuses 12 A. Oh. That would have been a huge problem
13 that indicated they were different? 13 Absolutely.
14 A. That one was short term, H-ZB. Green card 14 Q. Okay.
15 was long term. That was the extent of my 15 A. Absolutely.
15 understanding at that point. 1 5 MR. ALEXIS:
17 Q. Okay. But by long term, how long is the 17 I'm sorry. Had he seen what?
13 long term? 13 MR. SANDLER!
19 A. However -- I don't know. .lust longer than 19 Can we go off the record for a second?
20 H-2B. 20 THE VIDEOGRAPHER:
21 Q. In the movie Green Card, did the person -~ 21 We're going off the record. [t's 2:09.
22 what kind of status was the person seeking? 22 (Whereupon, there was a discussion off the
23 A. l don't remember. 23 record.)
24 Q. All right. 24 THE VIDEOGRAPHER:
25 A. l mean, presumably he wanted a green card. 25 We're back on the record. It's 2:10.
Page 110 Page 112
1 Q. But What did that give him? 1 EXAMINATION BY MR. SANDLER:
2 MR. ALEXIS: 2 Q. Okay. So I'm going to show you a document
3 Object to form. 3 that's already been entered into evidence in a
4 A. l don't know. I was just in the movie 4 previous deposition. It's Exhibit 5]3. And the Bates
5 theater or watching it at home. Ijust kind of 5 for it is GR-l?lll to GR-1703. l know that doesn‘t
5 enjoyed the movie. l didn't digest the particulars 5 mean anything until you see the document.
7 and the details related to each form of status. 7 We're going to call this -- Well, it's
3 EXAMlNATlON BY MR. SANDLER: 3 already been entered, so l‘m not going to give it an
9 Q. All right. Was green card part of the 9 exhibit number. I‘ll let you read it.
10 program that Signal was undertaking to bring lndian 10 MS. HANGARTNER:
11 workers over? 11 What was the prior exhibit number‘.’
12 A. We brought the workers under an H-ZB visa 12 MR. SANDLER:
13 that had validity often months. That‘s all that we 13 Right. That was 513.
14 could promise the workers once they came. 14 EXAMINATION BY MR. SANI)LER:
15 Q. Now, the e-mail that you didn't read, the 15 Q. And, also, John, I'd like to say for the
15 one that Michael Pol sent you -- 15 record that this predates you starting at Signal. So
17 A. Yes. 17 you're not like on these e-mails. You're not
13 Q. -- there's green card chatter in there, 10 implicated by these e-mails. But let's read.
19 right? 19 A. (Witness reviews document.)
20 A. Okay. So had you seen that, wouldn't that 20 Okay. l've read the documentl
21 have like raised an alarm bell? 21 Q. Just by way of background, when it's a “GR“
22 MR. ALEXIS: 22 at the bottom, that's a document produced to us by the
23 Object to form. 23 Global defendants And so this wasn’t something we
24 A. Def`mitely. Yes. Yes1 it would have, 24 got from Signal's -
25 because even in a -- even in Malvern‘s e-mail, which 25

 

Okay. Now, I want to ask you about the

 

 

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29 (Pages 113 to 116)

 

 

 

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1 middle e-mail which starts on GR-l 701. And the last 1 A. Okay.
2 paragraph that Michael writes to Bill Bingle -- 2 Q. Now, Mr. Burnett writes an emai| to you
3 A. Uh-huh (indicating affinnativeiy). 3 that cc's Michael Pol and Sachin Dewan on the front
4 Q. -- l'i| read it to you. 4 page. And that's the September lSth, 2006 e-mail,
5 A. Uh-huh (indicating affinnatively). 5 12:02 p.m.
5 Q. "Overall, I'm very satisfied about the 5 Do you see that one?
7 quality of the candidates And now that we know 7 A. 'r'es.
5 exactly what you want, l do not l'eel there will be any 3 Q. Okay.
9 problems getting the numbers that you need, 9 A. Yes.
10 particularly for the long-term green card candidates." 10 Q. What - I mean, you replied to it, so you
11 So some of -- What would you interpret that 11 know you've seen it and you just reread it. So what
12 paragraph to mean? 12 is this e-mail saying? What is Mr. Bumett saying
13 A. That, from what Michael Pol is saying, some 13 here or what was your understanding of what he was
14 of the candidates pertain to long-term green card. l 14 saying?
15 mean1 that's what he's saying. 15 A. He was responding to my statement to
15 Q. Now, does Mr. Bingle reply that that's not 15 Mr. Waldman in Senator Lott's office that we would
17 what they have in mind? 17 need -- we anticipated the need for temporary workers
13 A. He's -- As l read this, he‘s siient in 19 to last another two to three years. And he was
19 response to that issue. 15 saying, "Don‘t say that, Keep it at ten months."
20 Q. But he did reply to the e-mail'.’ 20 Q. Okay. Then you write back - and l'm just
21 A. Yes, but he didn't address -- 21 going to paraphrase it - but you're not comfortable
22 Q. But not that particular -- 22 with that?
23 A. l mean1 this is the first time l‘m reading 23 MR. ALEXIS:
24 this. 24 ()bject to form.
25 Q. Yeah. l know. f 25 A. No.
§
Page 114 § Page 116
1 A. But he didn't address or respond to the 1 EXAMINATION B¥ MR. SANDLER:
2 green card issue that Michael raised. 2 Q. Okay. Why don't you tell me what you're
3 Q. Okay. Did you know that in June 2006 -- 3 writing back., what your intention is with that e-mail
4 did anyone at Signal ever tell you -- because this is, 4 that you reply to Mr. Burnett in.
5 again, before you started -- 5 A. Okay. l deferred to him as the expert in
5 A. Uh-huh (indicating affinrlatively). 5 the nuances of` the H-2B process because that's his
7 Q. -- that Mr. Bingle signed documents for the 7 profession it's not mine.
5 U.S. government indicating that the need for workers 0 Q. Right.
9 was ten months? 9 A. So l'rn deferring to his knowledge and
10 A. I didn't know tha -- well, l don't 10 seeking to follow his guidance, but, at the same time,
11 remember that he had signed, although maybe things 11 ['m not going to say something that is -that I
12 came across my desk afterwards l‘m not sure. 12 perceive not to be exactly and explicitly true. And
13 Q. Right. You weren‘t even at Signal at this 13 so l did not feel comfortable with changing what
14 time. This is June 2006. I'm just asking you if 14 ultimately Ron Schnoor and Dick Marler had told me
15 anyone at Signal ever told you: We've signed 15 about two to three years. 1 was not going to change
15 documents to the U.S. government saying that we on!y 15 that even at our recruiter -- at the suggestion of our
17 want workers for ten months? 17 recruiter and -- or, more specifically, the
13 A. I don't remember. 10 immigration attorney that he had put Signal in touch
19 Q. Okay. Is that something that you think you 19 with.
20 might remember? 20 And so ltried to be pretty clear in polite
21 A. l don't -- l mean, I don't remember. 21 terms --
22 Q. l'd like to revert back to - We may come 22 Q. 1i'es.
23 back to this e-mail, but l want to talk about the 23 A. --that it's more than ten months and it's
24 e-mail preceding it, which is Exhibit, I think, 608. 24 pretty obvious and we're going to Say it.
25 It's Dewan 00457 to 459. 25 And, if l could add, that we'll.let the

 

 

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30 (Pages 117 to 120)

 

 

 

 

 

 

 

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1 chips fall where they may, but we're going to be 1 make that correction, two to three years. And I'm
2 truthful wi th stating the -- our view of the expected 2 going to follow the instructions that l have f`rorn
3 need. 3 Signal management in that regard letting that trump
4 Q. And when you wrote that, you didn't know 4 even our immigration attorneys in terms of what I
5 about maybe other documents that Signal had signed 5 convey.
5 before you started because -- you didn't know about 5 EXAM[NATION BY MR. SANDLER:
7 those documents? 7 Q. Well, is it Signal's instructions that
0 A. No. l didn't -- I didn't really know all 5 trump it or is it the truth that trumps it?
3 of the many details before 9 MR. ALEXIS:
10 Q. Because before when l asked, you said you 10 Object to form.
11 couldn't remember if you knew that Mr. Bingle had 11 A_ Well, it's -- the two are synonymous
12 signed documents that went to the federal government 12 EXAMINATION BY MR. SANDLER:
13 that stated only ten months was the need for the 13 Q. In this instance?
14 workers 14 A. Well, we always seek to make them
15 Do you think that-- and now`-- and I 15 synonymous as far as --
15 realize you can't give me a definitive answer. Do you 15 Q. AS far as you knew?
17 think that if you knew about that document, you would 17 A. We tell the truth.
13 have not-- you would have written this reply back to 13 Q. As far as you knew.
19 Malvern? 19 A. Signal tells the truth. And [tell the
20 MR. ALEXIS: 20 truth.
21 l object to form. 21 Q. Okay. You said you put it m the weekly
22 A. I mean, all l can -- all l can say is that 22 report. You said you put it' m the weekly report.
23 l knew what Signal's need was as Dick Marler and Ron 23 Did you raise it with anyone else specifically or --
24 Schnoor conveyed it and l followed those instructions 24 A. I think that that was the forum that l
25 And where I -- where Malvern said ten months, l 25 used. l don't remember another posing of it.
Page 118 Page 120
1 said -- l said that, And so that's where -- that's 1 Because, again, l've got lots of things going on, and
2 where this paragraph comes from. 2 l'm trying to cover all of the bases
3 F.XAMINATION BY MR. SANDLER: 3 Q. All right
4 Q. Okay. And now Mr. Bumett replies to it at 4 Do you think -- What did -- l think we
5 the top. "John: It is important that the embassy/ 5 already got this. Ijust want to conl'irm. Malvem's
5 consular staff not be advised that the work will 5 instructions to you in that e-mail on September 15th
7 extend beyond 10 months regardless of how long Signal 7 at 12:34 p.m. were to state a falsehood; is that
5 may believe the temporary need will exist. Malvern." 0 right?
9 What did you make of that reply? 9 MR. ALEX[S:
10 A. l didn't know -- l didn't know what to 10 Object to form.
11 think. Because I'm not the e)ipert. l don't know how 11 EXAMINATION BY MR. SANDLER:
12 things are done. but it raised a question in my mind. 12 Q. Sorry. Sorry. That's not the e-mail l
13 And so when he told me that, I think it was even in 13 meant. l just said the e-mail that you wrote. l
14 the weekly report that I noted that. 14 meant the first and third e-mails.
15 Q. Right. 15 MR. ALEXIS:
15 A. And yet l didn't respond to him. At least 15 Same objection.
17 l don't remember responding to him. But. ultimately, 17 A. I'm only going to comment on what I wrote.
15 this was -- 10 And that was simply that my understanding -- Signal
19 Q. There was an alarm going off in your head, 19 had conveyed to mc that we had a need of two to three
20 right, there's something up or - 20 years. And so [ would imagine that that had --the
21 MR. ALEXIS: 21 reality of things on the Gulf Coast it Seemed, well,
22 Object to form. 22 maybe what we thought was ten months is really going
23 A. Not ~- l don't want to say that. All l 23 to be, you know -- with regard to Bill Bingle and
24 knew was that we'vc got a need of two to 24 those other things that [ don't know much about, ten
25 three months -- sorry -- two to three years. Let me 25 months might have been the view at that point, but
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1 MR. SANDLER: 1 A. No.
2 l'm asking him now as he reads this e-mail, 2 Q. Oh. Okay. Sorry. Then l misunderstood.
3 but he knows the date it was written. Beca use he 3 Do you have like an approximate time frame?
4 didn't read it back then, so... 4 A. Yes. I was in India when the first wave
5 MR. SHAPIRO: 5 and possibly wave two carne.
5 l join in the objection. 6 Q. Okay. Right.
7 EXAMINATION BY MR. SANDLER: 7 A. So when l retumed, that's when l heard the
3 Q. Why do you think Mr. Pol would be worried 3 question ti*om the lndian workers about when will we
9 about them saying that? 9 get green cards.
10 A. Well, he explains it in the next 10 Q. Did that surprise you?
11 parentheses where it says, "The reason --" he‘s 11 A. No. Because Michael Pol had mentioned
12 explicit. "The reason is that the temporary worker -- 12 green cards to me over a lunch in Ocean Springs with
13 if the temporary worker has immigrant intent, he is 13 Malvern Burnett. So l --
14 denied entry." 14 Q. When was that lunch?
15 Q. But why would it even be in the head of the 15 A, That was like maybe October, earlier
15 lndian worker to say that, do you think? 15 OCtober time frame I think. I'm not sure of the
17 MS. FENTON: 17 exact time frame
13 Objection. 19 Q. So when Mr. Pol said it, did it surprise
19 A. l wasn't -- I wasn't there in the 19 you?
20 interviews with the lndians or in the coaching 20 A. That was the first mention that l had known
21 process 21 about green cards_
22 EXAMINATION BY MR. SANDLER: 22 Q. Were you surprised?
23 Q. When did you learn that the Indian workers 23 A. Well, he -- Yes, l was surprised Beeause
24 thought they were going to get green cards? 24 Ihadn't heard any discussion about green cards_
25 MR. ALEXIS: f 25 Q. Right. So is there any other way to
f ,,,,,,
Page 126 i Page 128
1 Object to the form. 1 characterize it? ls there a better way to
2 EXAM|NATION BY MR. SANDLER: 2 characterize your reaction?
3 Q. Okay. Did you ever learn that the lndian 3 A. Well, | mean, he was posing to me things
4 workers thought they were going to get green cards? 4 that l didn't understand
5 MR. SHAPlRO: 5 Q. So how would you characterize your
5 A little louder, please. 6 reaction?
7 MR. SANDLER: 7 A. Conf`used.
3 Sorry. t 3 Q. Confused. Okay.
9 EXAMINATION BY MR. SANDLER: 9 A. Surprised.
10 Q. Did you ever learn that the lndian workers 10 Q. So you're confused, you're surprised. Does
11 thought they were going to get green cards‘.’ 11 this make its way into your journal, your diary?
12 A. Yes. 12 A. Idon't remember.
13 Q. Okay. When was that? 13 Q. How ol`ten were the Indian workers asking
14 A. Okay. You're talking about the Indian 14 you about green card?
15 workers that l saw at Signal when, and the answer to 15 A. Frequently.
15 that is that when they arrived to Signal in different 15 Q. Okay. So how did Mr. Pol pitch it to you
1"' waves1 as we called them, one of the questions which 12 in Oetober? What did he say?
19 they posed was when are we going to get the green 13 A. lt was over lunch, a lunch between Michael
19 cards 19 Pol, Malvern Bumett and me in Ocean Springs. And the
20 Q. So the first wave was in the third week -- 20 context was there's somebody else that we're working
21 when was the first wave? 21 with and would it be okay if Signal relinquishes -- I
22 A. Approximately October, late October 2006. 22 don't know if he used that term.
23 Q. Okay. So that's when you learned for the 23 Q. Yeah. I'm following.
24 first time that the Indian workers had an expectation 24 A. That‘s the context Would Signal be
25 of green card status? 25

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willing to relinquish its ability to sponsor the

 

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workers it's bringing over f`or green cards when it 1 Q. So your understanding, then, and correct me
comes time for green cards And l didn't understand 2 if I'm wrong, is some of these workers would -- Signal
that, but it didn't seem logical to me that we would 3 would apply for green cards at the end of the H-ZB
spend all of this effort only to -- training the 4 stream?
workers and all ofthat, only to give them over to 5 A. Yes.
somebody else when -~ when something could be -- when 5 Q. ls that what Mr. Burnett explained to you?
we might be able to -- why would we give them away? 7 A. No. Michael was the one who posed the
It just didn't strike me as a proper question. 3 question. And it -- as l said, it confused me because

Q. But Mr. Pol framed it in the sense that 9 it was new infonnation. And it didn't make sense that
these are the green card workers that you -- that he 10 we would -- if we had an ability to keep a worker, why
wanted you to relinquish? 11 would wejust let them go to some other company that

A. No. No, no, no. The l-I-2B workers, when it 12 hadn't had any involvement with them and hadn't built
comes time for their green card application, will 13 a rapport with them and -- and a relationship So the
Signal relinquish an ability to sponsor them so that 14 question struck me as odd
another company I'm working with can take them on a 15 Q_. The question was odd. lt was posed to you
green card basis after you've had them for an H-ZB 15 by Mr. Pol. But at that point you knew that some of
process. And that just didn't -- that confused me and 17 these workers would get green cards and some would
so l didn't know what to make of it. n 13 not?

Q. So from that conversation you didn't 19 A. No, l didn't know any cf that. But - l
think -- did you think -- what did you think about 20 mean, I knew that we would hopefully apply for
Signal and green cards? 21 extensions to the H~QB, winch with extension one and

A. l thought -- well, again, that was the 22 extension two, that would be 30 months. Ten months
first l'd heard of it1 but my natural thought, being 23 for the original, plus two more ten months is 30. Two
brand-new to the whole process -- 24 to three years. And so -- Then l‘m hearing the term

Q. Absolutely. 25 "green card." Well, why would we -- l don't know all

Page 130 Page 1 32

A. -- was that we would bring the workers in 1 the implications, but why would wejust give somebody
on a ten-month H-2B visa. That was all we could count 2 up?
on for sure at Signal. lt was also all that we could 3 Q. What did you reply to Mr. Pol when he said
tell the workers that they were here for, was what the 4 this? l realize you're confused. What was your
government had approved Because it wasn't in our 5 reply‘.’
hands. We could solicit or request the government 5 A. l demurred l said thatI wasn't -- l
lt was they who approved 7 wasn't sure that this was -- I think l said that this

But we would also request an extension to 3 was the first l was hearing of it.
the H-ZB. And then at the conclusion of that, if that 9 Q. Is it fair to say that, although you were
was granted, then another one. And so then when the 10 the point man for Mr. Pol, there was other
l-[~ZB extension processes were exhausted then we would 11 communications that were going on between Signal and
just say: Okay. Well, now we'd like to appr for a 12 Mr. Pol and Mr. Bumett that you didn't know the
green card for the workers which -~ where there was a 13 content ol` but you knew were going on?
match between Signal's needs and the workers 14 A. No. l thought -- l mean, my understanding
themselvesl 15 was that l was the individual within Signal who was

Q. How does that square with the two- to 15 communicating with them on the issues pertaining to
three-year need? 17 immigration of workers for the H-ZB process l was --

A. Well, if we got -- if we got two 13 l was the contact person. And l wasn't aware of` other
extensions, plus the original ten months, that would 19 people talking with him outside of me.
be 30 months, two and a half years. 20 Q. Vou're the contact person to whom

Q. And then you would put them up for green 21 specifically?
cards? 22 A. Michael Pol, Malvem Bumett, Sachin Dewan.

A. Where it made -- where there was a mutual 23 Q. Okay. So if Mr. Bingle were to testify in
fit between Signal and the worker, we would then 24 his deposition that Signal had intended green card
sponsor them for a green card 25

 

candidates from the outset to give green cards, that

 

 

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that you may have to send some workers back if they're
not flux-core competent; is that n'ght?

A. That we might not be able to train all of
the high numbers that might be coming and therefore
need to send them back.

Q. And what did you think - what did you
think the consequences were ot` having to send them
back or what did you express in your entry here? This
is a journal entry from October 21§t, 2006. What did
you - What was going on'.’ What conclusions were you
drawing by that possibility'.’

A. That they had come to Signal expecting to
be put to work. lt" they were then sent back, that
would make them very upset.

Q. lt would int'uriate them, it would make them
upset,` after having paid thousands of dollars to eome?

A. Yes.

Q. And l realize that in the next month
there's issues as to fees. I'm not going to ask you
how much those thousands were, but the other concern
would be that your man camp wouldn't be full, which
would mean you've spent the money poorly.

So that was a concern as well that was

contemplated by sending lndians back, right?

A. I guess what I'm saying here is that we

 

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were concerned about the workers having paid money and
it not working out for them. 'l`hat's the concern l'm
expressing here.

Q. What money would have been spent poorly?

A. Could yo --

Q. Sorry. The second to last sentence Just
read the whole sentence if you want and then --

A. Okay. Okay. Okay. \’es. l see.

Yeah. We -- We wanted to have our workers‘

housing facility have as many workers as it- as it
could comfortably allow.

Q. But my question, Mr. Sanders, is what is
the money ahout?

A. Well, we didn't want to set up a workers‘
housing facility and not have the lndians be able to
stay there.

Q. Right. Because you owed -- you were paying
millions to General -- GE Mod Space, light?

A. Well, there were other options that we
could have done with the camp, but we built it for the
lndian workers and we wanted it to work out l"or them.

Q. More to the point, at this stage, third
week of October, you thought that getting
properly-training workers was the key for the success
of the H-ZB project‘.’ The last sentence.

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A. Yes. Yes. That's what l felt at that
point.
Q. Okay. l just want to summarize, then.
Even before you learned about the high fees that the
lndians had to pay, you thought it would be a disaster
for them to return home? Well, you thought they’d be
angry if they had to return home'.’
A. Ijust put myselt`in their shoes and l know
l would have been.
Q. Okay. That sounds good enough.
So knowing that, it would be - what would
be important for the lndians to know before they came
over, do you think'.’ Just like tell me the main -- l‘m
not saying -- not saying this will be all`, but tell me
the main things that you think would be important for
the Indian workers to know before they got to America.
MS. HANGARTNER:
Ohject to form. I mean, about Signal,
about America, about -
MR. SANDLER:
Ahout their investment
MR. ALEXIS:
About their what?
MR. SANDLER:
About their investment, their investment in

 

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the H-ZB visa.
MR. ALEXIS:

l object to form also.
MR. SANDLER:

Let me rephrase.

' EXAMINATION BY MR. SANDLER:

Q. The workers -- as you indicate in your
entry, the workers had spent some amount of money or
were in the process of spending some amount of money
to come to America to work for Signal. right?

A. Yes_

Q. So they had some expectations about what
they were going to get when they got here. `You know,
what those were is not what l‘m asking, but obviously
they had some. And I'm wondering, given your position
at Signal, what did you -» what information would they
need to know to make a wise investment or not in the
process?

MR. ALEXIS:

Object to form.

A. They would need to know how long they would
be staying for.
EXAMINATION BY MR. SANDLER:

Q. And that decision is made by whom?

A. Ultimately1 the U.S. government

 

 

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l Plaintifl`s (P] Signal Defs. (S) Dewan l`)c§"s. (Di Bumett Det`S. [B`) i

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regard to the catering and all that. 1 situation. And that's -- that's when l found out new

Q. Sure. 2 information

A. He was very emphatic on that point. 3 Q. What was that new information?

Q. You also had an e-mail - well, you had a 4 A. That the indian workers had, in fact, paid
correspondence with Mr. Bumett that we spoke about 5 far more than 2 to $3,000 in order to come to the
earlier today where you were given instructions about 5 United States.
how to draft a letter to Mr. Waldman? 7 Q. Which is what you had suspected?

MR. ALEXIS: 9 A. But not shared with anybody.

Object to form. 9 Q. Okay. But not shared with anyone.

A. Where he said not to say more than ten 10 A. In the sense of no one at Signal knew that
months ls that the one you're referring to? 11 l was thinking that because l didn't have anything to
BXAMINAT|ON BY MR. SANDI,ER: 12 go on.

Q. Yeah. He said not to say more than ten 13 Q. Were they thinking it?
months which had raised some suspicions in your mind; 14 A_ You would have to ask them_
is that right? 15 Q. Well, you're right, hut what I'm

A. Just -- just -- l wouldn't necessarily call 15 interpreting, and I just want to clarify, nobody at
them suspicions A lack of understanding And in the 17 Signal ever expressed doubts to you about this fee?
absence oi` understanding all the details, l‘m going to 18 A. No. No. I don't remember anyone
do what l always do, which is simply tell the truth as 19 expressing any -- any doubts about that, lt was -- it
l understand it. 20 was -- the doubts came from inside of me.

Q. But the instruction was to not do that? 21 Q. Right. What was your title again at

MR. ALEXIS: 22 Signal?

Object to form. 23 A. lt was special projects manager or

EXAMINAT|ON BY MR. SANDLER: 24 something along those lines.

Q. How did you understand the instruction to 25 Q. Okay. It is at this point that you learn

Page 178 Page 180

tell ten months to Mitch Waldman? 1 ol' the high fees that the lndians had paid‘.’

MR. ALEXIS: 2 MR. ALEXIS:

Object to form. 3 Object to form.

A. l wasn't comfortable with it, so l didn't 4 EXAMINATION BY MR. SANDLER:
do it. That's -- That's all l can say. 5 Q. lt is at this point that you learn of the
EXAMINATION BY MR. SANDLER: 5 fees that the lndians claim to have paid‘.’

Q. Why were you not comfortable with it? 7 MR. ALEX|S:

A. Because l didn't believe it to be the whole 3 Object to form.
truth. 9 A. ch. [n mid-November.

Q. Okay. 10 EXAMINATION BY MR. SANDLER:

What was - Sorry. When do you get back to 11 Q. In mid-November.

Signal from India? 12 But what were their complaints to you about

A. l think it's approximately November Sth, 13 that? And if that's nut clear -- There was another
thereabouts. 14 fee that the workers had to pay once they arrived at

Q. And by approximately when do you first 15 Signal, right?
start to hear worker complaints? 15 A. They didn't pay any -- well, to whorn, l

A. Maybe a little bit more than a week iater. 17 guess, are you referring?
About a week later. Essential ly after the first two 19 Q. l would - I'm asking about a fee that
waves, if you will, one that arrived approximately 19 might have incorporated housing and food, a per diem.
October 31 st and then maybe November 7th, roughiy, 20 A. Yes_
when they would have gotten their paychecks, which 21 Q. Okay. How much was that fee?
would put it mid-November. That‘s when l began to 22 A. Thirty-tive dollars per day.
hear complaints from the workers and wanting to -- my 23 Q. Which is about a thousand fifty a month?
whole goal was to show them that l really did care 24 ls that fair to say?
about them, so l went out and tried to understand the 25

 

A. li`charged for seven days a week, yes.

 

 

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1 Q. Were they being charged for seven days a
2 week in November?
3 A. Yes.
4 Q. What portion of that $35 a day was for
5 housing the man camp?
6 A. Right. Well1 $14 -- Well, okay. $14 a day
7 was the agreement with Global Resources, but it was a
3 graduated scale based on the actual number of workers
9 in the camp.
19 ln other words, when the number of workers
11 in the camp reached 290, it would be 314 a day. lf
12 there were fewer workers, the fee -- the catering
13 aspect, if you will, would have been higher because
14 there's a lower number of workers and yet there is
15 still the same amount of staff for the catering that
15 needed to be paid and so on and so forth_
17 So it was a graduated scale. Signal
13 charged $35 a day, though, regardless of how many
19 workers were there. We didn't graduate our fees up
20 from 35.
21 Q. So some of it-- so approximately 14 was
22 going to --
23 A. Catering_
24 Q. - catering and approximately 21 to the man
25 camp. Does that make sense?
1 A. That's a good generalization, when the camp
2 was full especially
3 Q. And so what were the lndians saying about
4 this fce?
5 A_ They wanted to know what -- what it -- what
6 it consisted of as far as the elements of it, and they
7 wanted to know if it could be less.
3 Q. And what was Signal's response to whether
9 it could be less?
10 A. We explained to them all of the many, many
11 things that $35 a day encompassed so that they would
12 understand why we were charging them what we were.
13 Q. So the answer -- Did Signal reduce the fee?
14 A. Yes.
15 Q. In November 2006?
15 A. At that point, no. We didn't reduce it
17 until later.
13 Q. But not until March of200’7? Would that
19 sound about right?
20 A. Idon't remember the exact time trame,
21 but __
22 Q. Would you generally say that was
23 probably -- that my guesstimate is probably about
24 right?
25

A. l don't know exactly when it -- when it

Fage 133
1 happened but we certainly wanted -- Okay.
2 Q. All right, John. When did you finish at
3 the man camp‘.’ Because l remember - You finished at
4 the man camp at some time. right`ll
5 A. ch_
5 Q. Okay. When was that?
7 A. April. In Mississippi, April 2007.
3 Q. And by then had the fee been dropped?
9 A. l believe it had been.
1° Q. Was_that a recent occurrence or had it been
11 dropped for along time?
12 A. l would say probably more recent than long
13 time, but l don't know the exact date that it --that
14 Signal said: Okay. Not all ofthe workers are able
15 to work for more than 40 hour -~ or more than four
15 days a week and so forth. Bccause those things were
17 factored in. We wanted to show them that we cared
13_ about them by reducing that fec where we could. So...
19 Q. Can you just characterize the complaints
20 that you were getting now back from middle of November
21 of '{|6? You learn about the fees they had paid in
22 India. They're talking to you about the $35 fee. So
23 what - l mean, what are they saying like tisea|ly,
24 economical|y? `
25 A. They were concerned that their net
Page 184
1 take-home pay after taxes and after the boarding
2 deduction was not -- even at the approximately 518 an
3 hour that we were paying them, very fair wage, that
4 even with that, they were not able to see the same net
5 pay that they had expected to receive in order to
5 amortize their -- their debt that they had incurred to
7 get here. That was their concern expressed to me.
9 Q. What was Signal's reaction when they - I
9 mean -- You learned of this and then did you tell
10 anyone at Signal about --
11 A. Yes. Yes.
12 Q. Who did you tell?
13 A. l told Ron Schnoor, Lisa Spears and Bill
14 Bingle right away, you know.
15 Q. What was Mr. Schnoor's reaction?
15 A. He was very surprised to hear that news and
17 said that he wanted to have Michael Pol come in
13 immediately and provide -- Just answer our questions
19 This is what we're hearing. .lt's completely different
20 from what you've told us. Why the difference?
21 Explain yourself.
22 Q. Prior to this, did Signal -- did you hear
23 from management at Signal any discussion of the fees
24 that the H-ZB workers had paid?
25

A. Again, just the --

 

 

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and ask you a question. “In one sense this issue is
between Michael Pol and the workers." And "this
issue" l'm going to assume is the fee that was like --

A. ch. Yes.

Q. "Each Indian knows the game up-front and
has a decision to make." What's "the game"?

A. That was a euphemism that l used to express
that that agreement between Michael PoL Malvern
Bumett, Sachin Dewan and each lndian worker, that was
something that they had worked out without Signal
knowing anything about it and that the lndian workers
knew that they would have to pay that money and chose
to and that that was a decision that they made that
Signal had no -- no knowledge of as far as the amount,
nor was it party to_

So that's -- that's what l'm saying is just
there was a set of parameters that both the lndian
workers -- that the lndian workers were told and that
they then agreed to pay. That's what l mean by that
euphemism.

Q. Did anyone at Signal ever tell you that
there was a power of attorney agreement between Signal
and any of those three people?

MR. SHAP]RO:

Ohject to form.

 

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A. l think l remember something with Dewan
that may have been that, but l don't remember the
exact term for it, as far as Was it power of attomey,
was it something else. So l don't remember. '
EXAMINATION BY MR. SANDLER:

Q. Okay. So they told you only maybe about
Sachin Dewan, that there is something that might be a
power of attorney or some other -- What was the --
like what was the core of that thing, even if you
don't remember the name for it?

A. I'm not -- I'm not-- I'm not sure. l'm
just trying to tell you that there may have been
something, but l don't know the particulars of it,
can't remember the particulars of it.

Q. And what did that something pertain to?

A. l don't recall.

Q. Why in the fourth sentence -- and l'll read
it. You're talking still about the fee and you
thought that Signal thought it was about $3,000. You
say, "This sounded like a reasonable fee, l‘m sure."
Yes.
ls that what you thought on the 17th?

That $3,000 was reasonable?
Uh-huh (indicating aft'irmatively).
Yes.

P"'.O?’.C.>

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Q. For what did you think the workers were
buying? What did you think they were buying for
$3,000 that you thought was reasonable?

A_ The plane ticket, the one-way plane ticket
to the United States1 the processing fees --
processing fee for the H-2B visa1 plus reasonable and
modest commission to Signal's recruiters whom they
were interacting with.

Q. And what was the period ol' time that they
were buying in the U.S.?

A. Ten months.

Q. Right. Okay.

I just want to be clear. Contracting with
the recruiters, Sachin Dewan, Mr. Burnett, that's not
really part of your job, right?

MR. SHAPIRO:

Object to form.

A. Correct.

EXAMINATTON BY MR. sANDLER:

Q. Your job is communication, point person?

A. Yes.

Q. what did you think -- why did you think ii
was important that the lndians received a refund?

MR. ALEXIS:

l'm sorry. I couldn‘t hear the end of that

 

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question.

EXAMINAT[ON BY MR. SANDLER:

Q. Why do you think it was important that the
lndians received a refund?

MR. SHAPIRO:

Object to form.
EXAMINATION BY MR. SANDLER:

Q. Let me -- Did you think it was important
that the lndians received a refund?

MR. SHAPIRO:

Object to form.

A. Yes.

EXAlV,llNATION BY MR. SANDLER:

Q. Okay. Why?

A. Because that was way too much money to pay,
and we didn't want the workers to be so heavily
indebted. We wanted this to be a win/win for the
lndian workers and Signal.

Q. Okay. Did the fees that they paid to
Michael Pol directly -- in your opinion, did the fees
they paid to Michael Pol directly impact their ability
to pay the $35 a day fee that Signal was going to
begin charging them?

MS. HANGARTNER:

Object to form.

 

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25

 

MR. SAN DLER:

Okay.

MS. HANGARTNER:

l mean, it's almost impossible to answer.

l mean --

EXAM|NATION BY MR. SANDLER:

Q. Well, let's read the first paragraph of the
e-mail. Okay? I'm just going to read it into the
record.

"Lisa, I was at the man camp yesterday
evening and got to meet the workers. They complain
about the $35!day boarding charge. After this is
deducted they say it's not worth their while
economically to be here. Apparently that's because
they paid Global Resources a great deal of money to
get here, incurring a third-party debt in the process.
The North lndians I spoke with last night told me they
paid 512,000 to get here. This morning an approved
worker from Chennai called me to say he's being asked
to pay 15,|]00 and can he come through Signal directly
to avoid the high recruiting fee (no)?"

I mean, in this paragraph, how are the -

What is the connection between the $35 a day boarding
charge and Michael Pol‘s fee? Well, not Michael Pol‘s
fee. The fee that the workers paid.

 

A. The fee that they actually paid instead of
what we had been told they paid.

Q. The fees that they at that time were
telling you that they paid? lthink we're talking
about the -

A. 12 to $lS`OUO instead of 3,0()0 or So.

Q. What is the connection between that fee and
the $35 a day fee?

A. It's this: That they had to make payments
on the 12 to $15,0()0 of debt. And with their net pay,
having the 200 and maybe $45 a week, 35 times 7, taken
out, that reduced their net pay thereby impeding their
ability to make progress on the debt at the rate they
hoped.

Q. Did you think the 335 a day fee was
important for Signal?

A. Could you define what you mean by
"important"?

Q. All right. Let‘s do it the other way.

How much money - and l realize, you know.
you may not know to the exact dollar, but how much
money had Signal paid for the GE Mod company to build
the man camp?

A_ Probably over a million dollars
Q. Okay.

Page 233 § Page 235
§ 1 A. And that was just for the -- for the
2 buildings
3 Q. How much in total do you think they paid?
4 I'm not quizzing you. And ii' you don't
5 remember, it's t`ine. Vou're not required to remember.
6 A. l understand And l mean, those questions
7 should be deferred -- l would defer those questions to
3 our chief financial ofticer, Chris Cunningham, but the
9 amount was - was very significant
1° Q. Okay.
11 A. lnto the millions of dollars --
12 Q. Okay.
13 A. -- is my understanding
14 Q. Right. And this $35 a day -- well, let's
15 just call it a thousand fifty a month. Because in
15 November and December it was that.
17 A. Okay.
13 Q. -- per worker, some of that was going to be
19 used to pay Signal back for the man camp. And l can
20 even be more specific. Earlier nn today we agreed
21 that that was about $21 that was going to like living
22 and about 14 -
23 A. Yes.
24 Q. So let's just do $21 a day per worker
25 times, say, 30 days in the month. That's like $63[|
Page 234 Page 23 6
1 per worker that Signal was getting. That money was
2 important -- well, was that money designed to go back
3 to the hill that had accrued from building the man
4 camp?
5 A_ Yes, but also to cover the operating
5 expenses involved with the camp.
7 Q. So there was a capital expenditure and --
3 A. And operating expense
9 Q. -- and a variable cost?
10 A_ Yes.
11 Q. Okay. l want to ask you about the Chennai
12 worker who called you. It's in that e-mail to Lisa.
13 A. Yes.
14 Q. You have in parens "no." What does that
15 mean?
15 A. That he can't come directly to Signal. He
17 had to go through our recruiters
19 Q. And this was November 17th. That was
19 Michael Pol?
20 A. Yes.
21 Q. Okay. And you told him that on the phone?
22 A. l told him that he can't come to Signal
23 directly.
24 Q. Yeah. On the phone?
25

 

A. Yes. lmean, I'm almost certain that it

 

 

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1 was a phone call because l would get them from time to 1
2 time. And l‘m pretty sure this would have been one. 2 REPORTER'S CERTIFICATE
3 Q. All right. How many other workers asked :
4 1°“ t° °°'“e t" Signal di""°“Y? 5 I, WENDY r~/LAJORlA, omitted court aeport¢r, in
5 Let me rephrase' 5 and for the State of Louisiana, as the officer before
6 Did other Worker$ ask you 10 come 10 Signal 7 whom this testimony was taken, do hereby certify that
7 directly? 9 JOHN SANDERS, after having been duly sworn by me upon
8 A_ Not __ not many, but probably more than 9 authority of`R.S. 37:2554. did testify as hereinabove
9 just this Cme_ 10 Set forth in the foregoing 237 pages; that this
10 Q' Okay. 11 testimony was reported by me ln the Stenotype
11 A. l'd get a few phone calls Not many 12 reporting method’ was ijrepz.gcd and transc.nijed by Hie
' ' 13 or under my personal direction and supervlslon, and is
12 Q. And your answer was consistent? 14 a true and Com,ct tmnscl_§pt to the best Ofmy
13 A. Yes. 15 ability and understanding that lam not related to
14 Q. Okay. 16 counsel or to the parties hereto, nor am t otherwise
15 A‘ Yes_ 17 ' interested in the outcome of this matter.
16 Q. All right ::
17 Why -- Well, it' we want to wrap for today, 20
13 then we can do that. 21 d
19 A- Okay- WENDY MAJORIA, CCR
20 MR. SANDLER: 22 Certitied Court Reporter
21 Can we go off the reeord? (NO- 34106)
22 THE V[DEOGRAPHER: 23 Hul`l`rnan & RObinSol't, lnC.
23 We're going off the record. This is One She“ Squam’ _S_Lme 250 Amcx
24 Videmape NO- 7' It,$ 6:271 24 New Orleans. Loulsiana 70139
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25 (Deposition was adjourned at 6:27 p.m.) 25
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1
2 WITNESS' CERTIFlCATE
3
4
5
5 l, JOHN SANDERS, the undersigned, do hereby
7 Cer'tify that I have read the foregoing deposition and
5 it contains a true and correct transcript of the
9 testimony given by me:
10
11
12
13 ( ) Without corrections
14 ( ) With corrections as reflected on
15 the errata sheet(s) prepared by me
15 and made a part hereof.
17
18
19
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21 §
22 __________________________________ §
WITNESS' sIGNATURE §
23 §
24 1
25 __________________________________ §
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1 UNiTE.D STATES DISTR[CT COURT
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DESlGNATIONS & OBJECTIONS KEY

_ Plaintii`fs' Afiinriative Designations
_ Signal Defs.' Af`i`lrn'ialive Designations 1"“”*“""'~'¢‘
_ Dewan l')ci`s.' At"f`lrmative Designations

_ Burnett Defs.‘ Ai`iirrnative Designations

1 Piaintii`fs‘ Counter Designations
Signal Defs.' Cot:\nter Designations
Dewan Defs.' Connter Designations
Bumett Def`s.' Counter Designations

 

P = Plaintiffs S = Signal Dei`s_ D = Dewan Defs. B = Bumett Defs.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  
 

   

   

 

   

 

 

 

 

KURIAN DAVTD, SONY “ CIVIL AC`TI(`),\I g.\,lu maine gucci
1 vAonEvAN suicme * No 1111-1220 3 jefferson Louisiana 70121
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5 MARUGANAN“MM KANDHASAMY’ t SECHON§ ..A.. [Attorneys for Sachin Dewan and
HEMANT KJMTTAN, ANL)REWS * 4 Dewan Consultants Pvt. Ltd.
6 lssAc P/\DA WE'I'HYL_ AND * MAGISTRATE. 1 a/kja Medw¢h ansulnmls)
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1 BEHA.LF or OTHER simr.ARLY * ~'
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8 sABULAL VHAYAN, KRisHAN * § ` 7 ALSO PRESENT:
KUMAR, JACOB JosEPH * f § s §
9 KADDAKKARAPPALLY\ KULDEEP * § § . .
erGH AND nrANAsEKAR 1 § §§ TFBCEY Bml°"
1<> cl-ir-_'LLAPPAN nmivmmLLY * 9 SlGNAL INTERNATIONAL, L.L.C.
PLAIN'rrrrs 1 o
11 * 1 1
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13 MAL,vERN C. BLmNErr, * De V
oqu CoAsT 1MranRA1':oN LAW * p°` ue
11 CENTER L.L c,, r.Aw orrzcas * 1 4
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11 RESOURCES, INC,\ MiCHAi-.'L POL t WENDY MAJOR| ,ls.1 CCR
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21 20 New Orieans, louisiana 70]39
22 voua»m 11 (504) 525-1753 (80{]) 749-1753
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Deposition ofJOHN SANDE.RS, e"o Tracy 22
23 Binion 60| Bayou Cassotte Parkway Pascagon|a
Mississippi 39531, taken' m the offices of Middleberg, 23
24 Ridd|c& Gianna, l3lst F|oor 201 Sl. Charles Avenue 24
New Orleans Loui.=iana 'l‘{ll'.'O commencing at‘) 44 25
25 o`clock a m , on Friday, the 20th day ofNovember,
Page 2 Page 4
1 APPEARANCES; 1 EXAMINA'I'[ON [NDEX
2 DF,WEY & LcBOEUF z
Anomeys at Law
3 [By': Ilugh Sandler, Esquire) PAGE
suite 2550 3
° 1000 Main Streer 4 EXAMINATION BY MR. SAN[)LER..............,........S
Hous.ron. rem 17002-5009 5 EXAMINATION BY MR. ALEXIS.......,..............220
5 {Anomeys for the Plaintiffs] 6
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(By: Naon‘li Tsu, Esquire) 9
8 ;§‘_:;215]§; S 10 Exhibit No 619...13
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9 Anth Georgia 30303 11 (Diary entry dated il'l il'(l?)
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10 F.xhibit No 620.. .. 17
11 MiDDLEBERG, RIDDLE sr GIANNA 12 (Diary entry dated 1/12/07)
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13 31st F|oor § i§§ 14 §
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14 Ncw Grleans louisiana 'l't§l?O - t 15 |§Diary entry dated 3/`261'07].
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16 1 1 C ) §§ §o.'§ny entry dated 8/23'/06)
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15 704 Carondelet Street § 5 1 g EXI$]~bl-?rg§o 61-2¥5___ ]_: 48
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19 .{Attorneys for Gulf(.’oast l migration § Dl&l`|y Ctlily daiod 9/15/06)
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Page 5 Page 7
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OSHA l'vh grant Housing Standards‘ ) 2
Exhlbi1 No 631__ _ _34 3 . . _
(E-mail thread from Rhorida Geerge lt ls Snp_ulated and agreed by and _among counsel
dated 3119'0$) 4 i`or the parties hereto that the deposltlon of the
E h b1 N 632_ __91 1 - - -
x(:§;ccl:p|eadshecmled ..C"D‘st swings 5 aforemennoned w1tness 1s hereby being taken under the
given 111 101111_1115"1 5 Federa] Rules ofCivil Procedure, for all purposes, in
lsxhibicNo_ 63396 -, 1 ..
(E.xeel printout titled accordance Wlth law=
P€"‘ii“t= man mm iSSu€S") 3 That the formalities ot` reading and signing are
Exhlb1tN0634___ …....dd . - -
(Diary why dated 12 1 1/06) 9 speelheally not waived;
Exhibn Ne_ 635._,________ 109 10 That t_he fomaht“_es Of mmg’ Sealmg and
(E-mail from J. sanders dated 813/061 1 1 certification are specifically waived_j
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_ , 13 the question and the responsiveness of the answer. are
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[Dmy mw date-d~ 12 l lm%] any part thereof, may he used or sought to be used 1n
15 evldence.
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(Docurnent 111ledDeeldrat1on ) 22 witness_
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(E-rnail fromJ. Sanders dated 4130/|]7) 24
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(Doeument titled' Undertaking") 25
Page 6 Page 8
(Diary entry dated 12/19/06) 1 P R 0 C E E Dl N G S
EXhlbitNO. 646.. .....199 2 THE WDPOGRAPHER.
(Diary entry dated J/lzrcm 3 _ . ' . .' .
Exhlblt No 647 ____200 This is the continuatlon ofthe videotaped
(Diary entry dated 3110/07) 4 deposition of.lohn Sanders. This deposition is
5 ' h ` . ' N
Exhibit NO 648 "‘.204 6 being eld at.Z_()l SL Char]es Avenue 1n ew
(Diary entry dated 3/29/'0'7) Orleans, Lou1slana on November 20th, 2009. The
Exhibit No. 649... ....._215 '7 time indicated on the video screen is 9:44.
(Dia'?’ entry ddted 4"18"07) 3 My name is Karl Stiegman. I'm a certified
EXhib]-t NO 650___ __ 228 9 legal video specialist with Depo-Vue. 'l`he court
{E-mail from T_ Binion dated 4/12/07) 10 reporter is Wendy Fair with Huf`fman & Robinson.
E’d“bd N° 651-- 229 11 Would the court reporter please reatiirm
(E,-mail from H. Lewis dated 6/1/'07) . .
12 that the gentleman ls sworn 111.
Exhibit No. 652.. ..238 13 EXAM]NATION BY MR. SANDLER:
(F.- -mail from R. Schnoor dated 3/27/{]7) 14 _ A ain o d mornin Mr. Sanders_
Exhiba Ne 653... .239 15 g g ’g °. g’
roman 1101111. sanders dated 1/29/0'1) ' G°°d m°m‘“g'
15 Q. My name is Hugh Sandler. We met ylsterday.
17 A. Yes.
13 Q. And this is the continuation of the
19 questions we were talking about yesterday
20 A. Okay.
21 MR. SANDLER:
22 J ust a couple of things Sleve Shapiro,
23 who was here yesterday is not in yet, but he
24 called and has stated that we can start without
25

 

him. And l understand that he'll bejoining us

 

 

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4 (Pages 13 to 16)

 

 

 

 

cage 13 § Page 15
1 Q. Let's say Pascagoula. 1 is that right?
2 A. Yes. There were plans to expand § 2 A. Yes. Tasks that needed to be done and
3 Q. Were there plans to expand in the same way 3 comments relative to that.
4 the camp in Orange'.’ 4 Q. Okay. So there's these two kind of like
5 A. There were initial preliminary plans which 5 daily reports, so to speak?
5 were eliminated in the end. We didn't follow through 5 A. ch_
7 on those. And this was not an expansion of the number 7 Q. Okay. And this is from January llth on
5 of workers but rather the living space for existing 3 your electronic one which is -- When did you record
9 ones. 9 these? Are these -- What time of day were these
10 Q. Okay. And, now, that vendor was who? 1° usually recorded?
11 A. That vendor was Ameri-Tech in Leesville, 11 A. Typically at night
12 Louisiana. 12 Q. Kind of like a way to like digest what had
13 Q. Okay. l want to show you a couple of 13 happened that day or something?
14 documents And, actually, l'm going to jump to the 14 A. And sometimes l'd fall a little bit behind,
15 Ameri-Tech and then we're going to go back - 15 but yeah
15 A. Okay. 15 Q. F air enough. Ijust want to ask you. So
17 Q. --to the Mod Spacc. 11 now l'mjust going to read a little bit of it and ask
13 The first document lwant to look at is 13 you.
19 SIGE()SS’!{]]S. And this will be Exhibit No. 619. 19 “The reason for the trip to Leesville,
20 (Whereupon, the document as described above 20 Louisiana was so that Darrell Snyder and l could see
21 is marked as "Exhibit No. 619.") 21 Ameri-Tech Bui|ding Systems' manufacturing plants for
22 EXAMINATION BY MR. SANDLER: 22 oilfield housing and determine whether the good price
23 Q. l'm just going to ask you to read it over 23 we'd been quoted would translate to good or bad
24 and then we'll talk. 24 quality. Definite|y very good, we discovered. As
25 A. (Witness reviews document.) x 25 Darrel| said in the meeting with Ameri-Tech‘s
Page 14 § Page 16
1 MS. HANGARTNER: l 1 management1 we wish we'd have known about them six
2 Did we need to start a call for people to 2 months before - it would have saved us a huge amount
3 call? 3 of headache with GE."
4 MR. SANDLER: 4 Was there a headache with GE?
5 Maybe at the break. 5 A. Yes.
5 MS. HANG/\R'I“NER: 5 Q. What is - What were some of the things
7 Okay. 7 about GE that were causing a headache, so to speak?
3 MR. ALEXIS: 3 A_ Everything needed to be done on a very
9 This is Exhibit -- 9 tight timeline because, you know, essentially from
10 MR. SANDLER: 1° late July until late October, those three months, we
11 6|9. 11 had to go from nothing just a tield, to a housing
12 THF. WITNESS: 12 facility for 290 workers in Pascagoula. And GE
13 l've read it. Yes, 13 committed themselves to that timing. They outsourced
14 EXAM|NAT[ON BY MR. SANDLER: 14 a lot oi` the plumbing work in particular
15 Q. Just to - This is a journal entry of yours 15 Q. Okay.
15 from .Ianuary l]th - 15 A. They outsourced, l think, plumbing and
17 A. Yes. 17 electrical, but the plumbing had lots of problems
15 Q. -- 2007? 15 because the contractor that they subbed the work out
19 And just to be clear, you kept a daily 19 to did a -- did ajob that was not at all the quality
20 journal over the period, say, 2006 and 2007? 20 which GE expected or which Signal requiredl
21 A. Yes. 21 Q. All right. So it was ofa low quality
22 Q. But you also had a different kind of 22 work?
23 journal. And maybe it's not properly called a 23 A. Yes.
24 journa|, but a note pad where you would record things 24 Q. And that's the plumbing and the electrical‘.’
25 during the day and that was like kind of by longhand; 25 A. Principally the plumbing Ircrnember most

 

 

 

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l Plaintitl`s (P) Signal Dei"s. (S] Dewan l]cifs. (D) Bumett Det`s. (BT|

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1 of the problems being with the plumbing inside the 1 mere were no workers to give input who were living in
2 buildings 2 them day by day.
3 Q. Were there any other quality issues that 3 Q. Right. So now you had an opportunity to
4 come to mind? 4 get feedback1 so you took that opportunity to make it
5 A. That was the main one that l remember right 5 more appropriate, so to speak.
5 now_ 6 A. Yes. Andl involved the indians because
7 Q. Okay. l just want to enter one more 7 they were the ones who would know best And we wanted
3 document, SIGE0557014. And this will be Exhibit 9 to satisfy their needs and fix everything in the very
9 No. 620. It‘s a short one. 9 best way for them.
10 {Whereupon, the document as described above 19 Q. Yeah.
11 is marked as “Exhibit No. 62i].“) 11 So - Okay. Ijust wanted to introduce
12 A. (Witness reviews document.] 12 another document, SIGE0556991. And this will be
13 thAMlNATION BY MR. SANDLER: 13 Exhibit 621.
14 Q. Okay. So this is the next day from the one 14 Read over it.
15 wejust spoke about. lt‘s January 12th, another diary 5 15 {Whereupon, the document as described above
15 entry? 15 is marked as "Exhibit No. 621.")
17 A. Yes. 17 A. (Witness reviews document.)
15 Q. Okay. I read here - l'm not going to read 18 l've read thc document
19 the whole thing but the first sentence. 19 EXAMINATI()N BY MR. SANDLER:
20 "l did get some important things done like 1 20 Q. Okay. So I'm concerned with the paragraph
21 attend the man camp rules meeting to hammer out with -: 21 on the 991 page. And for the record, at the bottom
22 the other managers what punishment drinking should ‘ 22 here it says, “Thursday, February Sth, 2007." And
22 receive, and yes, l was able to define the number of l- 23 then there's nothing there and then if you turn over,
24 toilet, sink1 and shower buildings we'll need to buy 24 it goes to February 7th, 2007.
25 from Ameri-Tech." § l 25 So l'm going to state -- and you can
§ ,,,,,
Page 18 t Page 20
1 Was that an issue with the previous - the 1 contradict me and then we can get more documents if
2 man camps built under GE, the number of toilet, sink 2 you do - that this is from February 9th, 2007.
3 and shower buildings? ' 3 A. That would be my presumption as well.
4 A. No. We felt -- Again, we were doing it for f 4 Q. Okay. Okay. So l'm just going to read a
5 the very lirst time -- _. 5 bit and then we'll ta|k.
6 Q. ln '06? _ 5 "Our lndians have been dropping with
7 A. ln ’06 -- and went with, you know. the best ' 7 sickness like flies. Two Sundays ago," someone who's
5 recommendations that we could come up with which l ; 2 been redacted out, "got double pneumonia. Someone in
9 think included GE's input. ; 9 Wave 9 broke his ankle. Someone else in it got a
10 Q. Okay. And the next sentence, "That's 512 staph infection last week and almost had to be
11 important because we get one chance to do it right, 111 hospitalized." A redacted person "had a virus attack
12 and it happened because I went out to the camp after 12 his heart and had to be put in the hospital today
13 hours and spoke with about 30 lndians." _`13 since he was subject to 'spontaneous heart failure' at
14 Okay. So you consulted the people who were '14 any moment.“
15 living there to see kind of the needs that were 15 I'm skipping one sentence.
15 required‘.’ 15 "The lndians arc getting worried and
17 A. Yes. 17 believe there are unhealthful conditions in the camp.
18 Q. Okay. ls that because under the GE -- 13 It is true. The reason is because the plumbing was so
19 under the man camps that were previous to this, the GE 19 shoddily done by GE's subcontractors, and water has
22 man camps, the man camps built by GE, there was an 2° leaked everywhere and stagnated as a result, which
21 issue as to these factors? '21 serves as a bacterial breeding ground. As I was out
22 A. Yes. When we specilied the number ot`, you .22 at Bunk-house 16 today, one of the workers came up to
23 know, toilet, sink, shower facilities, et oetera, with 23 me and said many of them are getting sores such as
24 what we gave to GE, like l said, we did that based on, 24 they have not had before. Even myself, l have noticed
25 you know, the best input that we could receive. But l 125 between today and yesterday that a couple of pimples

 

 

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1 have broken out on my legs which appear to have a 1 Q. Sure.
2 black center. I suspect may be a staph infection. It 2 A. There were -- there were places where the
3 is a very serious matter, most of all because of the - 3 PVC plumbing hadn't been properly connected together
4 impact it will have on the Indians' morale if it 4 and it would leak in certain parts And when we would
. 5 continues." " 5 fix one it-- or GE would fix one, it seems to pop up
5 Did that staph infection that you ; 5 elsewhere That's what l'm referring to there.
7 suspected, did it become a staph infection? 7 Q. Right. Okay. I wanted to enter another
_ 3 A. lt proved not to be. 9 document, SIGE0556957. And that will be Exhibit 622.
9 Q. Okay. So was this - This was just the 9 Have a read and we'|l -
10 result of like what you had been seeing going on at -1° (Whereupon, the document as described above
11 the man camp, people were being hospitalized, people `11 is marked as "Exhibit No. 622.")
12 were getting sick? '12 MS. I”L¢\NCARTNER:
13 A. Could you repeat the question? `13 Thank you.
14 Q. ldon't know that l asked a question, 14 A. (Witness reviews document.)
`15 but-~ 215 Okay.lyeieadthedocunmnt
§15 What did you mean by “Indians have been _15 EXAMINATION BY MR. SANDLER:
17 dropping with sickness like flies"? 17 Q. Ijust want to ask you right now just about
13 A. That there seemed to be a higher than l ' .15 the title of Monday, March 26th, 2007.
19 would have expected number coming down with various 119 A. Yes. About thc Judas? That was me -
20 forms of`illncss. 217 Q. No, no, no.
21 Q. And in fairness to what you said earlier, 21 A. - in play_. not mc in person.
22 that it seems to be related to a plumbing issue‘.’ `22 Q. Iwasn‘t going to ask you.
23 A. Well, that's what I -- that's what l 23 A. Ijust want to make that very clear here.
`24 thought at the time that l wrote this. 24 Q. Okay. Fair enough.
25 Q. Uh-hub (indicating aft'rrmativeiy). 1 25 After the comma -
Page 22 l Page 24
1 And did you ever change that thought'.’ 1 A. Understood.
2 A. Yes. 2 Q. -- "Kelly curses my staff infection,"
3 Q. Okay. v 3 where did you get -- l don't, you know -- did you have
t 4 A. lt was -- The thought was at least 4 a staph infection'.’ Is that what this person is
5 significantly modified with doctor's information as ‘ 5 cu rsing‘.’
5 opposed to my own -- _ 5 A. Yes, but it wasn‘t on my legs. That was
7 Q. Oh, l see. . 7 your question.
3 A. -- unmcdical person. Actually, that's not n 8 Q. No. l know. Ijust wanted - Becausel
` 9 a word. l‘m sorry. But just amplified by outside ` 9 have my notes, and Ijust need to make it all make
10 information 119 sense.
_11 Q. About the plumbing? 11 A. Understood.
112 A. No. Frorn a doctor about what was likely to 12 Q. So where did you contract the staph
13 be causing some of` these things. 13 infection? Not on your body but where in the world?
14 Q. Okay. The sentence where it says, "The 14 A. Ob. While living in Pasoagoula.
15 lndians are getting worn'ed and believe there are _.15 Q. And working at Signal?
15 unhealthfu| conditions in the camp. It is true.“ 15 A. I was an employee at Signal.
17 And the next sentence says, "The reason is 17 Q. Did you at any time suspect that you might
15 because the plumbing was so shoddily done by GE 15 have contracted the staph infection by your frequent
19 subcontractors1 and water has leaked everywhere and `19 interaction in and around the man camp?
2° stagnated as a resu|t, which serves as a bacterial 120 A. That -- that was what I drought before
21 breeding ground." 21 going to a doctor.
22 Did you ever change your opinion that the 222 Q. What did the doctor say?
23 water had leaked everywhere and stagnated as a result? 23 A. He said that ever since Hurricane Katrina1
24 A. Well, whenI say "everywhere," that is sort 24 that there had been a much, much higher frequency of
-25 of`a colloquialism. '25 staph infections all throughout the county area.,
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1 that -- many. many cases, and that_his opinion as a l 1 Q. Would that be an accurate reflection of how
2 medical professional was that it had to do with the 2 you understood your job?
3 fact of the devastation left by Hurricane Katrina and 3 A. Well, I guess I would say that I was in
, 4 just the bacteria and other factors that it left 4 charge of Pascagoula and Orange in the sense of
5 behind1 which that's what modified my opinion about it 5 specifying vendors and reporting how both projects
5 being something relative to Signal. Because that's 6 were going to senior management but as far as the
7 what -- that's what he told me -- 7 day-to-day aspects in Tean and the construction of
3 Q' Okay- 5 that facility and howl many beds would be in each of
9 A. -- and l relied on his judgment -- 9 the Texas bunkhouses, I wasn't nearly as involved in
1° Q. Okay. 10 those details as l was in Mississippi.
11 A. -- which came after the March -- or -- 11 Q. You didn't know how many beds were in the
12 sorry -- the l’ebruary diary entry. 12 Texas man camps?
13 Q. Did you ever correct that entry in your 13 A. l knew how many there were, but how many --
14 diary? Did you ever say: Oh, l learned today that 14 how many Indian workers would be staying in what
l 15 the staph infection came from Hurricane Katrina? Do 15 bunkhouse, I don't --
15 you recall ever -- ever making that modification in 15 Q. l didn't ask you that,
17 your diary? 17 A. Okay.
15 A. You mean to -- modifying the l"ebruary 13 Q. How many beds were in the bunkbouses in
19 entry? 19 Orange, Texas?
- 2° Q. Nr), not going back over it, but like at 20 A. l don't remember.
21 some point you saw this doctor, you learned this 21 Q. I)o you remember them being different from
22 information Did you ever put that in your diary? 22 Pascagoula?
23 A. l don't remember. 23 A_ l believe that they werc, but my
24 Q. Okay. 24 recollection is not as good as it was in Mississippi.
25 A. l don't remember. 25 Q. So e-mails from that time would probably
Page 26 Page 28
1 Q. All right. One of the documents we've 1 speak more clearly to that --
2 talked about was the number of toilets, sinks and 2 A. Yes.
3 showers that you were getting You were getting input 3 Q. -- or maybe diary entrics?
4 from Ameri-Tech - or input from the workers in 4 A. Yes, yes, yes. Because, again, l was
5 January. Okay‘.’ How many were there in the bunkhouses 5 focused day to day in Mississippi.
6 in GE -- under the GE regime? 5 Q. flow many sinks and showers were in the
7 A. HOW many -- 7 bunkhouses that you can recall?
5 Q. How many toilets were there? 5 A. Well, l believe that there were -- four
9 A. l think that there were two in each 9 showers is the number that comes to mind. l'm sure
10 bunkhouse. That's my -- that's my recollection 10 that other information could confirm or discontirm
11 Q. And how many beds were there in the 11 that, but l think it was four. And each restroom
12 bunkhousc? 12 facility had a sink.
13 A. lt varied When we lirst set up the 13 Sometimes the sink -- if l remember,
14 workers‘ housing facility, depending on the layout of 14 sometimes the sink was inside the bathroom and
15 the bunkhouses, between 20 and 24, l think. 15 sometimes it was out -- outside in the bunkhouse
15 Q. Beds? 15 living space
17 A. Yes. 17 Q. Okay. Now, can you just tell me where the
13 Q. And that was the same in Pascagoula as it 18 plumbing problems were in relation to any of these
19 was in Orange'.’ 19 things Ijust asked you about?
20 A. I'm not as sure about the details in Orange 20 A. Yes. Yes. The plumbing problems were
21 because Iwas focused on Pascagoula. 21 stemming from the work done by the GE contractors,
22 Q. Okay. Sometimes in your journal entry _vou 22 which their scope of work was essentially inside the
23 write that you're in charge of the Pascagoula and the 23 trailers stubbing out through the bottom where our
24 Orange man camps. 24 maintenance personnel would connect the manifolds --
25 A. Okay. . 25 well, the stub-outs connect to a manifold and then the
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| Plaintiffs (P) Signal Dcfs. (S] Dewan lJct`s. (l)) Bumett l`)efs. {B}

 

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1 manifolds to a -- to a header.
2 l learned some of these things, although
3 l'm not an expert in those things But, anyway,
4 Signal took care of the outside aspect and GE's
5 subcontractor was inside. That's the general --
5 Q. Okay. Well, that makes scnse. So the
7 inside, that's like the toilet, the showers, the sink
0 area.
9 A. Yes, ycs, yes.
10 Q. And so when we talked about plumbing
11 problems before, if I'm trying to imagine in my head,
12 that's where - that's where the issues were?
13 A. That's the --that was the key problems
14 Q. Okay.
15 A. 'l`hose were the key problems, yes.
15 Q. How were the beds stacked in the
17 bunkhouses?
10 A. They were double stacked in the end. That
19 was the best decision.
20 ' Q. Okay. Like there's a space saving there, l
21 guess, because if you have a bed on top of one bed,
22 you can iit more beds in'.’
23 A. Well, we went with two stacked bunkbeds,
24 you know, one on top of the othcr.
25 Q. Do you know why you chose to do bunking?
1 A. Yes.
2 Q. Okay. Why?
3 A. Becausc we felt that that would be -- lt's
4 common practice in the industry l`or bunkbcdsq and
5 we -- we wanted to do it the way others did.
5 . Q. Sorry. Let me correct myse|f. A bunkbed
7 is by definition a bed on top of another bed‘.’
0 A. Correct.
9 Q. Okay. So what I‘m asking you is why you
10 went with bunkheds and not just regular beds.
11 A. Okay. Well. we -- we wanted -- having
12 never done this before, we wanted to see how other
13 places had done it. And bunkbeds seemed to be a
14 common method And that's how we -- that's how we
15 went with it.
15 Q. Do you see a cost savings in doing bunkheds
17 versus regular beds‘?
10 A. You would need to check with -- with --
19 with the C["O on iinancial issues.
20 Q. All right. You had a laundry room?
21 A. Yes. There was a laundry room,
22 ' Q. Okay. Did you use stackable washer and
23 dryer or did you use a washer and a dryer next to one
24 other'.’
25

A. We used a washer and dryer next lo one

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3 (Pages 29 to 32)

 

 

Page 31
1 other. I'm sorry. They were next to one another, but
' 2 the set was stacked on top of each other and then we
_ 3 had anomcr set stacked.
`- 4 Q. Did you have a reason for choosing to stack
: 5 the washer and dryer as opposed to having them next to
z 5 each other?
§ 7 A. Yes.
- 2 Q. Oh. What was the reason?
9 A. Okay. Well, you know how when you go to a
10 laundromat that -- you know, sometimes if a washing
11 machine -- you're in a washing machine here and there
12 is a dryer, you know, a little bit further down,
13 that -- you know, it's easy to mix up where your
14 clothes are. Whereas1 if it's Stackable, it's pretty
15 simple to think, okay, this is the dryer that I'm
16 going to usc because the washer is right there.
17 Q. Okay. Did you recognize any cost savings
13 by doing stackab|e because of the space saving that
19 you would have, you‘d save more space by stacking?
20 A. I think we may havc, but l don't know if
21 there's anything to show that in writing l‘m not
22 sure.
23 Q. But you can see how it would save money?
24 A. Well, I can see especially how it would be
25 convenient for the workers Becausc when you have 290
Paga 32
1 workers trying to figure out, well, where are my
2 clothes, it's a lot easier if it's right on top.
3 Q. Right.
4 I'm going to enter in SlGE0004548. And
5 this will be Exhibit 623. l only have one copy. So
5 it's going to you, Mr. Sanders. l'll also state for
7 the record that there is some highlighting on here.
0 but if you want to look at it first.
9 (Whereupon, the document as described above
10 is marked as "Exhibit No. 623.")
11 MR. ALEXIS:
12 Do you mind if l -
13 MR. SANDLER:
14 Not at all.
15 MR. ALEXIS:
' 15 - do my usual and look at this document?
17 MR. SANDLER:
10 Sure.
19 MR. ALEX|S:
1 20 Do you mind if I show them?
21 MR. SANDLER:
‘ 22 Not at alt.
23 I'll read out the number again. The number
24 is SIGE0004548.
25 EXAMINATION BY MR. SANDLER:

 

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9 (Pages 33 to 36}

 

Page 33 Page 35
1 Q. Just have a quick read and then we can talk 1 that entry if it had to do with the laundry?
2 about it. 2 A. l'm not sure. l recorded many things1 hut
3 A. (Witness reviews doeument.) 3 not everything
4 Okay. Yeah. 4 Q. Yes. Okay.
5 Q. Do you want to just read it into the 5 Thank you.
5 record? 5 A. Thank you.
7 A. Starting from the top? 7 Q. What condition would you describe the man
j 5 Q. F rom the entry -- This is a journal entry. 5 camps in even before -- say one week before the H-ZB
: 9 From what date is it? 9 workers arrived'.' If you don't recall -- Do you
10 A. August 23rd 2006. 10 recall?
11 Q. Okay. Just read it. 11 A. 'l`hey seemed to be very good to us_
'12 A. It says, "lf we didn't have to use the coin 12 Q. Can l enter document SIGEO{]IMSI]I? Okay.
13 laundry, we could get residential washers. These 13 This will be Exhibit No. 624.
1‘1 could be Staeked dryer-on-tOp-oi`-washer throughout the 14 {Whereupon, the document as described above
15 trailer. which would save half the space. And saving 15 is marked as "Exhibit No. 624.")
15 half the space meant we would cut from two Laundry 16 A. (Witness reviews doeument.)
17 trailers down to one! This would save $5{],000 and the 17 Okay.
15 lower expense delta was $100,000 t`or a total savings 18 EXAMINA'I`ION BY MR. SANDLER:
19 of $150,000. I have saved Signal money again_" 19 Q. Now, Mr. Sanders,l recognize this is over
29 Q. There's more. 20 three years ago, the stuff l'm asking you about, so l
21 A. Okay. "Someone could argue that the 21 realize that l don't remember -- you know, if you were
22 $l 00,000 should never have been in there anyway since 22 to ask me what I was doing in 2006, except for one of
23 only Dick's intervention had saved us, but it was my 23 those dates, which is my birthday, l probably -- you
24 idea to stack that saved us $50,000. l was pleased 24 know, I would not necessarily -- it's not like
25 with the result of my thinking and went into Diek's 25 yesterday
Page 34 k Page 3 6
1 office to tell him. lie said," hc, Dick. said, "'So, I 1 A. Yeah.
2 earned my salary today‘? Make sure Diane's aware.' 2 Q. Okay'.'
3 (She's his seeretary.) l rcplied, 'With the savings 3 A. Yeah.
4 we'll be seeing -- With the savings we'll be seeing 4 Q. So l just want to confirm a couple of
5 I'll even give you two days' credit, to which he 5 things. Because these diary entries are
5 responded with a ehuckle. It's nice to be in the good 5 contemporaneous with the time‘.’
7 graces of the CEO." 7 A. Yes.
3 Q. Mr. Marler has a sense of humor, l take it'.’ 3 Q. So they're probably a more accurate
5 A. Yes. 9 reflection of what was going on than when l ask you
10 Q. Okay. l)o you want to revise your testimony 10 today.
11 as to why you went with stacked? 11 MR. KUPPERMAN:
12 A. Well -- 12 Object to form.
13 Q. Just yes or no. 13 A. l would say that certain aspects there are
14 A. l'd like to amplify it -- 14 details in here which l eouldn't remember without
15 Q. Sure. 15 that. At the same time, my reflections and thoughts
15 A. -- with this helpful recollection That in 16 about certain things, those could and indeed have
17 addition to helping the workers with regard to the § 17 certainly changed in numbers of ways.
13 convenience aspect it also was able to save Signal § 13 EXAMINATION BY MR. SANDLER:
19 money § 19 Q. Sure. So they've ehanged, but at the time
20 Q. Did you record that convenience aspect in § 20 that you entered it, you were entering your true
21 your diary? Do you recall recording that'.’ `21 thoughts. That's what you thought at that time. Now,
22 A. l don't remember. 22 granted, a month later you might have changed your
23 Q okay. § _23 mind'.>
24 A. I don't remember. i ;:24 A. Yes.
25 Q Do you think you might have recorded it in § 25 Q. All right So this is - Towards the

 

 

 

 

 

 

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14 (Pages 53 to 56)

 

 

 

 

Page 53 Page 55
1 A. l don't remember. l 1 to get extensions for existing workers
2 Q. You don't remember? 2 Q. Who were going to live there?
3 A. The main point l remember was just with 3 A. Yes. They would --
‘1 regard to how do they do it with regard to living 4 Q. Okay. Thank you.
5 space in bunkhouses and so forth. 5 A. -- live there.
5 Q. What is offshore by definition, if you 5 Q. All right. l want to enter another
7 could give me like a layman's term? 7 document It's SlGE0038525-38528. The dash is
5 A. Okay. For instance -- Well, let's -- A 5 because it's a number of documents.
9 drilling rig offshore, it would have workers tha -- 9 Okay. This is Exhibit No. 626. I'm going
10 Q. Yeah. Like in the water, like not on land, 10 to ask you to read it ever.
11 right? 11 (Whereupon, the document as described above
12 A. Yes. 12 is marked as "Exhibit No. 626.")
13 Q. Okay. That's what l wanted to know. ` 13 A- (Wit"¢SS l`€Vi€WS document-l
14 A. Yes. But also there are onshore drilling 14 Okay. I‘ve read the document
15 operations that have similar accommodations similar 15 EXAM[NATION BY MR. SAN[)LER:
15 facilities So the oil industry1 whether offshore or 15 Q. Okay. Let‘s turn to the e-mail from Malon
17 onshore, there's applications to both. l 17 Scogin to you on November l3th, 2006 at 2:55 p.m. Do
15 Q. Right. And do people tend to live offshore § 19 you see it there? lt's at the bottom of the -
19 for two to three years? 19 A. Yes. Yes.
20 A. They would work -- They would work offshore 20 Q. She's talking about having - “The bunk
21 for that amount oftime. 21 houses should be ready this week." l'm reading from
22 Q. And live offshore for two to three years? 22 it directly. "My understanding is that Mr. Marler and
23 Well, let me put it to you this way. 23 Mr. Schnoor determined that l2 bunks to a building is
24 Signal was building a man camp, right? 24 not acceptable in Mississippi and that more buildings
25 A. Yes. . 25 were to be ordered. Unti| we know how many folks will
Page 54 Page 56
1 Q. People were going to live there? 1 he coming this way, we are going to breakdown beds and
2 A. Yes. 2 store in one ofthe bunk houses (12 bunk houses
3 Q. We said earlier the thinking was two to 3 instead of 13), rather than order more housing."
4 three years? 4 Okay. So it's fair to say, then. from this
5 MR. SHAPlRO: 5 e-mail that there were about 12 bunkhouses in ()range?
6 Obj ect to form. 5 A. That -- that seems to be in context
7 A. Well. we had Wor'kers that would be there 7 Q. Okay. And we agreed there were 13 in
5 for ten months so that was their ten-month -- their 5 Pascagoula?
9 duration would be ten months not two to three years, 9 A. ch, Ithink that'S right
10 because they were there on the H-ZB visa for ten 10 Q. Now, Mr. Marler and Mr. Schnoor determined
11 months 11 that 12 bunks to a building was nut acceptable in
12 EXAMINA'I`ION BY MR. SANDLER: 12 Mississippi?
13 Q. But the building which you said earlier 13 A. Could you repeat the question?
14 today, the thinking was you were constructing it for 14 Q. l'm just reading -- I'm just asking you
15 two to three years? z 15 about - .Iu st move to the top of SIGE0038527.
15 A. Yes, but not necessarily for all the ` 15 A. Yes.
17 same -- all of the same workers Workers would come 17 Q. "... Marler and Mr. Schnoor determined that
15 in differen -- 12 12 bunks to a building was not acceptable in MS -"
19 Q. Okay. So maybe Signal was thinking about 19 which is blississippi?
20 sending some guys home? 20 A. Yes.
21 A. No. l didn't -- l didn't -- 21 Q. "-- and that more buildings were to be
22 Q. Oh. 22 ordered."
23 A. Ididn't say that. They were there for -- § 23 A. Correct.
24 I think you're implying the scope. All I'm saying is § 24 Q. This is a November 13th, 2006 e-mail. Werc
25 that we had workers there for ten months, and we hoped § 25 more buildings ordered in 2006?
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15 (Pages 57 to 60)

 

 

 

 

Page 57 Page 5 9
1 A. No. Not till two thousand -- early 2007. 1 even though you had limited experience?
2 Q. Okay. And l‘m going to ask you why you 2 A. Thought that the --
3 don't think it was acceptable -- why you think Marler 3 Q. Twenty~four men in a trailer was tight'.’
4 and Schnoor didn't think it was acceptable? Do you 4 A. Yes. That was tight.
5 have any insight as to that? 5 Q. l)o you recall how many men ended up being
5 MS. HANGARTNER: 5 placed in the trailers in ‘06?
7 Object to form. 7 A. I think -- Depending on the trailer, l
8 MR. SANDLER: 9 believe it varied between 20 and 24.
9 Strike it. 9 Q. Okay. Now, Ma|on replies, "lf these folks
10 EXAMINATION BY MR. SANDLER: 1° were to be here for only a short period, say 2 to 4
11 Q. Now l want to turn to an e-mail from you to 11 weeks, the cramped quarters would probably work out.
12 Malon Scogin on November l4th. 2006 at 8:25 in the 12 However, if this is to be their," open quotation,
13 morning. 13 "'humble abode,‘" closed quotation, "for 10 months or
14 I'm just going to read the first paragraph. 14 more, we need to give them a little more space.
15 Is that okay? “l will be working with Chris 15 "I'm thinking more like 18 men per bunk
15 Cunningham to analyze the financial impact of adding 15 house. This also works out for the right number of
17 trailers to Pascagoula and Orange. l will prepare 17 lockers as they are in groups of 3."
15 something which balances this against the practical 15 There's some stuff in parens, but --
15 side of things. What is your view of 24 men per 19 So what did you make of that? Malon, he
25 bunk-house, given your military experience? ls it 29 had more experience than you, as you said, telling you
21 tight but do-able‘il l think so." 21 that two to four weeks would be okay for the tight but
22 What did you mean "the practical side of 22 doable number that you were talking about. How did
23 things"‘il This sentence here, "I'll prepare something 25 you fit that into the analysis‘il
24 which balances this," I'm going to ask you to confirm 24 A_ That his view, which was based on more
25 that "this" is the financial impact from the preceding L 25 experience than mine, was that the 20 to 24 number,
Page 58 § Page 60
1 sentence? l 1 depending on the bunkhouse, was going to be too tight
2 A. Yes. 2 And he recommended lowering the capacity per hunkhouse
3 Q, And the practical side of things? 3 so that the workers would have more space and be
4 A. Okay. And What did l mean by "practicai 4 comfortable
5 side"? 5 Q. What did you make of that recommendation?
5 Q. Uh-huh (indicating aft“lrmatively). 5 It' you want to read the e-mail above before answering,
7 A. In other words, there is a financial cost 7 you're welcome to.
8 to adding more trailers. 8 A. Yeah. Yeah.
9 Q. Uh-huh (indicating afl'lrmatively). 9 lmean_. all l can do is, you know, put
10 A. And we wanted to -- we wanted to see what 10 myself back --
11 the right number of men per bunkhouse at a maximum 11 Q. 11"¢3[>4
12 would be. And I thought 24 might be okay. Again_ 12 A. -- via this e-mail.
13 this was still early in the worker arrival process 13 Q. That's why --
14 Q. Right. 14 A. I don't have any specific recollections
15 A. Okay? 15 outside ofthis. But he's -- We have 20 to 24 in

15 Q. That's right.

15 Mississippi. He's saying 18. And OSHA housing

17 A. And so l thought 24 might be okay, but l 17

15 knew that he had been in the military l don't 15 to go above thal.
19 remember which branch. But he would have a lot more 19

20 living insight into that than me, And so I wanted to 29

21 gain that experiencel Because his wasn't even ten 21

22 months He was there longer in the military than ten 22

23 months, l believe, so l Wanted to get his insight 25 would be fine
24 which was outside my own experiencel 24

25 Q. You at least thought it was tight, though, 25

guideline would come out to 16.7. So we're not going

Ron Schnoor and Dick Marler are saying l6,
so that's sort of where things are moving to in the
analysis And, therefore, with it being |6 and Malon
Saying 18 would be comfortable, l likely felt that 16

Q. Okay. And you ended up with 20 to 24‘.'
A. No. No. No. We had 20 to 24.

 

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16 (Pages 61 to 641

 

 

 

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1 Q. okay.
2 A. But we wanted to move towards 16, as indeed
3 we did in 2007.
4 Q. Okay. I want to enter another document.
5 [t's SIGED0045|]3.
5 Scratch that. l'm sorry.
7 l'm going to enter SIGE0004510. It's
3 Exhihit No. 627.
9 A. Thank you.
1° Q. It's just a portion of yourjoumal.
11 (Whereupon, the document as described above
12 is marked as "Exhibit No. 627.")
13 A. (Witness reviews document.)
14 I've read the document
15 EXAMINATION BY MR. SAN[)LER:
15 Q. l just want to ask you about the two
17 sentences in the middle.
13 A. Okay.
19 Q. "Each day l spend at work between now and
29 the first Indians' arrival on October 291h is
21 potentially worth thousands in savings to Signal if l
22 make good choiccs. What l'm referring to is things
23 like the shuttle transportation most of all. I have
24 yet to figure out what we‘ll do and it actually
25 concerns me quite a bit since that is critical to have
Page 62
1 once the workers get here."
2 Okay. So you were also involved in shuttle
3 van of some kind or what was the shuttle?
4 A. We were -- We knew that the workers would
5 want to go places in the town.
5 Q. Okay.
7 A. And, obviously1 we wanted to provide that
8 service for them in the very best possible way.
9 Q. In the best possible way?
10 A. Yes. And -- and so --
11 Q. All right.
12 A. And so as we would do that, we needed to
13 find a balance between where theyl wanted to go and
14 just all of the parameters that would tie into shuttle
15 service.
15 Q. Okay. Okay. In the sentence prior to that
17 is - you have a concern about costs, is that right,
19 in the first sentence that begins with "Each day ..."‘.’
19 A. Yes. lwanted to save Signal --
20 Q. Right.
21 A. -- money at the same time as providing
22 services to the workers on time and with high quality.
23 Q. Right1 but you didn't write about the
24 latter, the high quality and on time?
25

A. Weli1 if you see here -- if you see here,

 

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it says, "l have yet to figure out what wc‘ll do." in
regard to shuttle transportation "and it actually
concerns me quite a bit since this is critical to have
once the workers get here."

So why would it concern me quite a bit? lt
concerned me quite a bit because I wanted the workers
to be able to go where they wanted and needed to go.
And so l was determined to make it happen.

Q. But you didn't mention that. You were
concerned about the cost each day that you're there.
Each day that you make good choices, you're saving
Signal money and you're concerned about the shuttle.
Those are the two things in there, right?

A. Well, here, What I'm saying is -- again,

l'll reread it.

Q. Su re.

A. What I'm referring to -- as far as making
good ehoices, what l'm referring to is things like
shuttle transportation most of all. l have to figure
out what wc'll do and it actually concerns me quite a
bit since that is critical to have once the workers
get here.

Why was it critical to have'? lt was
critical to have because the workers needed to know
that they would be able to get where mey needed to go

 

Page 6 4

in the town. So that was concern for the workers‘
well-being and comfort and happiness in the camp. And
it's in there explicitly_

Q. It's not in there explicitly.
MS. HANGARTNER:
Objection.
A. l disagree because it was important to

me --
EXAMINAT[ON BY MR. SANDLER:
Q. Could you read it to me explicitly?

A. Okay.
Q. Just read directly from the text, the
explicit part.
A. Okay.
Q. No other commentary.
A. Okay.
Q. And you can read as much as you want to --
A. "... it actually concerns me quite a bit

since it's critical to have," have being shuttle
transportation "once the workers get here." And so
that shows -- Like l said. it shows my concern.

Q. That's the explicit part Okay. ljust
wanted to know what the explicit part was in the text.
That's alL

A. Okay. And so, like l said., this shows

 

 

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17 (Pages 65 to 681

 

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25

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concern for the workers so that they can get where
they needed to go. That's -- that's clear from
contexi, as I'm stating
Q. As you're stating.
I want to take a look at a document,
SlGE009498.
MR. ALEXlS:
I)oes it have an exhibit number?
MR. SANDLER:
Yes. It's Exhibit 628.
MS. HANGARTNER:
Can you say the Bates number again? I'm
sorry.
MR. SANDLER:
Absolutely. I'm just about to hand it to
you.
MS. HANGARTNER:
Okay.
Thanks.
MR. SANDLER:
lt goes from 9498 to 9499 on the flip side.
There's a back page.
THE WITNESS:
Okay.
(Whereupon, the document as described above

 

Wm--`|d‘\U'lthl-‘

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mwa»-oiom-.la\mhmm»-lo

 

is marked as "Exbibit No. 628.“)
THE WITNESS:
l've read the document.
EXAM[NATION BY MR. SANDLER:

Q. Okay. l'm sorry. I'm goingto put it
aside for now.

A_ Okay.

Q. But you've read it. Forgive me.

A. No problem

Q. ljust want to go - l want to enter
another document lt's SlGEI)I]|]4787. And it's Exhibit
No. 629.

(Whereupon, the document as described above
is marked as "Exhibit No. 629.")

A. (Witness reviews document.)
EXAM[NAT|ON BY MR. SANDLER:

Q. Specifically, Mr. Sanders, right now I'm
only going to ask you about Cell 14, but you're
welcome to read the whole thing, Row 14.

A. Okay.

Okay. l've read thc --

Q. Okay. What is this document‘.’

A. A punch list in a sense.

Q. Okay. lt's kind of what we were talking
about before but not for GE‘.’

 

 

§ Page 67
` 1 A. Just open issues, yes.
2 Q. And you - This is Microsoft Excel, the
3 program'll
4 A. Yes.
5 Q. Okay. And you put this together on a
5 weekly basis or a monthly or just whenever it needed
7 to be done or --
3 A. lt may have been on a whenever as needed,
9 but l don't remember exactly how often.
10 Q. Did anyone else use Exee| in the office
11 to - to like put out information?
12 A. Yes.
13 Q. Okay. But this is what you put together?
14 A. Yes. This is me.
15 Q. Okay. Ijust want to look at Row 14. We
15 may come back. I just want to look at Row 14 for now.
17 lt's the tenth item in the list.
13 A. Yes.
19 Q. And the topic is minibus and driver and the
20 priority of this punch list item is high.
21 A. As are all of the othersl
22 Q. That's right. Quite right. Although there
23 are other spreadsbeets where there's low. ln this
. 24 one _.
25 A. Okay.
Page 68
1 Q. Sorry.
2 A. Okay.
3 Q. You -- I'm just reading Column D. You were
4 looking for a shuttle bus, a bus for the workers; is
5 that right?
5 A. Yes.
7 Q. Okay. And you've got some prices here.
3 I'm just going to read it and if something is like not
9 quite -- [l` you want to amplify it. please do.
10 A. Okay.
11 Q. "Unab|e to get decent used vehicle for less
12 than 25 to 30,00{) and ideal is high 40,00|]s. Yellow
13 school buses are cheaper since built for practicality,
14 not comfort Cruz --" ls that Freddie Cruz?
15 A. Yes.
16 Q. Okay. "Freddie Cruz has given possible
1"' vendors."
15 So -- And that's all stuff that you then
19 submitted to whom at Signal‘.’
20 A. l’robably Ron Schnoor would have been
§ 21 apprised of this. l don't remember spcciticaily who,
22 but he was my managers
23 Q. Okay. I want to talk about another
24 document We may come back to that document. F or now
25 l want to talk about document or enter document

 

 

 

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18 (Pages 69 to 72)

 

 

 

Page 6 9 Page 71
1 SIGE0000 -- four zeros -- 319. And it goes to 326. 1 A. I think an incomplete understanding would
2 So there's a lot in here. It's going to be F.xhibit 2 have caused me to write "requirements." Because,
3 No. 630. 3 again, like l said, there's -- there's a lot of things
4 (Whereupon, the document as described above 4 in here that are not requirements for Signal as far as
5 is marked as “Exhibit No. 630.") 5 growers and then --
5 A. Thank you. 6 Q. Gkay. But there are some that are
7 (Witness reviews document.) 7 requirements and there's some that are not
3 MR. ALEXIS: 3 requirements?
9 What exhibit number are you on? 9 A. Right. And so there -- Well, when you say
10 MR. SHAPIRO: 10 "requirements," I'm saying it's a -- it's a -- they
11 630. 11 call it the checklist They don't call it
12 THE WITNESS: 12 requirements And not all of the things applied to
13 Okay. 13 us. So how could the things that OSHA calls
14 EXAM!NATION BY MR. SANDLER: 14 requirements be requirements for us when they didn't
15 Q. What is this, Mr. Sanders? Or at least 15 apply.
15 everything hut, say, the last page. What is this? 16 Q. I agree with you. Ii' it doesn't apply to
17 A. It's called -- On Page SIGE0000320 it's 17 your man camp, then you're not required to follow
13 called a "Housing inspection Check List OSHA Migrant 13 them?
19 Housing Standards." 19 A. Right. And so l misstated when l said
2° Q. And just - What's in the footnote therc? 20 requirements Our final authority was the City of
21 Actually, you know what? Don't worry about 21 Pascagoula as far as was the camp in an acceptable
22 it. We've already established that 22 condition They were the final authority
23 So is this the document that you felt the 23 Q. Let's turn to SIGE0000326. Does this
24 man camp had to comply by? We had some earlier- We 24 document look familiar?
25 showed you some earlier e-mails where we were talking 25 A. l'm looking at it for the first time in
Page 70 Page 72
1 about ()SHA standards. I think we were talking about 1 three-plus years.
2 that earlier. 2 Q. That's right. Sorry.
3 A. Okay. You asked if this was the document 3 MR. SHAP[RO:
4 which -- 4 ls it an exhibit already?
5 Q. ls this the document -- If your bosses say 5 MR. SANDLER:
6 to you: We have to be OSHA compliant. is this the 5 This is all that same exhibit, but 326 is
"` document that you have to comply with? 7 the specific page number.
3 A. l don't know. Because it talked about 3 MR. SHAPIRO:
9 growers on the back. and thc context seems to be 9 Sorry about that.
10 different in certain ways to what we were having, 1° EXAMINAT[ON B\" MR. SANDLER:
11 but -- different in some ways, but certainly similar 11 Q. ls this your handwriting at the bottom?
12 in others, too_ 12 A. lt is.
13 So we didn't -- We viewed it as a 13 Q. So whatI meant to say is had you seen this
14 reference, not as a strict set of conditions We 14 document before, not are you familiar with this
15 wanted to benefit where wc could. 15 document. You've seen this document before?
15 Q. Have you seen this document before? 15 A. Yes.
17 A, Yes. 17 Q. There's five points here that seem to be
15 Q. Okay. And is this your handwriting on 15 highlighted "I have questions about the following
19 SIGE0000319? 19 points in these OSl-lA guidelines." I'm just going to
20 _ A. Yes. 20 jump down to Point 13, which is the second point.
21 Q. Okay. And that says, "OSHA Requirements"? 21 "lf bunk beds are used, are they at least
22 A_ Yes. l think a better term for it would 22 48 inches apart from other beds?" Did you ever get an
23 be -- would be what l just said. 23 answer to that question‘.’
24 Q. That's your view now, but your view then 24 A. l don't remember.
25 was these were the requirements? 25

 

Q. Do you remember il` the bunkbeds were 48

 

 

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21 (Pages 81 to 84)

 

 

 

 

 

Page 81 § Page 83
1 checklist 1 A. Yes.
2 Do you recall that conversation we had? 2 Q. For the record, it's Exhibit No. 630. And
3 A. Yes. 3 l just want to go to Bates page SIGEO(}(IIBZ£.
4 Q. And l think you said - and correct me if 4 And do you see No. 21 there, Point No. 21‘?
5 l'm wrong - that the final determinant was the 5 A. Yes.
5 Pascagoula City Council or someone in Pascagoula to 6 Q. All right. "Does each room used for
7 determine the standard, and the OSHA was just 7 sleeping -" l'm reading from it now. Sorry. "Does
0 another - another entity or element that you were 3 each room used for sleeping purposes contain at least
9 considering as well? ls that -- l need you to 9 50 square feet of floor space for each occupant?"
10 elaborate because l don't think l understood. 10 l just want to ask you about this
11 A. Okay. The OSHA information was used as a 11 handwriting here. Is that your handwriting?
12 reference for us because there were aspects of it 12 A, Yes.
13 which clearly did not apply. There were others which 13 Q. Okay. Can you just explain to me the
14 we -- which we reviewed and had questions about. 14 formula that you're using here andjust what the
15 But as far as whether the camp met 15 numbers represent?
15 liveability and suitability for its purpose1 we wanted 15 A. Yes. The square footage of each bunkhouse
17 to ensure that we conformed to the codes of the City 17 was 364 gained by multiplying 24 by 36.
19 of Pascagoula as far as their building inspector as 13 Q. And this is feet?
19 well as -- il`l could add this part too -- the tire 19 A. Square feet.
20 marshal, what he requiredl 20 Q. Okay.
21 Q. Actually, that was my next question. Who 21 A. Yes. And so per this, this document1 this
22 at the City of Pascagoula were you like in contact 22 reference document, we took 864 and divided it by the
23 with or who was the liaison‘.’ 23 5(). ln other words, how many men according to this
24 A. There were -- There were two entities One 24 could -- could sleep in or were recommended for
25 was building inspector individuals l don't remember 25 sleeping in an 864-square-foot area. And the answer
Page 32 Page 84
1 their names. 'l`he other was the fire chief or fire 1 is approximately 17.
2 marshai. And Todd McClurn, l believe, may have been 2 Q. Okay. l know there's like a decimal in
3 his name. 3 there and so it's not exactly, but approximately
4 Q. Okay. So he's the fire chiel'.’ 4 A. Approximately l7.
5 A. Yes. 5 Q. And that's by this document. That's what
5 Q. l-le's one entity and then there is a housing 5 you get from following the standards that are laid out
7 inspector? 7 here?
3 A. A building inspector. l 3 A. Yes.
9 Q. A building inspector. § 9 Q. Okay. Okay, Mr. Sanders. lwant to enter
10 A. Yes. And we felt that if we satisfied s 10 a document, SIGE0010567 and that goes up to 71.
11 their requirements, that we would be in accordance § 11 MR. KUPPERMAN:
12 with the guidelines that were imposed § 12 Seven --
13 Q. okay. So I just wanted to get a sense of 13 MR. sANDLER=
14 what the thinking was at the time. l 14 71. There's four pages.
15 A. (Witness nods head afiinnatively,) l 15 This will be Exhibit 631. I'll have you
16 Q. You're nodding? 15 take a look at it. lt's an e~mail thread.
17 A. Yes. 17 (Whereupon, the document as described above
13 Q. And that was the thinking? 19 is marked as "Exhibit No. 631.")
19 A. Yes. 19 MS. TSU:
20 Q. All right. l just want to switch back. 20 Oh, stop.
21 We're going to go back and forth. l just want to go 21 Can l see that, please?
22 back into this document. lt‘s the OSHA standards.' 22 MR. ALEXIS:
23 A. Okay. 23 This one?
24 Q. I think it was the last exhibit we were § 24 MS. TSU:
25 looking at. 25 Yeah. Can I have it?
§
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25 (Pages 97 to 100)

 

 

 

 

 

 

 

 

Page 97 Page 99
1 Ralph. that's what’s coming in right now. 1 Q. Okay. But you said it's a big project and
2 And just so you know, Mr. Sanders, as per 2 you don't know when they did it?
3 right now, l'm only going to ask you about D6, 3 A. l don't know when it would have been
4 so - Please read the whole thing, but just so 4 finished, but l believe that it was started quickly,
5 you know. 5 soon after the problem was identitied.
5 THE WITNESS: 5 Q. Would this be something that you would
7 Okay. Okay. 7 record in your daily joumal? And l distinguish here
5 MR. SHAPIRO: 3 from the typed journal the handwritten journal that
9 This is 634? 9 you -- that you kept when you were at work to record
10 MR. SANDLER: 10 things like action items and things you had to take
11 This is on Bates SlGE.0004790. 11 care of at work.
12 Oh, sorry. Sorry. l misunderstood. lt‘s 12 A. lt was an action item here1 so it's
13 Exhibit 631 We pulled back the last one. 13 possible that it would have been in my handwritten
14 MR. SHAPIRO: 14 spiral-bound notebook
15 Okay. 15 Q. Okay. I just want to ask you, what is --
15 MR. SANDLER: 16 Well, let me give you this document. This doc will be
17 My mistake. 17 Exhibit No. 634 and it's SIGE0556457.
12 THE WlTNESS: 13 (Whereupon, the document as described above
19 Okay. 19 is marked as "Exhibit No. 634.")
29 EXAMINATION BY MR. SANI)LER: 29 MS. HANGARTNER:
21 Q. Okay? This is - The title of this - This 21 Thank you.
22 is an Excel printout from Microsott Excel? 22 EXAMINAT[ON BY MR. SANI)LER:
23 A. Yes. 23 Q. l'm going to ask you about the
24 Q. And the title is "Pending Man Camp Issues"? f 24 December Ilth entry, Mr. Sander --
A. Yes. A. Okay.
Page 98 Page 100
1 Q. And it's from November 2006? 1 Q. -- just so you know. But please read the
2 A. Yes. 2 whole thing.
3 Q. Okay. D6, l'm just going to read it and 3 MR. ALEXIS:
4 just ask you one question. The date on it is November 4 This is Exhibit 634?
5 22nd on that cell entry. 5 l\/[R. SANI)LER:
6 A. Yes. 5 l believe so, yes.
7 Q. “lndians can't sit on lower banks since too 7 THE WlTNESS:
5 low. Must be raised approximately 16 inches for all 3 (Witness reviews document.)
9 150 bunks. Steven Arnold to coordinate through 9 l've read the document.
10 Cooney.” And you put it down as a high priority? 10 EXAMINATION BY MR. SANDLER:
11 A. As with everything else on the page. 11 Q. Okay. What is an OSHA-recordable incident'.’
12 Q. As with everything else. 12 It's in the last sentence of the opening paragraph of
13 Did the bunks get raised‘.’ 13 the Decemher llth, 2006 journal entry.
14 A. l believe that they did. 14 A. That would be within the production context
15 Q. When did they get raised? 15 on the rigs where this worker, Satyanarayana, broke
15 A. l don't remember the timing. 15 his hand on the job as opposed to inside the facility
17 Q. Did they get raised before the new trailers 17 That's what we refer to on-the-job accidents or
13 were put in in ’07'.’ 13 recordable incidents
19 A. l don't remember the timing. 19 Q. Okay. l understand. So if you injure
22 Q. Did they get raised close in time, do you 2l1 yourself in the man camp, that's not recordable --
21 recall, to November 22nd, 2006? 21 that's not a recordable incident?
22 A. lt was a large project because there were 22 A. l don't believe so.
23 150 bunkbeds to work on. So although l don't remember 23 Q. Okay. l don't want to like pick out like
24 the exact timing, l know that -- l think l‘m recalling 24 little things here and there, but Ijust wanted to ask
25 correctly that they set to work on it quickly. 25 you one other thing about it.
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26 (Pages 101 to 104)

 

 

 

 

 

 

 

Page 101 Page 103
1 A. Sure. Sure. 1 A. Yes.
2 Q. You say here that there's an intention -- 2 Q. And how would you characterize the
3 let me be more speciiic. There's a sentence about a 3 relationship‘.’
4 third of the way up that begins with "Sabu|al and 4 A. A good one.
5 Cheton ...." [s that the correct pronunciation? 5 Q. You learned all of - well, did you learn
5 A. Yes1 Cheton. 5 their names‘.’
7 Q. Cheton. 7 A. Yes. I -- l learned many, many of their
3 And it's talking about an intention on your 3 names
9 behalf to perhaps spend a night in the man cam p. And 9 Q. And that's how you would refer to them?
19 l - you know, you had - you know, you're husy, 10 A. Yes. In fact, they were so amazcd at my
11 obvious|y, and you're setting it up and all that 11 ability to remember and properly pronounce their names
12 stuff. So I understand that you hadn't done it by 12 that they were constantly remarking upon it.
13 this date here, Deeember llth. Did you ever? 13 Q. Did anyone else at Signal learn their names
14 A. I don't -- l don't remember ever doing it. 14 that you know of?
15 Maybe it` l'd worked a little later that night, it 15 A. Yes.
16 might have been feasible 15 Q. Who?
11 Q. l'm not asking about that. 11 A. Human resources
13 A. l know. § 13 Q. Knew all -- Okay.
19 Q. Ijust had another question. Did Signal 19 A. l mean, they had all of their names
29 ever establish a separate company to own the man 20 Q. My question is in correspondence about the
21 camps? 21 workers when you were talking with other Signal
22 A. lt was a consideration at the outset l 22 people, you knew the names of the workers, but how
23 don't think that that ever happened, but you would 23 were they referenced?
24 need to ask Chris Cunningham for a definite answer. 24 A. Well, I know that -- l mean, for instance,
25 Q. For contirmation? 25 out on the -- out on the rigs in the production work
§ _
Page 102 Page 104
1 A. Yes. l don't think so, but l'm not a 1 that we do, there would be a superintendent1 like a
2 hundred percent. 2 W.A, Shouse, for instance at the top. And then he
3 Q. Right. How many OSHA-recordable incidents 3 would have general foremen who would have foremen.
4 did you have? 4 And then the foremen would have multiple crewsl
5 A. l've never had onc. 5 And so in the crews, the workers would give
5 Q. You personal|y. 6 nicknames to one another. And the lndian workers got
1 A. I'm pretty sat`e. 7 nicknames, too. And so they were referred to by that.
3 Q. How many OSHA-recordable incidents, 8 And many times they seemed proud of their nicknames
9 roughly, were you aware of that happened at Signal? 9 They would put them on their hardhats and even
10 MS. HANGAR'I`NER: 10 sometimes call one another that, if l remember.
11 Object to form. 11 So, ycah, they were known out -- in
12 A. That was a production issue, and I was not 12 production by nicknames l called them by their
13 involved in working on the rigs. And._ also. that 13 names. Human resources knew their names. [)arrell
14 was -- OSllA-recordahle incidents and keeping up with 14 knew at least some of their names [ don't know that
15 them was outside of my purview. 15 he knew as many as me. You'd have to ask him. But,
16 EXAMINATION BY MR. SANDLER: 15 yeah, diey were referred to by name. Absolutely.
1"' Q. Ijust want to switch gears slightly a bit. 11 Q. Were they referred to by name more than
19 You were in charge of the workers at the 13 referred to by their badge number in your
19 camp, right? 19 correspondence and e~mai|s and stuff just generally?
29 A. l was not in charge of them on production 29 l mean, ohvious|y, you're not going to know the exact
21 matters l was only in charge of the workers‘ housing 21 quantity. But if you are talking about a worker.
22 facility and issues pertaining to that scope. 22 would you say there was more reference to them by way
23 Q. But you had like a relationship with them? 23 of badge number or by way of name?
24 A. With -- 24 A. l don't know which one l used more hecause,
25 Q. The workers who lived in the man camp. 25 again, l knew many, many of their names and would try
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Page 105 Page 107
1 to use them whenever -- whenever possible 1 many meals were available to workers per day?
2 Q. But badge number was another way to 2 A. There were -- there was a breakfast time in
3 reference them? 3 the morning, they would prepare a tiffin for lunch1
4 A. Another way to reference the worker? 4 and then there was a separate time. So three separate
5 Q. Uh-huh {indicating affirmatively]. 5 meals.
5 A. Yes. 5 Q. Is a til`iin like a lunch box? Is that
"' Q. And it was a nameless one. ‘t’ou didn't need 7 right?
5 to know the person's name to reference them by badge 8 A. Well, it's not a box. lt's more like a
9 number? 9 kind --
10 A. Oh, I did know the person's name. 10 Q. A container?
11 Q. I know you know their names 11 A. -- of cylinder that would -- like a Thermos
12 A. But you said you didn't need to know the 12 in a way that could keep meals warm and stuff like
13 worker's name, but l did know them. 13 that
14 Q. One didn't need to know. One could 14 Q. Okay. So it's lik -- What Would goin
15 correspond about a worker -- 15 there? Would that be like soup or would it be food?
15 A. Okay. 15 I mean, I really just -- l don't understand.
11 Q. -- not knowing their name by use of the 17 A. Yeah. I mean, just think of something like
19 badge number; is that right? 19 this. It's cylindrical.
19 MR. KUPPERMAN: 19 Q. What is this? What are you holding?
20 Object to form. 20 A. Oh, this is a cylindrical drinking bottle.
21 MS. HANGARTNER: 21 Q. Okay.
22 Object to form. 22 A. And inside of it would be little stainless
23 EXAMINATION BY MR. SANDLER: 23 steel cups and they would stack on top of each other,
24 Q. How were the badge numbers used in 24 if l remember. And inside each one of those eups,
25 correspondence? 25 they could put a serving of whatever food they wanted
Page 106 Page 108
1 MS. HANGARTNER: 1 to have and take that out to thc rig with them.
2 Can I just ask a question? Are you talking 2 Q. So the food they would eat at lunch was
3 about when .lohn referenced someone? And the only 3 prepared at breakfast time‘lI
4 reason I want to make a distinction is, when HR 4 A. lt was -- It was their lunch and it was --
5 and e-mails and correspondence go out about any 5 They would take it in the morningjust like all of
5 worker, lndian or not, their badge number is used 5 other Signal employees that they worked with would
7 to protect their privacy. 1 have to prepare a lunch and eat it on the rigs.
3 So that's why l'm - Well, like what - 5 Because they only have halt'an hour, and you can't get
9 MR. SANDI..ER: 9 off the rig and out into town or back home in that
1° l‘|l specify. 10 short space
11 MS. HANGARTNER: 11 So it was common practice for all Signal
12 - instances are you talking about? 12 workers who wanted to cat lunch to bring one. And
13 MR. SANDLER: 13 this was the way wc -- that the catering service
14 Okay. I'll specify. 14 provided that for the lndians so that the treatment
15 EXAMINATI()N BY MR. SANDLER: 15 between them would be the same as everybody else.
15 Q. Okay. l'm going to move on to the per 15 Q. Were there fridges out on the rigs‘.’
11 diem. 17 A. I'm not sure.
18 A. Okay. 13 Q. Okay. So we're talking about the food and
19 Q. The 335 a day. 19 we agreed it's about $14 a day that they were paying
20 A. Sure. 2 9 for it?
21 Q. We established this yesterday, but just so 21 A. Yes.
22 we're all on the same page. It's about $21 or so for 22 Q. Can you tell me how that dollar figure was
23 the housing and about 314 or so for the food? 23 originally arrived at?
24 A. General overview, yes 24 MR. KUPPERMAN:
25 Q. How many meals were served a day to - how E 25 Object to form.
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26 (Pages 109 to 112)

 

 

 

 

 

Page 109 § Page 111
1 A. lt was arrived at when, as l described in 1 day"?
2 testimony yesterday, upon trying to negotiate with 2 A. Yes.
3 Michael Pol about the $l4 a day, he banged his fist on 3 Q. So -
4 the table and, you know, said that he was going to be 4 A. That's what l wrote.
5 making money at this and that 314 a day was fair or 5 Q. Right. So the standards by which you were
5 words to that effect and that he wasn‘t moving from 5 deciding whether this was a good price was low-end
7 that 14. And so that was -- that was the price that 7 meals?
3 we agreed on and how we agreed to it. 0 A. No. What this refers to is in this same
9 EXAMINATION BY l\/[R. SANDI_.ER: 9 time frame, this is when Anjay came.
10 l'm going to enter doc SIGE0055717 and it's 10 Q. Anjay Keswani?
11 Exhibit No. 635, 11 A. Anj ay Keswani who was the calerer Michael
12 (Whereupon, the document as described above 12 Pol was intending to use if we went with him. And he
13 is marked as "Exhibit No. 63 5.") 13 catered a very fancy, very nice, very elaborate
14 TI-lE VIDEOGRAPHER: 14 dinner.
15 Counsel, l need to change tapes. 15 Q. Right. We talked about that. That is when
16 We're going off the record. This is the 15 you met Mr. Burnett?
17 end of Videotape No. 3. It's 1:43. 17 A. Yes. And so by using that term there,
10 (Whereupon, a recess in the proceedings was 13 "low-end," l was trying as l'm recalling and l think
19 taken.) 19 it's correct, not that, you know1 this is, you know.
20 THE VIDEOGRAPHER: 20 poor quality, you know, only -- not like that. Rather
21 We're back on the record It's 1:53. This 21 just trying to draw distinction that we're not going
22 is the beginning of Videotape No. 4. 22 to be able to provide hundreds of five star, you know,
23 EXAM[NAT[ON BY MR. SANDLER: 23 Ritz-Carlton-Signal-main-conference-room-type dinners
24 Q. Okay, Mr. Sanders. l've handed you 24 every singe day. So it's just drawing for Lisa a
25 SIG E0|]55717. Have you had a chance to read it? 25 distinction between the two and shouldn't bc
Page 110 Page 112
1 A. Yes. l z 1 interpreted in a context other than that.
2 Q. I just want to ask you a few questions 2 Q. And so the price that Mr. Pol quoted you at
3 about it. The date of this is August 3rd, 2006'.’ 3 was less than the prices that you had seen for low-end
4 A. Yes. 4 meals?
5 Q. And when was that meeting with Michael Pol 5 A. Well, let me say again, when you -- when
5 that we talked about yesterday? And let me he more 5 you rct"erence low end, l'm not -- l don't think l'm
7 specitic. The one where you talked about the food and 7 talking about low end in the same way that you may be
3 l think that he had said some things that had 3 implyingl l'mjust drawing adistinction between -
9 indicated to you that he might he greedy. l think he 9 Q. Not five-star quality.
10 pounded the table. Do you recall this? 10 A. Well, the fancy Signal -- Signal meal that
11 A. Yes. yes. 11 could be had at, you know, for instance Anjay's
12 Q. Okay. When was that meeting in conjunction 12 lndian restaurant and this was -- this was food that
13 with - 13 was very good quality, this menu, that the intent was
14 A. lt was after this date. 14 that it be very good quality but affordable
15 Q. Okay. 15 Q, All right. But l mean, in i'airness,
15 A. Perhaps by about a week or so. 15 Mr. Sanders, there's no reference to good quality in
17 Q. Okay. So this was before that happened? 17 this e-mail?
13 A. Yes. 19 A, Again. that's -- if you get back in
19 Q. You write in the second paragraph that you 19 context --
20 have done some like due diligence on this $14. You 20 Q. Yes.
21 called around to sec if it's a good price; is that 21 A. -- it was with, wow, we'vejust had an
22 right? 22 lndian meal that might be had at a very high-end
23 A. Yes. Yes. 23 indian restaurant ls that what the workers are going
24 Q. And the last sentence you write "A typical 24 to be seeing --
25 low-end menu for three meals can run 15 to 325 per 25 Q. Right.

 

 

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29 rpages 113 to 1161

 

 

 

 

Page 113 § cage 115
1 A. - each day on a daily hasis? No. So, 1 Q. Cheaper?
2 again. l was trying to draw that distinctionl 2 A. Was cheaper, yes. For -- ln fact, if l
3 Q. Okay. That's fair. And what -- I mean, 3 could elaborate just a moment
4 let me ask you it' you recall what that purpose of that 4 Q. Please.
5 luncheon was that we agreed yesterday'.’ 5 A. One of the vendors that we went to, he even
5 A. Yes. lt was to show Signal management that 5 said: My goodness. lf you can get something like
7 Anjay was very good at preparing Indian l`ood. 7 that from somebody with Anjay's experience for $lrl1 l
0 Q. Okay. 3 can't touch it. Go with him.
9 A. And that he had years of experience in 9 Q. But Anjay Keswani was a -- was affiliated
10 doing so. 10 with Michael Pol, right?
11 Q. So that food that you had at the luncheon, 11 MR. KUPPERMAN:
12 this is where Mr. Burnett is there, Signal management 12 l object to the form of the question.
13 is there, you're there, that's some kind of quality, 13 A. Describe affiliationl
14 but that's not reflective of the food that you're 14 EXAM[NATION BY MR. SANDLE,R:
15 paying for for the workers? 15 Q. How did you come to meet Anjay Keswani?
15 A. Again, it might bc the difference between 15 A. l met him at the luncheon for Signal
17 going to the Ritz Ca_rlton and eating a meal versus 17 management
13 going to one ofthe places here in the food court on 13 Q. How did -- Why was he there at that
19 Floor 2, which hundreds of people in this building 19 luncheon?
20 find very good -- 20 MR. KUPPERMAN:
21 Q. That is not what we' re talking - 21 l object to the form of the question.
22 A. l'mjust trying to draw the parallel so 22 A. He who?
23 that you understand the distinction and in the term 23 EXAMTN ATION BY MR. SANDLER:
24 that l used and how it was intended to mean. Because 24 Q. Why was Anjay Keswani at the luncheon?
25 l know that that's what your interest is, is the j 25 MR. KUPPERMAN:
Page 114 § Page 116
1 interpretation And that's what l'm giving 1 Same objection.
2 Q. Right. Okay. And that's the 2 A. l-le was the lndian caterer.
3 interpretation of low end? 3 BXAMFNATION BY MR. SANDLER:
4 A. ln this context -- 4 Q. How did Signal learn about Anjay Keswani?
5 Q. That's your interpretation 5 A. Through Michael Pol.
6 A. -- immediately -- Again, remember that this 5 Q. Did you -- Did Michael Pol have any part in
7 e-mail is dated in the immediate -- 7 that $1¢ fee as far as you understood?
3 Q. Aftermath? 3 A. Yes.
9 A. -- proximity of Signal management having 9 Q. Okay. Please elaborate.
10 enjoyed what, at least for me to that point, was the 10 A. That he would be earning $l .50 of the $14.
11 best lndian meal l'd ever had. 11 Q. Per day per worker?
12 Q. lt was like a deluxe lndian meal? 12 A. Per day per worker.
13 A. Yes. 13 Q. And that is - lt` l were to say to you
14 Q. But we agreed yesterday the purpose of that 14 that's about $325,|]00 a year, would that sound about
15 luncheon was for Signal people to get a sense of the 15 right to you?
15 kind of food that the workers would be eating? 15 A. Yes. lf you multiply it across both camps
17 A. l would say, again, that meal was to show 17 ata rate of 600 people, which was never achicvcd_
13 that Anjay had good experience and could -- could 15 Q. Okay. But the intent at the time was that
19 provide things at a very good level. 19 calculation'.’
20 Q. All right 20 A. Yes.
21 A. And that his price, in order just to show 21 Q. Okay. That's a good point.
22 that we were very concerned about minimizing the cost 22 Now, does Mr. Pol stay involved in the
23 to the workers, that $l4 a day was an outstanding 23 catering arrangements up until when the lndians begin
24 price in comparison to other options that were out 24 to arrive?
25 there. that we did our due diligence, and 314 was -- 25 MR. KUPPERMAN:
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Object to the form. : 1

A. Yes. i 2
ExAMlNAtioN ar MR. sANI)LER: j 3
Q. Was he stipulated to receive that dollar 4
fifty that we talked about? 5
MR. KUPPERMAN: 5
Object to the form. 7

A. Yes. 3
EXAM[NATION BY MR. SANDLER: 9
Q. When the lndians arrived? 12

A. I'm sorry. Could -- When you say was he 11
stipulated to receive the dollar iifty_. maybe you 12
could elaborate 13
Q. Sorry. Let me restate. 14
We agreed that there's a 314 amount. And 15

of that 14, a dollar lifty was - in August the 15
discussion was a dollar fifty that would be paid to 17
Michael Pol. And then I guess 12.50 would be paid to 13
whomever, presumably Anjay‘.’ 19
A. Laxmi Catering -- 20
Q. Laxmi. Thank you. 21

A. -- was the company Anjay was with. 22
Q. Okay. So that's how l understand it. And 23
my question to you is did that arrangement that I've 24
just described to you that was in contemplation in 25

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August, did it come to fruition when the workers 1
arrived in November? 2
MR. KUPPERMAN: 3
Object to form. 4

A. Yes, but there was a -- Without getting 5
into too much detail, there was a graduated pricing 6
scale that depended on how many workers were in the 7
camp. 3
EXAMINA']`{ON BY MR. SANDLER: 9
Q. I'm going to enter into evidence doc number 10
SIGEI)|}(M$IS. lt is Exhibit No. 636. And just for the 11
record, it is a journal entry from Octoher 6th, 2006 12
that l think you authored, Mr. Sanders. 13
(Whereupon, the document as described above 14

is marked as "Exhibit No. 636.") 15
A. (Witness reviews document.) 15
l've read the document. 17
EXAMINATION BY MR. SANDLF,R: 13
Okay. This is dated October 6th, 2006? 19

A. Yes. 20
Q. And it's -- This is just one of your 21
journal entries? 22
A. Yes. 23

Q. There seems to be an intention here to 24
transfer - It looks like from the last portion here 25

 

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that, regardless of who would provide the food,
whether it were Anjay, Michael Pol, the plan as you
saw it was that it would be at 314 a day?

A_ Yes.

Q. Okay. Ithink that's all.

MS. HANGARTNER:

Can we take a quick hreak?
MR. SANDLER:
Of course.

THE VIDEOGRAPHER:

We're going off the record. it's 2:10.

This is Videotape No. 4.

(Whereupon, a recess in the proceedings was
taken.)

THE VIDEOGRAPHER:

We're back on the record. It's 2:16.

Videotape No. 4.

EXAMINATION BY MR. SANDLER:

Q. Okay, Mr. Sanders. I want to enter another
document into the record. It is SIGE0057696. And
it's Exhibit 637. And just so you know. l‘m going to
ask you about the e-mail from l)ecemher 18, 2006 at
6:08 p.m.

(Whereupon, the document as described above
is marked as "Exhibit No. 637.")

 

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A. Okay. Sojust this page --
EXAMINATION BY MR. SANDLER:

Q. You can read it, but I'm just going to ask
you about this one.

A. Okay. Okay. Would there be other pages
connected to this exhibit?

Q. There would be. This would be. There
would be further e-mails.

A. Do you want to show me those1 also?

Q. Well, my point is that I‘m going to ask you
about the content of this e-mail from Mr. Schnoor.

A. Okay.

Q. And all of those e-mails were later in
time.

A. Okay.

Q. So if l ask you a question and you feel
that a later-in-time e-mail is pertinent, then let's
do that.

A. Sure.

Q. But I have a suspicion we're not going to
need to go there.

A. No problem.

Q. So if you're ready --

A. Ready. Yes. Thanks.

Q. Just in connection with the last exhibit we

 

 

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Page 129 § Page 131
1 A. it may have been my idea l don't remember 1 meetings?
2 specifically, but it may well have -- it may have been 2 A. They would -- They would question about the
3 minc. 3 bunkhouses as far as the number of workers in them and
4 Q. You were the man camp manager. You were 4 what can be done to alleviate that.
5 like the liaison and - 5 Q. Iwant you to continue, but is that the 24
5 A. Right. 5 issue --
7 Q. -- you had recognized that there was a need 7 A. Yes.
3 to communicate more? 5 Q. -- from Ron Schnoor's?
9 A. Right. And just -- without remembering the 9 A. Yes. ch. Yes.
10 exact details right now about how it came up, it would 10 J ust facility-related issues such as that.
11 make sense to me that it would be easier to address 11 And the food was another frequent topic of
12 the questions the workers had all at once in a group 12 conversation
13 setting than many, many times one on one or a few on 13 Q. lts quality'.’
14 one. 14 A. Yes.
15 Q. Right. 15 Q. Was plumbing raised at these meetings?
15 A. lt facilitated efficiency of time. 15 A. Well, l would -- lt may have been l would
17 Q. More of time. Sure. 17 include that in facility-related issues.
13 Who from Signal management was at these 19 Q. Oh. Okay. Correct.
19 meetings aside from you? 19 l know this is going to be a subjective
20 A. Darrell Snyder would be present and there 20 question, but how would you characterize the mood at
21 was also an assistant man camp manager which would be 21 the meetings?
22 Darrell -- Darrell and I were at an equal level 22 MS. HANGARTNER:
23 basically. 23 Can ljust ask you to clarify kind of which
24 Q. Okay. 24 meetings? Because l'm going to assume as they
25 A. And then a step down in the management § 25 progressed there are differing moods.
Page 130 § Page 132
i
1 hierarchy from that was an assistant whose name was 1 MR. SANDL.ER:
2 also .lohn. 2 Okay. Right.
3 Q. What was his last name? 3 EXAMINATION BY MR. SANDLER:
4 A. ldon't remember ofthand. 4 Q. The meetings started after Decemher 18th,
5 lohn Perry. 5 correct?
5 Q. John Perry? 5 A. Yes.
7 A. Yes. 7 Q. So let's just talk about whatever meetings
3 Q. Okay. How many workers attended these 5 you held between then and beforc, say, the new year,
9 meetings? And l know you're not going to give me a 9 just like those kind of early meetings
10 precise number, but -- 10 A. Uh-huh, uh-huh.
11 A. Okay. '[l'iere were day shift workers and 11 Q. What was the mood at these?
12 night Shift workers. And so there would be day shift 12 MR. SHAPIRO:
13 community meetings and night shift community meetingsl 13 Object to form.
14 Q. And how many were at these independent 14 EXAMINAT[ON BY MR. SANDLER:
15 meetings? 15 Q. What was your opinion of the mood?
15 A. l mean, the numbers would vary from meeting 15 MR. SHAPIRO:
17 to meeting. but1 on the whole, the -- l would say the 17 Same objection
13 overwhelming majority of the workers would come to 15 A. I felt that the workers appreciated the
19 them. Grcater than two-thirds for sure and probably 19 opportunity to have Signal listen to their concerns
20 significantly higher than that. 20 and explain how we would strive to address them.
21 Q. Where were they held? 21 F.XAM[NATION BY MR. SANDLER:
22 A. They were held in the dining room/ 22 Q. How often would you say, approximately,
23 cafeteria area 23 were these meetings happening in the early stages'.’
24 Q. What were like some of the more common 24 Let‘s just think about Decemher of 2006.
25 subject matters that were attended to at these 25 A. May'be a couple oftimcs a month,
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34 (Pages 133 to 136)

 

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1 something -- something like that. , 1 A. You didn't -- My understanding was these
2 Q. Oh, okay. 2 meetings, how did they go.
3 A. Imean, fairly regularly, but not every 3 Q. Yeah. l was asking you about the December.
4 week. 4 A. Oh1 okay. Okay. Well, then_. that yes/no
5 Q. Okay. 5 would not have been part of December. lt wouldn’t
5 A. l don't believe they were every week. 5 have been part of December. But just you're here on
7 Q. Maybe three times every two weeks. Does 7 an H-ZB visa for ten months and extensions would be
0 that sound about right? 5 applied for after that.
9 A. No. No. Not every -- three times every -- 9 Q. For all of them?
10 three times in two weeks. That would be more than 10 A. J ust talking -- l'm just talking a general
11 Once a week. 11 process
12 Q. Sorry. Sorry. Quite right. Quite right. 12 Q. But you didn't distinguish amongst the
15 Was -- You said facilities was an issue. 13 workers?
14 You said food was an issue. 14 A. Again, l‘m just saying a general process
15 A. Uh-huh (indicating aftirmatively]. 15 Q. So it would be reasonable to assume, then,
15 Q. What about green cards? Were they ever 15 that all workers are going to get H-ZB extensions
17 brought up as an issue? 3 17 applied for?
18 A. I believe that they were, but I don't -- l 10 MR. ALEXIS:
19 can't remember specifically, but it would not surprise 19 Object to form.
20 me at all if they would be brought up because they 20 MR. KUPPERMAN:
21 were on the workers‘ minds quite regularly. § 21 Object to form.
22 Q. Right. You heard about them when -- 22 EXAM[NATION BY MR. SANDLER:
23 A. Yes. 23 Q. John, let me rephrase because I think
24 Q. -- when you had these meetings‘.’ 24 that-- There's a meeting. There are meetings in
25 A. Yes. 25 Decemher of 2006. Stop me when this is not a true
Page 134 Page 136
1 Q. Do you recall how you responded to 1 reflection of what we've already discussed.
2 requests -- queries about green cards? 2 A. Okay.
3 A. Yes. 3 Q. There's meetings in Decemher 2006. You
4 Q. Okay. What did you say? 4 have meetings for day workers, you have meetings for
5 A. I would say the same thing that l had 5 evening --
5 always said ever since 1 heard the first question when 5 A. I think there probably would have been not
7 probably wave three came when I would have been back 7 many meetings in Decemher. Because the first one came
5 from India. And l think it quite likely that each 5 Decemher 18th and then we had Christmas and the
9 successive wave asked that question. When are we 9 holidays So I don't -- You say meetings l don't
10 getting the green cards? When are we getting the 10 know how many there were in December.
11 green cards? 11 Q. We've already agreed that in Decemher the
12 And as l bclieve l testified yesterday, the 12 green card issue was raised.
13 response that l gave was consistent, which is -- which 13 A. 1 didn't -- I said that it may have been.
14 is to say that: You are here, you as lndian workers, 14 and I can't remember specifically, but it was one of
15 on a ten-month l-l-ZB visa That'S what we can promise 15 the frequent topics. So l can't say specifically that
15 you. Because the approval process is not in Signal's 15 it was addressed
17 hands. lt's in thc U.S. govemment's hands. What we 17 Q. All right. And you -- your answer to that
15 will do is we will apply for extensions for the yes 10 to the group was: You're here on a ten-month H-ZB
19 workers 19 visa. Signal's intent is to apply for an extension.
20 Q. Oh, okay. You told them that there was a `: 20 And the decision as to who gets the extension is to
21 yes worker and a no worker in Decemher of 2006? i 21 the U.S. government
22 A. f don't think we were -» I don't think we 22 ls that what we just agreed to‘.’
23 were at that stage of the process at that point. So 23 A. Yes.
24 that wouldn't have been December. 24 Q. What else did you tell them on that topic,
25 Q. Okay. So you didn't say that? 25 if anything?

 

 

 

 

 

 

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1 A. You would need to specify the time frame 1 November time frame or just in general?
2 Q. Whether -- Let‘s say the first meeting in 2 Q. Let‘s start in general.
3 Decemher of 2006. - 3 A. Okay. That -- What l told them was that
4 A. Well, l -- I'll say it again. l think that \ 4 Signal would apply for the extensions until extensions
5 the focus in the -- Well, let -- 5 were no longer possible and that where there was a
5 Q. Let me work it the other way. 5 mutual fit between Signal and the employee, we would
"‘ A. Okay. 15 7 apply for green cards at the conclusion of H-ZB
5 Q. You said that, these meetings, you were ` 5 extension process.
9 giving the same consistent message that you had given 9 Q. So the language you used was "mutual tit“?
10 since you‘d heard about these green card things being :10 A. Words to that effect That it had to make
11 raised when the workers arrived in November. The 11 sense -- You know, in a case-by-case basis, worker by
12 third wave arrived, you heard about it. You gave an 12 worker, it had to make sense for Signal and for the
13 answers then. _13 worker. And that where it did, We would apply for --
14 A. Yes. -14 Q. Okay.
15 Q. And you were always consistent 15 A. -- green cards. Because some Indian
15 A. Yes. 15 workers didn't in the end -- well, some of them chose
17 Q. So let's talk about what, il' anything, 17 to go back to India and not return. So even if Signal
13 additionally you said about the green cards in 15 Wanted to keep them, it wouldn't have been possible
` 19 November and Decemher. l mean, you're giving a 19 because those individual workers did not want a green
25 consistent message, so I would assume that you -- you 20 card in the end. So, againq mutual fit.
21 know, you knew what you were saying'.’ 21 Q. When did you lirst tell the workers that --
22 A. And l've articulated that. 22 or was that part of the consistent message that you
23 Q. Oh, okay. Iwasjust wondering if there 23 were always telling them?
24 was anything else. 24 A. That was -- l mean, l tried to be, I tried
25 A. No. Not to my recollection 25 to be consistent
Page 138 Page 140
1 Q. Okay. Yeah. And l think you're right. 1 Q. Okay.
2 You only had one meeting in Decemher 2006. My point 2 A. That's -- that's all that l can say.
3 was that we agreed also that you had talked about it 3 Q. Did they ask you what mutual fit meant?
4 prior to this meeting, and it may have come up at this 4 A. I don't know that l used that terrn.
5 meeting. But, in any case, you talked about it in 5 Q. Sorry.
5 November when the third wave arrived and all that? 6 A. That's the concept I'm conveying
'~' A. Yeah. Italked about it whenever they 7 Q. Did they ask you to explicate that concept?
3 asked. 9 A. l don't remember specific instances of them
9 Q. Okay. 9 requesting explications.
10 A. I don't know if it was at this meeting, 15 Q. So you would say something to the effect
11 especially since the focus of this meeting was dealing 11 of: If it still makes sense for both of us, Signal
12 with the incident which had just occurredl 12 and you, the worker, then Signal will apply for a
13 Q. Okay. Can we look at ~ I'm going to enter 13 green card?
14 another document, Bates No. SIGE -- scratch that. 14 Ai In the due course oftime.
15 Let me just ask you a couple more 15 Q. In the due course of time?
15 questions. 16 A. Yes.
17 A. Okay. 17 Q. And they were satisfied with that answer?
15 Q. We were just talking about the consistent 13 What was their response when you gave that answer'.’
19 message that you were giving to workers. Did you - 19 A. Well, they -- they saw that no matter how
20 A. With regard to green cards 20 many times they asked me, l gave a consistent response
21 Q. With regard to green cards. 21 and they understood that response
22 Did you ever tell the H-ZB workers that 22 Q. Okay. That was from November of 2006‘.’
23 Signal would sponsor some or all of them for green 23 A. Yes.
24 cards? 24 Q. John -- Sorry. Mr. Sanders, did you ever
' 25 A. Again, are you talking in December, 25 learn that the H-2B visa and the green card had some
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1 A. No. l -- 1 Q. Okay.

2 F.XAMINATION BY MR. SANDLER: 2 You - Towards the end of that paragraph

3 Q. I'm listening. 3 that l just read from, you draw an analogy. lt looks

4 A. I don't believe that following the 4 like a naval analogy or a wartime analogy --

5 January 29th letter from Ron Schnoor to -- l think it 5 A. Yes.

5 was sent to both Malvem Bumett and Sachin Dewan. 5 Q. -- that you had learned from somebody in

7 Attcr that point. l don't recall being involved in any 7 your family?

3 ofthe follow-up pursuant to that. And so because I 5 A. Yes.

9 don't recall any follow-up1 then obviously l can't 9 Q. Can you interpret in layman's terms what
10 know if there was any money returned or not. 10 that analogy means and how it pertains to the press
11 Q. Okay. l just want to jump back to 11 release unless -- l mean -- Let‘s just do that. Can
12 something in Decemher '06. 12 you interpret how the analogy pertains to the press
13 A. Okay. 13 release?

14 Q. And l just - l‘m going to give you a 14 A. Right. Dick Marler is the CEO of Signal
15 document and l'm just going to ask you one question. 15 international l-le has final authority on many
15 It's SIGE|]556453. lt will be Exhibit No. - 15 matters I'm way down the totem pole --
17 MR. KUPPERMAN: 17 Q. Sure.
15 640 is what I have. 15 A. -- way down the chain of command And so
19 MR. SANDLER: 19 he has a lot more information than I do. And so even
20 Yeah. That's correct. 640 is the exhibit 20 when l don't understand his instructions and even when
21 21 l don't agree with them, l‘m still going to carry them
22 (Whereupon, the document as described above 22 out.
23 is marked as “Exhibit No. 640."] 23 Q. Right.
24 EXAMINATION BY MR. SANDLER: 24 A. Because he's the boss, not me.
25 I'm just going to ask you to read it. 25 Q. Right. l mean, in this analogy, the
l

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1 A. (Witness reviews document.} 1 officer was on a destroyer and had received wrong

2 l've read the document. 2 instructions from a deck officer, but he still

3 Q. All right. This is your diary entry from 3 followed through even though collision was imminent?

4 Decemher lSth, 2006‘.’ 4 A. Ye:d'i. And in the end, the collision didn't

5 A. Yes. 5 happen.

5 Q. Okay. There's a press release that you 5 Q. l don't see that.

7 discuss in this entry'.’ 7 A. I'm just telling you because l remember the

5 A. Yes. 3 story.

9 Q. What was that press release for? Do you 9 Q. Oh, okay. That would seem like an
10 10 important thing to put in here. but I guess not.

11 l don't remember. 11 A_ l mean, the key point t`or me was that l was

12 l'm just going to read a bit of this and 12 going to follow what he said even when l didn't

13 l‘m going to ask you. 13 understand his reasoning Because he's the boss. I'm
14 Okay. You're discussing about the things 14 not.

15 you get done at work. And then you say, "Among those § 15 Q. Right. Where did you learn that he doesn't
15 things were |sic| sending out the press release l 15 respect undegreed people'.’ Sorry. It's the second
17 written yesterday, butI then became amazed as Diane § 17 paragraph.

15 told me I)ick liked his initial version better ...." § 15 MR. ALEXIS:

15 l'm going to skip a bit. And you say, "So § 19 I'm going to object to form.

2 0 I spent a few hours figuring out how to send a press § 20 MS. HANGARTNER:

21 release that contradicted what we'd told the press § 21 I'm also going to object because Ithink

22 before in terms of how long the workers would be here § 22 that that probably should have been redacted. lt
23 and was unclear in crucial places." 23 is not directly linked or related to the housing
24 Does that jog your memory? 24 facility or anything that has to do with the

25 25 class action.

 

 

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1 ofthat. 1 there would be no next time: we would shut down the
2 Q. Can you elaborate on what you said, what 2 camp. During this time of interaction I also listened
3 countries, for instance, you believe the accounts were 3 though. They were very grateful for the chance to
4 in'.’ 4 vent as a group and I promised progress on the things
5 MR. ALEX|S: 5 that were most important - things like more
5 I'm going to object to form. 5 bunk-houses, toilets, and a quiet lounge."
7 MR. KUPPERMAN: 7 And the final sentence is, "It is this sort
9 I'm going to object to the entire line of 3 of things that helps me earn their respect, because
5 questioning 9 they see I care a lot about them."
12 A. l thought the UAE and possibly lndia. 10 What did you mean when you said that you
11 EXAMINATION BY MR. SANDLER: 11 would shut down the camp?
12 Q. Okay. 12 A. That Ron -- Ron Schnoor had said that more
13 A. 'lhere's not anything wrong with having an 13 incidenees like that would not be tolerated And so l
14 offshore account. 14 was conveying his message to the workers
15 Q. No. Not that l know of. 15 Q. That wouldn't be tolerated at Signal‘.’
15 Okay. Okay, Mr. Sanders. I'm going to 15 A. `Yes1 that it would not be tolerated We
17 enter another document. And this one is Bates 17 didn't want rioting workers or we didn't want riots
15 SIGE0556450. 19 within the workers‘ housing facility. That was the
19 MS. HANGARTNER: 19 message
25 Thank you. 29 Q. Right.
21 MR. SANDLER: 21 Between this point in time and, say, the
22 It's Exhibit No. 645. 22 summer of 2007, I know you've now switched over to IE
23 (Whereupon, the document as described above 23 for part of that time, but was the man camp ever
24 is marked as "Exhibit No. 645.") 24 closed, ever shut down?
25 THE WITNESS: 25 A. No. Not to my knowledge
Page 194 Page 196
1 (Witness reviews document.] 1 Q. Okay. What would happen if the man camp
2 l've read the document. 2 were shut down?
3 EXAM[NATION BY MR. SANDLER: 3 A. l was conveying Ron Schnoor's message
4 Q. Okay. Mr. Sanders. This is your 4 So...
5 Decemher 19th, 2006 redacted journal entry'.’ 5 Q. No. I know that.
5 A. Yes. 5 A. He was -- l would -- l would say he would
7 Q. And beneath it is Decemher 18th or at least 7 be a good one to answer that.
3 part of Decemher lSth'.’ 8 Q. Yeah. He‘d be good to tell us what his
9 A_ Yes. 9 intention was by shutting down the man camp, but I'm
10 Q. We discussed earlier there was a meeting - 1° asking you what you think the -- you, John Sanders,
11 you held like a meeting in Decemher, what l think you 11 given your special role in the man camp facility, what
12 termed as a "community meeting“? 12 you think the consequence would be of shutting down
13 A. Yes. 13 the man camp?
14 Q. Okay. l see here you have in the ~ in the 14 A. l would move on to another projectl
15 diary entry - It's the last paragraph of your 15 Q. And for the workers?
15 Decemher 19th entry. The last thing of the day was 15 A. They would not have to pay the $35 a day.
17 the man camp meeting. "I called it for 8:00 p.m. to 17 Q. Were they happy with the $35 a day, paying
15 address the day shift workers all at one - all 200 of 12 the 535 a day‘.’
19 them." 19 MR. SHAPIRO:
29 I'm just going to read it into the record 2 0 Object to form.
21 and then I'm just going to ask you a quick question 21 EXAMINAT[ON BY MR. SAN[}LER:
22 about it. 22 Q. You can still answer.
23 Okay. You‘re discussing the meeting that 23 A. Were they happy With $35 a day'? They
24 you held with them and you said, "l was very firm with 24 expressed concerns about that because of the impact on
25 them and told them they must act like adults and that 25 their net pay.

 

 

 

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1 i`requent, though notes frequent contact with 1 Q. Okay. And in Texas?
2 Mr. Marlcr. 2 A. Tom Rigolo, Barney Duhon.
3 Q. Okay. Did you ever conclude things about 3 Q. Did you ever conclude that - let's just
4 Mr. Marler that would be - did you draw conclusions 4 stick with Pascagoula -- that the people who we named,
5 about Mr. Marler that might be construed as negative 5 the VPs and up, might be uncomfortable with people of
5 in polite society‘.’ 5 a certain race?
7 MR. KUPPERMAN: 7 A. l never saw any evidence of that.
2 Obj ect to form. 5 MR. KUPPERMAN:
9 MS. HANGARTNER: 9 Object to fonn.
1° Object to form. 15 EXAM!NAT[ON BY MR. SANDLER:
11 MR. SANDLER: 11 Q. Was it ever something that you thought?
12 okay. 12 Mn KUPPERMAN:
13 EXAMINATION BY MR. SANDLER: 13 Object to the furm.
14 Q. l'm going to enter document - Bei`ore I do 14 A. it was Something that l was told was
15 that, was anyone in Signal management -- was everyone 15 Someone else's opinion.
15 at Signal management Caucasian? 15 EXAMINATION BY MR. SANDLER:
17 A_ No. § 17 Q. What do you mean? Someone else's opinion
19 Q. Was everyone - and by Signal managementq 15 of them?
19 let me limit that to say Mr. Marler, Mr. Schnoor. 19 A. Someone else shared their opinion with me.
20 Mr. Bingle, let's say Mr. Snyder. And am l missing 25 Q. Okay. Was that person who shared their
21 anyone who would be kind of at their leve|? l mean, l 21 opinion with you a Signal employee?
22 know -- I think you said earlier Snyder was at your 22 MS. HANGARTNER:
23 level, but am l missing anyone who was, say, in 23 Object to form.
24 Pascagou|a at least, say, at the Bing|e, Marler, 24 EXAMINATION BY MR. SANDLER:
25 Schnoor level'.' 25 Q. Who was that person‘.’
Page 218 Page 220
1 MR. KUPPERMAN: 1 MS. HANGARTNER:
2 l object to the form of the question. 2 Object to form.
3 MR. ALEXIS: 3 A. l'm not going to answer any more -- Let me
4 Object to form. Let me just say, l don't 4 say something for your -- for your knowledge These
5 know that this has anything conceivably to do 5 joumals were not Shared with anybody until they
5 with class. l only mention that because we're 5 happened to -- one of them happened to be on Signal's
7 pressed for time. Was any of this alleged in our 7 server unknown -- unbeknownst to me. So l'm not
9 complaint? 9 willing at this point to talk about these sorts ol`
9 MS. HANGARTNER: 9 confidential things
10 No. 10 l will tell you clearly and explicitly and
11 MR. ALEXIS: 11 forthrightly that in all of my time at Signal
12 Okay. I only mention it because it's like 12 lnternational1 l never saw a single action that would
13 6: 10 right now. 13 be construed as racist or discriminatory on other
14 MR. SANI)LER: 14 peoplc's parts.
15 Oh, okay. As l said, l'll be done very 15 EXAMINATION BY MR. SANDLER:
15 shortly. 15 Q. Okay.
17 MR. KUPPERMAN: 17 A. They strove to be fair. They showed by
15 I'll still object to form. 15 their words, by their actions, by their comportment in
19 EXAMINAT]ON BY MR. SANDLER: 19 many different ways, at many different times, how much
20 Q. Okay. Who was the vice president and up at 20 they cared about the workers That's what this record
21 Signa|? 21 should reflect.
22 A. Are you referring to Pascagoula‘? 22 MR. SANDLER:
23 Q. Yeah, Pascagoula. 23 l have no more questions for the witness
24 A. Bill Bingle, Lee Stokes, Chris Cunningham, 24 EXAMINA_TION BY MR. ALEXIS:
25 Ron Schnoor, Dick Marler. 25 Q. Good evening, Mr. Sanders. As you know,
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1 l'm Ralph Alexis. And I represent the so-called 1 So that's -- ltjust didn't -- l didn't understand
2 Bumett defendants; Malvern C. Bumett, Law Ol'lice of 2 everything but it didn't sound right to me.
3 Malvern C. Bumett, Gulf` Coast immigration Law Center. 3 Q. What employer was mentioned? Do you
4 Those are the three defendants in this case. 4 recall?
5 Yesterday you mentioned that you had an 5 A. l think Rao was the name.
5 October luncheon with Michae| Pol and Mr. Burnett in, 5 Q. Could J & M have been mentioned?
7 l believe, October you said, and l wanted to clarify. 7 A. Possib|y.
0 That's October of 2006? 0 Q. Could lnte'rcoastal Repair Services been
9 A. Correct. 9 mentioned?
Q. Okay. And you stated that at that 10 A. l don't remember that name.
luncheon, it was brought up by either one of them, 11 Q. ls it possible that it could have been
Mr. Pol or Mr. Burnett, that they wanted to know il' it 12 mentioned that it was necessary in order to fill
was okay with Signal il' another company sponson 13 the -- the number of workers that Signal was looking
green cards for the Signal workers after the H-ZB 14 l'or that it was - it was needed to bring over some
process had concluded. 15 workers that had previously been involved with those
no you recall that? 15 companies? ls it possible that that could have been
A. Yes. And it was Michael Pol who posed the 17 discussed'.’
question. if I remember correctly, and l think l do. 13 MS. HANGARTNER:
Q. And do you recall that that was brought up 19 Object to form.
because - because he wanted to know if it was okay 20 A. l don't -- The only thing that l remember
with Signal if some workers who had previously been - 21 was what l've said_. ihat: You have workers that will
l‘i| use the word "vetted," V-E-T-T-E-D, by other 22 be coming on an l-l-ZB visa Would you be willing to
employers and signed up for employment under the green 23 forgo visa sponsorship for them -- green card -- green
card process, that he wanted to use them to come over 2 4 card sponsorship for them down the road. And l said l
as H-2B workers for Signal? Do you recall that? 25 didn't know1 but - but that l would get back to them.
Page 222 Page 224
A. Well, l wouldn't say it was vetted. ll`l 1 And it just didn't strike me as -- as logical that we
remember the eontext_. it was that these would be 2 would do that.
Signal H-ZB visa workers and would they -- would we he 3 EXAMINATION BY MR. Al,EXlS:
willing to relinquish our ability to apply for green 4 Q. My question is, is it possible that they
cards for them. 5 discussed that with you, that the -- that there was a
That's the context that | remember. 5 desire to bring workers over in order to meet Signal's
Q. What I‘m asking is do you recall if the 7 H-ZB needs that it had previously involved with other
question was asked of you because there was a desire 3 companies such as lndo-Ameri Sol't? ls it possible
to bring over workers -- to include as H-ZB workers 9 they could have raised that with you and you don't
workers who had been involved with another employer 10 recall it?
previously? Do you recall that? 11 MS. TSU:
A. T here was another company mentioned, but 12 Objection.
the only thing that l remember was would Signal be 13 A. l don't -- l don't remember that -~ l don't
willing to give its H-2B visa-approved workers to 14 remember that such a conversation took place.
another company so that these workers -- after the -- 15 EXAM|NATION BY MR. ALEXIS:
l think it was after the H-2B visa process had ended 15 Q. Fair enough. Could it have taken plaee?
so that these workers could go to this other company 17 A. l don't know. The only thing l remember is
on green cards, which would mean Signal would have to 19 what l've testified
relinquish our ability to sponsor them in the f`uture. 19 Q. Okay. And did you -- l think you testified
And this was the first clear time or the 20 that you did not get back with them; is that correct?
lirst time that l remember clearly a mention about 21 A. l wouldn't be surprised if l didn't get
green cards, but as l think l may have testified 22 back with them and I don't remember doing so.
yesterday, itjust didn't strike me as logical that we 23 Q. You testified that there was a meeting at
would invest time in a relationship with workers only 24 Signal on or about January 15th, 2007. Do you recall
to forgo an ability to work with them down the road. 25 that?

 

 

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1 A. Yes. l think the exaet date was 1 A. Yes_ Please let me find that.
2 January loth, based on an entry. 2 Q. Certainly.
' 3 Q. okay. out is¢h or 16th _ 3 A. okay. rm looking at Exhibit 643.
4 A. Mid-January. 4 Q. Right. My question is, if you look at
5 Q. Yes. And at that meeting, would you agree 5 especially the e-mail from Bill Bingle to you -
6 that it was made clear to the workers at Pascagou|a 5 A. Yes.
"‘ that an extension was going to he requested of the 7 Q. -- does that - in the middle of the first
0 H-ZB§? 3 page, does that jog your memory that approximately 56
9 A_ Okay. Could you repeat the question? 9 workers came to this country on their own, meaning
10 Q. Certainly. 10 that Signal had indicated it did not need them?
11 The meeting that we were talking about 11 A. No. To me_. as l -- as I read this, what
12 occurred at l’ascagoula, correct? 12 Bill Bingle says is "l have an e-mail from Malvem
13 A. Okay. Which meeting? Because there 13 stating that Sachin refunded the payments made by 56
14 were -- there were several. 14 of the guys who did not get to come over."
15 Q. Okay. You testified about a meeting at 15 Q. Right.
16 which Ma|vem Bumett appeared, a camp-wide meeting? 16 A. I thought you said who did come over.
17 A. Okay. 17 Q. Okay. So you're not aware of individuals
10 Q. And Sachin Dewan appeared and yourseli? 13 who came over on their own‘.'
19 A. Yes, yes. 19 A. l am aware oi`individuals, but I don‘t know
20 Q. And y‘all addressed the workers in two 20 it`it was 56 or how many.
21 separate meetings, l believe you said? 21 Q. Okay.
22 A. Day shift and night shift 22 MR. ALEXIS:
23 Q. That's correet. l-Iave I oriented you good 23 What's the next exhibit?
24 enough? 24 MR. SHAPIRO:
25 A. Thank you. Yes. 25 50.
Page 226 Page 228
1 Q. Good. I'm sorry. It's late. lknow. 1 EXAMlNATlON BY MR. ALEXIS:
2 And my question is would you agree that it 2 Q. lam going to show you an e-mai| that is
3 was made clear by the three of you. namely, yourself, 3 identified as SIGE|)009946 from Tracey Binion oo. I
4 Burnett and Dewan, that Signal was going to apply for 4 believe you, and ask if you recall that and il` that
5 an extension of the H-ZBs? 5 jogs your memory.
6 A. l don't remember exactly what we discussed 5 (Whereupon, the document as described above
'7 but that would be a natural topic to -- 7 is marked as "Exhibit No. 650.")
9 Q. But did you intend to convey that to the § 0 MS. HANGA RTNER:
9 workers? ‘: 9 Thank you.
10 A. That would be something we would want to 10 A. Yes. What was the -- what was the date of
11 convey as i`ar as extensions would be applied for_. yes. 11 this?
12 Q. l)o you feel like you successfully conveyed 12 EXAMINATI()N BY MR. ALEXIS:
13 that to the workers? 13 Q. Ho|d on one second. lt purports to be
14 A. Again, l don't remember exactly what we 14 April 12th of '07‘.’ Is that the one l gave you?
15 discussed since it's been nearly three years, but that 15 A. Yes. And it's part of an e-mail chain?
16 would have been an important point to cover with the 15 Q. Wait a minute. Just to make sure -- I'm
12 workers and very well may have been part of the 17 going to put it on the one that has the date. I'm
10 conversation 18 sorry. And l'm going to give you another SIG number.
19 Q. l‘m going to change subjects. 19 SlGE0020419.
20 You testified just a short while ago when 20 A. Okay.
21 you were shown Exhibit 643, which was an e-mail chain, 21 Q. I'm sorry. I'll take this one back.
22 you testified concerning approximately 55 workers who 22 A. No problem.
23 came over on their own. 23 Q. Does this jog your memory?
24 Does that jog your memory? lf you want to 24 A. Yes. Could I have a couple -- I'll read it
25 look at 643 -- 25 quickly. J ust a little bit more time.
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1 may have thought one thing, but another thing turned 1 Q. l've marked as an exhibit, 653, an e-mail
2 out to be correct? 2 dated January 29th, 2007 from you to Ronald Schnoor
3 A. Yes. However, when we had a given 3 identified as SIGE0019354.
4 understanding it was important to me and important to 4 A. (Witness reviews doeumcnt_)
5 Signal as a company to go forward on that 5 (Whereupon, the document as described above
5 understanding at the present time rather than 5 is marked as "Exhibit No. 653.")
7 something clse. And to the extent that those 7 MS. HANGARTNER:
2 circumstances might have changed, in this case gone 0 Thank you.
9 from two to three years expectation down to ten or so, 9 EXAMINATION BY MR. ALEXIS:
10 then that's -- that's what happens 10 Q. Have you had a chance to read it?
11 But in the moment_. we were -- in the moment 11 A. Yes, l have.
12 and at each moment. we're going to express how things 12 Q. I wanted to focus on the last part of the
13 are as we see them at the timer which was two to three 13 e-mai| that you sent. And l'm going to read it out
14 years. 'l'hat's why l felt it important to say that. 14 |oud, if you please, the last couple ol`, l guess,
15 Q. But in the end, it was not? 15 sentences -- or maybe just the last sentence.
15 MS. HANGARTNER: 15 You were talking about a proposed refund by
17 Form. 7 17 Sachin and Malvern in the beginning, but then you
15 EXAM[NAT[ON BY MR. ALEXIS: 15 concluded: "It is not bad for workers either: they
19 Q. lt was not two to three years? 19 tell me that if they get the l0-month extension, the
20 A. lt was not two to three years. That is -- 20 economics work for them regardless of whether or not
21 that is true. Because thc circumstances changed with 21 they get a green card."
22 regard to the business, not the situation on the Gult` 22 And my question to you is, you actually had
23 Coast quite as quickly as our business situation 23 conversations with these Indian workers in Paseagoula
24 changed 24 that you had developed a bond with and they told you
25 Q. But business conditions is part of what is 25 this‘ll
§ _ _ ____
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1 considered by the Department of Labor. Did you not ` 1 A_ Yes.
2 understand that'.’ 2 Q. So do l take from this that even given
3 A. That is correct. Business conditions are 3 the -- the loans they allegedly had to make to pay
4 considered 4 recruiting fees and legal fees, even given Signal's
5 Q. You've got to excuse me. l'm tired, too. 5 535 fee, that if they could stay here for 20 months
5 MR. KUPPERMAN: 5 and work for Signal, they were happy, that it was all
7 This is 652? 7 worthwhile to thcm?
3 MR. ALEXIS: 3 A. That is what workers told me.
9 Yeah. 9 Q. Okay. Now, as a matter of fact, we took
10 (Whereupon, the document as described above 10 some depositions in the beginning of this case of - I
11 is marked as "Exhibit No. 652.") 11 don't know how many workers, you know, six workers
12 THE WITNESS: 12 perhaps -- l know Erin can correct me - that stayed
13 (Witness reviews doeument.) 13 at Signal - that were representative of the workers
14 Okay. I've read the document. 14 who stayed at Signal until the H-2B process had
15 EXAMINATION BY MR. ALEXIS: 15 completed. And these workers --
15 Q. ljust have really one question. Do you 15 A. Are you talking beyond July 315t, thcn, of
17 recall that Mr. Schnoor communicated to, among other 17 2006 -- 2007?
12 peop|e, you that it was his belief that the 335 a day 13 Q. That's correct.
19 housing cost was putting such a significant burden on 19 A. Okay.
20 the lndians working 40 hours that - that some of them 20 Q, l remember So|omon Arava, lthink is one of
21 were absconding? Do you recall that? 21 them. And these workers were perfectly happy with the
22 A. That's what -- that's what Ron -- 22 economics of what had bappened.
23 Q. That is what his opinion was? 23 And my question to you is, would you agree
24 A. That's what Ron‘s opinion was_, yes, 24 that that opportunity was available to all the workers
25 according to this document. § 25 who came over here?

 

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1 A. The opportunity to -- 1 Objection.
2 Q. To work hard, do your job, stay at Signal 2 A. l do not know all of it.
3 and make a lot of money? 3 EXAMINATION BY MR. ALEXIS:
4 A. That opportunity did exist. yes. lt was up 4 Q. I mean, would you defer to Malvern Burnett
5 to them how well they performed on the job, but that's 5 in that regard to explain what is entailed in the
5 up to them. Signal sought to early out its end of the 5 legal work?
7 bargain as far as providing work. 7 A. Yes.
2 Q. No matter who - Would you not agree, no 3 Q. Would you agree you do not have the
9 matter who you are -- no matter who you are, you've 9 expertise to know what a reasonable legal fee would be
10 got to perform on the job to keep yourjob? You'd 10 for charging workers to come over to the United
11 agree with that, whether you're an lndian worker or a 11 States? Do you?
12 regular worker -- 12 MR. SANDLER:
13 A. Yes. Within Signal._ yes. 13 Objection.
14 Q. -- you've got to do that. 14 A_ Well, it would surprise me very much if it
15 Going back to the January -- excuse me -- 15 was -- if reasonable was as high as 12 to $15,000.
15 mid-January 2007 -- le`t's please call it camp-wide 15 'l`hat does not sound reasonable to mc.
17 meetings that we discussed -- 17 EXAM|NATION BY MR. ALEXIS:
13 A. Okay. 1a Q. As a legal fee.
19 Q. -- and you had indicated your recollection 19 A. Oh, l don't -- well --
20 of what was stated was not that good? 20 Q. l'm talking about legal fees.
21 A. Correct. 21 A. Okay. l don't know the exact cost of the
22 Q. Would you defer, then, to Malvern Burnett, 22 legal fees.
23 who was there also, as to what happened as far as 23 Q. Okay. Fair enough.
24 representations to the workers about green cards? 24 MR. ALEXIS:
25 A. I would have no reason to contradict what 25 Can we go off the record and take a break a
Page 242 Page 244
1 he says in the sense that if he says he remembers and 1 second? l think l'm finished, but I just want to
2 I don't, then -- 2 consult
3 Q. Would you also defer to him as far as what 3 'I`HE VlDEOGRAPHER:
4 was represented to the workers concerning extensions 4 We're going off the record. The time is
5 of the H-ZB visas? 5 7:02. This is Videotape No. 8.
6 A. ln what regard? 5 (Whereupon, a recess in the proceedings was
7 Q. Well, do you recall that the workers were 7 taken.)
5 told that there would be extensions. that at least -- 3 THE VIDEOGRAPHER:
9 At that time, l think there was concern on the part of 9 We're back on the record. This is
10 the workers -- l think you said that they were 10 Videotape No. 8. lt's 7:26.
11 concerned about whether or not Signal was going to ask 11 MR. KUPPERMAN:
12 for an extension; is that correct‘.' 12 En'n, do you want to say -
13 A. Yes. And we wanted to assure the workers 13 MS. HANGARTNER:
14 that we would request extensions And then that's how 14 Yes. Obviously, due to the time, we're not
15 the yes/no process came about_ 15 going to be able to finish this evening.
15 Q. But you recall that? 15 Mr. Sanders is no longer employed by Signal
17 A. l don't remember thc exact date or the 17 lnternational. Mr. Kupperman expressed some
10 exact meeting, but that was the general framework 15 concerns as to how he could be contacted. And
19 Q. Do you recall that Malvern Burnett's oli'lce 19 Mr. Sanders had asked that his address, his home
20 actually did the legal work for those extensions and 20 address, not be provided on the deposition, nor
21 that that first extension was granted? 21 produced to any of the parties‘ counsel.
22 A. Y€S. 22 As such, I have agreed to accept service on
23 Q. Do you know all the effort that goes into 23 behalf of Mr. Sanders, even though l do not
24 the legal work to underlie an H-ZB visa? 24 personally represent Mr. Sanders. l represent
25 MR. SANDLER: 25 Signal lnternational. However, he has given me
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Plaintil`f`s (P] Signal Defs, [S) Dewan Defs, {UJ Bumett Dcl"s. (B)

 

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UN l'I`F.l') STATES DISTRICT COURT
E,"-\STERN DISTRICT GF LOUlSlANA

 

_ Plaintiffs' Aftirmative Designalions
_ Signal Defs.' Affin'nutive Designations 0 1
w Dewan Dcfs.' Aftirmative Designations
_ Bumett Del`s.' Affirmative Designations

DES[GN ATIONS & OBJECTIONS KEY

 

 

P : Plainlif`fs S = Signal Def`s. l) = Dewan Det`s. B = Bumett Defs.

Plaintiffs’ Counter Designations

7 >' Signal Defs.' Counter Designations
Dewan Dcfs.' Counter Designations

1 ‘ Bumett Defs.' Counter Designations

 

KURIAN DAle, sONY
vAsUDEvAN s ULEKHA,
PALANYAND[ THANGAMANL No` ott-1220
MARUGANAN'IHAM KANonAsAMY,
HEMANT KHUrTAN, ANoREWs sECTION "A"
lssAC PADA vEETrIYL, AND
DHANANJAYA KECHURA on
BEHALF or oTHER s[MILARLY
slTuA'iEo antleL'ALS, AN[)
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Kt:MAR_ JACOB JosF.PH
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CHELLAPPAN` anivtDUALLY,
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Ltr., M..\LvERN C. BURN s'l'r,
GULF COAST tMMIGaATloN
L.~\w CENTER. L,L,c._ LAW
OFFtCEs or MALvF.nN C_
BuRNE'rr, A,P,C,_
lNDo-AMERI sort LL.C.,
KuRat.t.A RAo, J & M
,'\ssoCIATES, lNC. or
MISSISSIPPL GLon/\L
acsouacus, INC, MICHAEL
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new/sw CONSULTANTS Pv'r,
LTD_ (ark/a MEDTE€H
CoNSULTANTs].
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C[VIL ACTION

MAGISTRATE 3

VOLUME 3

Deposition of]C|HN SANDERS.

taken in the offices o[`1\¢11`dcl|el:le1'[.rq Ridd]e &
Gial‘m€, 313[ FlDor. 201 St. Chm‘les Avenuc, New
Orleans, Louisiana 70170, on Wedncsday, the lthh
day of Ia.nuary, 2010. beginning at 9:4|) a.m

 

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Page 2

APPEARANCES;
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er'iigrant Iustice Project
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Allanta, Georgia 30303

AN D

DEWEY & LeBOEUF

(BY; HUGH SANDLER)

1301 Avenuc ofthe Amerieas

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A'l`l'ORNEY-S FOR 'I'l-lE PL,AINT]]~`FS

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and

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ATI`ORNEYS FOR SIGNAL l'N'l`E.RNAT[ONAL.
L.L.C.

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]_AW CENTER, L.L.C.

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`s"uité £4`0`6 "“" "“` ‘ “"""‘ "
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INC. AN[J MICHAEL POL

S']`EPHEN l'l. SHAP]RO
200 Maine Street
Jeft`erson, Louisiana 70121

ATTORNE,YS FOR SACH[N DEWAN AND
DEWAN C()NSULTANTS PVT. LTD. ALSO
KNOWN AS Ml;`l)'|`ECl-l C()NSULTANTS

ALSO PRESENT:
'l`RACEY B[NTON
SIGNAL IN'I'ERNATIONAL, L [.,C.

V[DEOGRAPHER:
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Depo-Vue, [nc.
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(504) 828-8856 01‘(888)33'1'-6883

REPORTED BY:
CAROL VALLE'I_|'E SLATER
Certilied Court Reporter
Registered Professiona| Reporter

 

lNDEX

EXAMINATION BY:
MR. ALEXIS 8
MR. KUPPERMAN
MR. SHAPIRO

MS. HANGARTNER
MR. SANDLER

MR. KUPPERMAN
MR. SANDLER

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EXl-IIBITS: -
Exhibit Number 696
E-mail chain

SIGNAL 04034
Exhibit Nurnber 691r 12
E-mail chain
SIGNAL 04377
Exhibit Number 698
E'mail chain
SIGNAL 04023 - 04026
Exhibit Number 699 31
E-mail chain
SIGNAL 04318
Exhibit Number 700
Spreadsheet
SIGE0005083 - 0005034
Exhibit Number 701
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2 {Pages 5 to 81

 

 

 

 

 

 

Page 5 § Page 7
1 m o s x 1 ran vIDEoGRAPHER:
2 EXHIBITS: F`AGE l 2 This is the videotaped
3 Exhlb't I.`]“mber 702 . 214 3 deposition of John Sanders. This
Aer 5’ 2001 e'ma'l from John 4 de osition is hein held at 201
4 Sanders to Kathy Moser 5 p g . .
SIGE00196]5 St. Charles Avenue, Sulte 3100, 1n
5 6 New Orleans, Louisiana, on January
Exhibit Number 703 233 7 20th, 2010. The time indicated on
5 E-mail Chaill 3 the video screen is 9:40. My name
1 SIGE0020380 ' 0020337 9 is Aaron Palmer, and l'm a
a 10 certified legal video specialist,
9 11 with Depo-Vue, Inc. The court
10 12 reporter is Carol Vallette Slater,
11 13 with Huff:`man & Robinson, Inc.
12 14 Would Counsel please
13 15 introduce themselves for the
14
15 15 reeord?
15 17 MS. HANGARTNER:
11 10 Erin Casey Hangartner, on
18 19 behalf of Signal lnternational.
19 20 MS. BOLLMAN:
20 21 Patrieia Bo|lman, on behalf
§§ 22 of Signal lnternational.
23 23 MR. SANDLER:
24 24 Hugh Sand|er, on behalf of
25 25 plaintiffs
Page 6 Page 8
1 1 MR. SHAPIROZ
2 S T I P U L A T I O N 2 Stephen Shapiro, on behalf
3 IT lS STIPULATED AND AGREED by and 3 of Sachin Dewan and Dewan
4 between counsel for the parties hereto that the 4 Consultants.
5 deposition of the aforementioned witness is 5 MR. KUPPERMAN:
6 hereby being taken under the Federal Rules of 5 Steve Kupperman, on behalf
7 Civil Procedure, for all purposes1 in accordance 7 of Michael Pol and Global
0 with law; 0 Resources.
9 That the formalities of reading and 9 MR. ALEXIS:
10 signing are specifically not waived; 10 Ralph Alexis, on behalf of
11 That the formalities of sealing, 11 the so-ca|led Bumett defendants
12 certification and filing are Speciflcally waived; 12 THE WDEOGRAPHER:
13 That all objections, save those as 13 Would the court reporter
14 to the form of the question and the responsiveness 14 please swear in the witness
15 of the answer, are hereby reserved until such 15 JOHN SANDERS,
15 time as this deposition, or any part thereof, may 15 alter being first duly Swom in the cause by the
17 be used or sought to be used in evidence 17 court reporter, testified as foliows:
10 13 EXAMINATION BY MR. ALEXIS:
19 * * * * 19 Q. Mr. Sanders, good morning.
20 20 A. Good morningl
21 CAROL VALLE'ITE SLATER, Certitied 21 Q. And l know you remember I'm Ralph
22 Court Reporter, Registered Professional Reporter, 22 Alexis.
23 in and for the Parish of Orleans, State of 23 And I want to show you some
24 louisiana officiated in administering the oath 24 exhibits. First, Exhibits 694 and 695.
25 to the witness 25 MS. HANGARTNER:
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[Plainnasn=} signer ncfs.(S) owen oers_<o) Bumett oefs.n§|

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7 (Pages 25 to 28)

 

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Page 25 § Page 27
record reflect that this e-mail § 1 A. l would agree, l don't know when
chain, which I'm marking as one 2 those discussions were --
document 693, is ideniiiied by ` 3 EXAMH~JATION Bv MR. ALExis;

Bates numbers SIGNAL 4023., 4024, 4 Q. Okay.

4025, 4026. 5 A. -- were had.

A. l've read through this document. 6 Q. Would you defer to Mr. Burnett on
EXAM[NATION BY MR. ALEXIS'. 7 that?

Q. Okay. l really don't have much. I 3 A. li` there are other e-rnails, that
just want to touch on a couple of points. Would 9 would be what l would prefer to defer to.
you go to the page marked SIGNAL 04026, please, 10 Q. Okay. Now, let's go to the first
which is part of Exhibit 698? 11 page of this e-mail -- I'm sorry -- of this

A. Okay. 12 e-mail chain, first page of Exhibit 698. Is this

Q. And is that not an e-mail from 13 not an e-mail from you to Kathy Moser and Mr.
Malvern Bumett to you, subject: RE: 14 Burnett, RE: Transi`erring HZB workers?
Transferring HZB workers? 15 A. lt is.

A. Yes, dated April 27th 16 Q. Okay. And let me -- if l may --

Q. Correct, 2007. 17 read the first part of the e-mail so that I can

A. Yes. 13 ask you a question.

Q. And in it, if l can read aloud: 19 "Kathy, Mal,

"John: l am still in 20 "After reviewing things and

discussions with my client about 21 trying to understand how the

using lndians and the client is 22 various pieces fit together,

seeking contracts so he will have 23 here‘s where I believe we stand:

a place to work them. The 24 The 390 MS," for Mississippi,

transfer process is simple. The 25 "petitions have plenty of room for

i,.

Page 26 § Page 28
petitioning company files an H2B 1 the MS and TX," for Texas,
petition listing the workers who 2 "'keepers,’ which number about
it wishes to have HZB status 3 273, with approximately 416
extended." 4 lndians between the two camps (244

Did l read that correctly? 5 plus 172). It means there are 144
A. Yes. 5 nonkeepers. (FYI, the number of
Q. Okay. So, the discussion concerning "' keepers and nonkeepers will change
transferring Signal workers, according to this 3 overtime as workers increase in
e-mail, seems to have occurred -- begun, rather, 9 skill level or run away. But
between you and Burnett prior to April 27th? 10 don't worry about this for now.)"
MR. SANDLER: 11 Does this paragraph mean that there
Object to form. 12 are 144 lndian workers who Signal doesn't plan at
A. l don't know the exact -- exact 13 this point in time to extend?
date, but this is an April reference, yes. 14 MS. HANGARTNER:
EXAMINAT[ON BY MR. ALEXIS: 15 Object to form.
Q. Right. But he's referring -- he's 16 MR. SANDLER:
telling you I'm still in discussions with my 17 Object to form, and I
client, and l'm assuming, or I'm asking, that 13 think -- Ralph -- sorry. Never
since he just comes out and talks about it, that 19 mind.
you had had conversations with him about the 20 EXAMINATION BY MR. ALEX[S:
issue of transfer prior to April 27th. 21 Q. l'm just asking -
MR. SANDLER: 22 A. Could you repeat the question?
Object to form. 23 Q. Does this e-mail that l just read
MS. HANGARTNER: 24 part of indicate that you're saying that there
Object to form. 25 are 144 lndian workers who are, quote-unquote,

 

 

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lPlaintifi`s (P) Signal Defs. (‘S) Dewan lJei`s. (D) Bumett Def`s. (B)

 

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8 (Pages 29 to 32)

 

 

 

 

 

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1 nonkeepers, meaning Signal doesn't want to extend 1 Sanders to Susan Carlquist.
2 them? 2 (Whereupon, Exhibit Number
3 MS. HANGARTNER: 3 699 was marked for identitieation.)
4 Object to form. 4 EXAMINATION BY NlR. ALEXIS:
5 A. l wouldn't put it quite like that. 5 Q. And I'm going to ask you, Mr.
6 l would say that what is meant by nonkeepers is 5 Sanders, to please, if you would, would you read
7 that these are -- these 144 are individuals who 7 this, so that I can ask you one or two questions?
3 are on a track to not be extended if they do not 3 A. l've read it.
9 show improvements over the remaining three months 9 Q. Okay. Mr. Sanders, at the bottom,
10 of their H2B validity. 10 there's an e-mail, and I'm going to ask - and
11 EXAM|NATION BY MR. ALEXIS: 11 it's from you to Miss Carlquist. I'm going to
12 Q. And these nonkeepers would be, 12 ask if you would compare that e-mai| to the one
13 therefore1 candidates to be transferred, if 13 in Exhibit 694.
14 possib|e, to another company? 14 A. Yes. [t's --that portion of it is
15 A. Yes. 15 the same.
15 Q. Okay. Now, I finally found the 15 Q. It's the same. Okay. And your
17 document I was looking for. l'm going to mark - § 17 e-mail on -- referring to 694 -- your e-mail to
10 Mr. Sanders, let me apologize in advance for not § 10 Susan Carlquist attaches a letter which is
19 having this readily available I'm going to mark 19 Exhibit 694, correct?
20 as Exhibit 699 a document - I'm going to let you 20 A. No.
21 look at it while I talk about it -- a document 21 Q. It does not?
22 that contains two e-mails, one at the top dated 22 A. Exhibit 695_
23 May 4th, 2007, from you to Mr. Burnett, carbon 23 Q. Oh, I'm sorry. Thank you. The
24 copy Kathy Moser, reference transferring H2B 24 letter is 695, correct?
25 workers. 25 A. Yes.
Page 30 Paga 32
1 Wait a minute. Strike my -- strike 1 Q. So, you're now -- you're now -- I
2 that. No. Throw away. I made a mistake. You 2 had asked you earlier if you knew if Susan
3 have to strike my testimony -- l mean my 3 Carlquist actually distributed the letters. l'm
4 questioning, please, about the e-mail because I 4 going to ask you to look at Exhibit 699, her
5 had the wrong e-mail. I had the wrong e-mail. 5 e-mail to you, where she -- l'll read it out
5 I'm going to start over. I'm sorry, Mr. Sanders. 5 loud:
7 Okay. 7 "Yes, I plan on distributing
3 MR. SANDL.ER: 5 all the letters at one time.
9 Ralph, are you withdrawing 9 "I am on my way to the
10 it from the record? 10 Orange yard; therefore I will
11 MR. ALEXIS: 11 print and present to Rodney."
12 l'm withdrawing that from 12 Rodney, I assume, means Rodney
13 the record because I -- it's not 13 Meisetschlaeger --
14 what l intended. I'm going to 14 A. Yes.
15 take this back from you. I'm 15 Q. -- who is the signatory on the
15 sorry. 15 letter of Exhibit 695, correct?
17 l'm going to start over 17 A. Correct.
10 again for the record. Exhihit 699 10 Q. So, does now having read her e-mail.,
19 is a document marked as SlGNAL 19 can you -- does that refresh your memory as to
20 (]4318, Bates-stamped1 rather, 20 whether or not Exhibit 695 was filled in and sent
21 04318. It is a document that 21 out to various workers who weren‘t going to be
22 contains an e-mail from, at the 22 extended?
23 top, Susan Carlquist, to John 23 MS. HANGARTNER:
24 Sanders, and at the bottom, it 24 Object to form.
25 contains an e-mail from John 25 A. lt does not refresh my memory. l
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10 (Pages 37 to 40)

 

 

 

 

 

 

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1 Q. Good morning. 1 my termination
2 A. Good morningl 2 Q. Right. I didn't ask if you signed
3 Q. We met for the first time at the 3 anything. Iwas just asking if you were given
4 second day of your deposition, correct‘.’ 4 any reasons for your termination?
5 A. Correct. 5 N[R. SANDLER:
5 Q. And this is the next time we've had 5 Object to form.
7 the opportunity to meet, is on the third day of 7 A. l repeat again, I'll repeat it as
3 your deposition, right? 3 many times as you need, you'll need to ask Human
9 A. Yes. 9 Resources for that answer.
10 Q. And we have not spoken at all to 10 EXAM[NATION BY MR. KUPPERMAN:
11 each other other than in the presence of all the 11 Q. Yeah, Mr. Sanders, I'm not asking
12 other counsel, correct? 12 you what the reasons were right now. I'm asking
13 A. Correct. 13 you if you were given any reasons by anyone at
14 Q. Mr. Sanders, tell me when you 14 Signal for your termination?
15 stopped work at Signal. 15 MR. SANDLER:
15 A. On November 16th, 2007. 15 Object to form.
17 Q. Was that voluntary or involuntary? 17 EXAMINATION BY MR. KUPPERMAN:
13 A. lnvoiuntary. 13 Q. And by "given," I mean told, given
19 Q. Can you tell me the reasons you were 19 something in writing, anything of the sort.
20 given? 20 A. l‘m not going to answer that
21 A. You would need to talk with l-lurnan 21 question.
22 Resources. 22 Q. Just to make sure l` understand, you
23 Q. Yes, sir. They didn't give you any 23 will not answer the question as to whether you
24 reasons? 24 were given any reasons or what the reasons were
25 A. You would need to talk with Human 25 that you were given, correct?
Page 38 Page 40
1 Resources. l 1 A. Correct.
2 Q. Yes, sir, but I'm asking what 2 Q. All iigbt. You're not married,
3 reasons they gave you. 3 correct?
4 A. I'm saying that you would need to 4 A. l am not.
5 talk with Human Resources for that answer. 5 Q. Never have been?
6 Q. They didn't give you any reasons? 5 A. Correct.
7 MR. SANDLER: 7 Q. No kids?
0 Object to form. 3 A. None_
9 A. l've stated, l‘]] state again, if 9 Q. Okay. Froln reading your diary, or
10 you wish to get that answer, you would need to 10 the parts of it we were provided, it almost
11 talk with l-luman Resources. 11 strikes me that you were looking at the Indian
12 EXAMINATION BY MR. KUPPERMAN: 12 workers kind of as your children to take care of
13 Q. Are you refusing to answer my 13 them. Would that be a fair assessment?
14 question -- 14 A. As children no.
15 A. Yes. 15 Q. Well, not as children, but - I'll
16 Q- " 35 10 the reasons given 10 Yo"? 15 come back. I'll come back to it. lt was a
17 A- l'm 501"1')’? 17 poorly phrased question.
16 MR- SANDLERi 18 Did you have any discussions with
19 Object 10 form- 1 9 Mr. Schnoor about your deposition?
20 MS. HANGARTNER: 20 A. NO_
21 Object 10 f01`m- 21 Q. With anybody about your deposition,
22 EXAMINATION BY MR. KUPPERMAN: 22 anybody at Sig“a|?
23 Q- 1101 me ask you thisi Were You given 23 A. l've not talked to anybody at Signal
24 any reas‘ms for Y01“" terminati€m? 24 about any aspect of my deposition, from when --
25 A. l did not sign anything related to 25

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you know, November 19th and 20th, until now.

 

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| Plairitif`fs (P) Signal Det`s. (S) Dewan Dc|`s. (D) Bumett Det`s. {B) l

 

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11 (Pages 41 to 44)

 

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Page 41

Q. What about preparation for your
deposition, did you speak to anybody at Signal
about going to your deposition or what might be
asked of you?

A. Within Signal, no, I have not had
any contact with Signal management about any
aspect of my deposition in the time since
November 19th and 20th

Q. Yeah. I'm trying to back that up.

I'm saying before you went to your deposition, in
preparation for your deposition, did you discuss
the fact that you were having your deposition
taken or the questions that might be asked or the
facts of the case or what you might say, any of
that, did you discuss in preparation for your
preparation with anyone at Signal?

A. While l was still employed with
them, you're saying?

Q. Yes.

A. Yes.

Q. Okay. And who did you talk to?

A. I talked in very general terms with
Bill Bingle.

Q. Who else?

A. Barney Duhon.

 

Page 42

Q. Who else?

A. Nobody else.

Q. Okay. And what is Mr. Duhon's
position?

A. l-le just said keep your answers
short, tell the truth, you‘ll be tine.

Q. Okay. What is his position?

A. Oh, I thought you meant his position
with regard to --

Q. No. No. No. At Signal.

A. Oh, he's the vice president of`
production

Q. And what about Mr. Bingle, what did
he and you discuss?

A. Same -- same thing l-le just said
essentially keep your answers short, don't get
into, you know, long discussions, and you'll do
just t`me.

Q. Did you talk about anything
substantive with either of them?

A. No.

Q. You saved the substantive questions
and discussion for counsel for Signal?

A. Yes.

Q. We know you've kept a diary. l.s

 

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Page 43
that what you call it?
A. \’es.
Q. Can you tell me why you kept a
diary?

A. J ust as a way to organize my
thoughts and just reflect on things

Q. Have you always kept one?

A. For some years, but not always

Q. You kept one throughout the time you
were at Signal?

A. Yes.

Q. Was the diary that we have seen, or
the pages that we have seen, recorded
contemporaneously with the events?

A. For the most part. There were some
instances where l would, alter the fact, go back
and fill in dates, but, in many instances, even
most, they were contemporaneous

Q. Do you recall which dates you went
back and filled in later?

A. No, but that was, again --

Q. It wasn’t the majority?

A. No.

Q. Did you ever go back and add words
or add sentences to an entry you previously had

 

Page 44

made in the diary?
A. Some -- sometimes, not frequently,

though, again.
Q. And you don't remember, I assume --
A. No.

Q. - which entries those might have
heen?

A. There were several entries, needless
to say,

Q. Okay. And when -- did you ever
intend anybody else to read your diary?

A. No.

Q. In your - one of your other
deposition days, you talked about having a
transcript of-- l think there was a transcript
that you talked about of the meeting between Mr.
Schnoor and Mr. Pol in November. You recall --
you recall that meeting?

A. November, 2006?

Q. Yes.

A. l do.

Q. Okay. And do you remember talking
about having a transcript?

A. Yes.

Q. What did you mean by "transcript"?

 

 

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12 (Pages 45 to 48)

 

 

Page 45 § cage 47
1 A. J ust that during that meeting of, I 1 MR, SANDLER:
2 think, November 20th, 2006, as a participant, I § 2 Object to form.
3 had written down what each party had said as far § 3 MS. HANGARTNER:
4 as Miclrael Pol and Ron Schnoor. § 4 Object to form.
5 Q. And that is the document that we saw § 5 A. I don't know if l've seen everything
5 earlier that are your notes of what you § 5 or not.
7 interpreted everybody to say? 7 EXAMINATION BY MR. KUPPERMAN:
3 A. Yes. 0 Q. l)o you know of any documents that
9 Q. Was there a verbatim transcript 9 were created by or at Signal that have been
10 taken by anyone? 10 discarded or destroyed?
11 A. No. 11 A. No.
12 Q. Was there a -~ 12 Q. Your job at Signal, as I understand
13 A. Could I add to that? 13 it, was that you were responsible for the
14 Q. Yeah. 14 facilities at man camp _ I think I'm using Mr.
15 A. We didn't have a court reporter. 15 Sandler's word -- the man camp; is that fair to
15 Q. Did you have a tape recorder? 15 say?
17 A. No, but what l wrote there is an 17 MR. SAN|)LER:
18 accurate reflection of statements that were made 19 Object to form. That's not
19 and, in many cases, it is -- you know, it is a 19 my word.
20 reliable transcript of the discussion as it 20 A. Could you repeat the question?
21 transpired that day. 21 EXAM[NATION BY MR. KUPPERMAN:
22 Q. Right. From your perspective, 22 Q. Yeah, that would be probably a
23 correct? 23 pretty good idea.
24 A. It's what was said. 24 Am l correct that your job
25 Q. Okay. All right. But it's not-- 25 responsibility in connection with the lndian
Page 46 Page 48
1 you don't purport to have it stated verbatim, 1 workers was to be responsible for the facilities
2 correct? 2 and food and the operation of the man camp?
3 A. l do. I do say that that transcript 3 A. Yes.
4 is word for word as far as many of the things 4 Q. Pol and -- Mr. Pol and Global were
5 that it says and, certainly, the intent of both 5 not responsible for facilities there, correct?
5 parties as they were talking is accurately and 5 A. No, they were not.
7 truly ret`|ected. 7 Q. Okay. And same with Mr. Bumett and
3 Q. You're not really professing to tell 0 Mr. Dewan, right?
9 us what Mr. Pol intended, do you? 9 A. They weren‘t responsible for
10 A. No. I'm saying l simply wrote what 10 facilities, no.
11 he said in that meeting, and it's a reliable, 11 Q. Okay. And Mr. Pol found a caterer
12 accurate version and information about what he 12 for the camp that you liked; is that fair?
13 did say, 13 A. Yesi
14 Q. And some of what was said, you 14 Q. And that was Keswani?
15 recorded verbatim, and some you did not record 15 A. Yes.
15 verbatim, correct? 15 Q. And you agreed on behalf of Signal
17 A. I wasn't able to capture everything 17 to pay approximately $14 a day per worker?
15 that everybody had said, but the things that are 15 MS. HANGARTNER:
19 in there are verbatim words that Mr. Schnoor said 19 Object to form.
20 and that Mr. Pol said. 20 A. When there was the full contingent
21 Q. Okay. Are you aware of any 21 of workers, yes. When there were fewer workers,
22 documents that were at Signal either that you 22 it would be somewhat higher, a graduated scale.
23 created or somebody else created that relate to 23 EXAMINATION BY MR. KUPPERMAN:
24 the Indian workers or to Mr. Pol that you have 24 Q. Okay. With a full contingent,
25 not seen in your depositions -- deposition dates? 25 though, on behalf of Signal, you agreed to pay
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15 (Pages 57 to 60)

 

 

 

 

 

Page 57 Page 59
1 MR. SANDLER: 1 Object to form.
2 Object to form. 2 A. No.
3 A. Conmm 3 E}UUMHHAJTO}JBYTMRJKUPPERBCAN:
4 EXAMINATION BY MR. KUPPERMAN: 4 Q. No, meaning that's correct?
5 Q. And not everybody, not all of the 5 A. We did not use force or fear; quite
5 lndian workers complained to you about the cost 5 to the contrary
7 to them of getting to the United States and being 7 Q. Nobody, none of the Indian workers
0 employed at Signal, correct? 0 were threatened with serious harm if they left
9 A. They -- they did not talk with me 9 the camp; fair?
10 or -- 10 MR. SANDLER:
11 Q. l said: Not all of the workers 11 Object to form.
12 complained to you about that? 12 A. They were free to come and go to the
13 MR. SANDLER: 13 camp whenever they pleased and as time progressed
14 Object to the form. 14 and they chose to abscond, you know, on every
15 A. lt was a complaint that was voiced 15 time that l was there, which excludes the March
15 by many, many workers 15 9th incident, there was never any -- encouraged
17 EXAMTNATION BY MR. KUPPERMAN: 17 them not to, but if they were intent on it, they
10 Q. Yes, sir. But not all, correct? 10 were --
19 MR. SANDLER: 19 EXAMINATION BY MR. KUPPERMAN:
20 Object to form. 20 Q. They were free to go?
21 A. I would -- l would say that in some 21 A. -- not restricted by Signal.
22 of the community-wide meetings, which all or 22 Q. No one, to your knowledge, ever made
23 almost all workers attended, that was a concern 23 any effort to -- I'm trying to think of the right
24 that was expressed and which everyone that l 24 way to phrase this in English -- there was never
25 could see shared in that concem1 even if-- even : 25 any forced labor to any of the indian workers, to
Page 58 § Page 60
1 if they were not one of the ones voicing that 1 the best of your knowledge, correet?
2 concem, that they agreed that it was a 2 MR. SANDLER:
3 legitimate one. 3 Object to form.
4 EXAMINATION BY MR. KUPPERMAN: 4 A. Well, could you define what you mean
5 Q. And the -- scratch that. 5 by "forced labor"?
5 Not all lndian workers attended 5 EXAMINATION BY MR. KUPPERMAN:
7 every camp meeting, correct? 7 Q. That's what I was afraid you were
0 MR. SANDLER: 9 going to ask me, because I can think of about a
9 Object to form. 9 thousand different ways of defining that.
10 A. That is true. 10 A. Could l -- could I say what did
11 EX_AMINAT[ON BY MR. KUPPERMAN: 11 happen?
12 Q. Sir, nobody used any force or fear 12 Q. Please.
13 to keep any of the Indian workers in the camp; is 13 A. The Indian workers who came to
14 that fair? 14 Signal, they were treated as other full-time
15 MR. SANDLER: 15 Signal employees, with all of the, you know,
15 Object to form. 15 benefits and, you know, first-class wages for
17 A. Signal did not, no. In fact, l 17 first-class workers that was our expectation and
10 cared about them, Darrell Snyder cared about 10 treated in that way, and in return, they were
19 them, and we -- we sought to treat them well, and 19 expected, as all other Signal workers, to show up
20 we did. 20 for work on time and complete their assigned
21 EXAMINATION BY MR. KUPPERMAN: 21 duties within the context of ship or oil rig
22 Q. And to the best of your knowledge, 22 construction and repair, just normai, Bill-time
23 nobody, in fact, used fear or force to keep them 23 workers who Signal wanted to see integrated into
24 in camp, correct? 24 the company's life and activities in every way.
25 MR. SANDLER: 25 Q. None of these workers were treated
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Page 61 Paga 63
differently than regular Signal workers as a 1 MR. SANDLER$
result of their race or national origin; is that 2 Object to form.
fair? 3 A. When you say "conspiracy," could you
MR. SANDLER: 4 define the parameters of conspiracy and so forth?
Object to form. 5 EXAMINAT[ON BY MR. KUPPERMAN:

A. Signal treated -- treated the 5 Q. Yeah, but let me move on because --
indians very fairly, and l don't know of any 7 let me ask you this: You are not aware --
discrimination against them, certainly, not by 0 A. Because I do think he had a
Signal management ln fact, lknow that l and 9 conspiracy I just don't know that it related to
Tracey Binion in Human Resources and Darrell 10 what might happen to lndian workers if they left
Snyder, folks in Texas, we went even out of our 11 Signal's employ l don't know.
way to make sure that the workers were treated 12 Q_ Now, you gay you think he had a
fairly, with di gnity, with respect, sought to -- 13 conspiracy. Did anyone ever tell you that Mr.
in terms of vacation times and things like that 14 Pol -. did Mr. Pol -- scratch that.
to be very lenient with them. Medical 15 Who do you believe he conspired
emergencies that arose, they were encouraged 16 with?
to -- encouraged and permitted to return to their 17 A_ With Dewan Consultants and with
families to help with that. l mean, l even paid 18 Malvem Bumett‘g law firm,
money out of my own pocket at one time, in late 19 Q_ And did Mr_ Burnett, Mr_ Dewan, Mr.
Decemher 01"05, 1 guess 11 W011]0 00» 10¥ 000 010 20 Pol or anyone connected with them ever tell you
the workers to go back because he didn't -- § 21 that there was a conspiracy
wasn't able to come up with it on his own and § 22 A. NO_
then he Was Supposed 10 repay me and them you 23 Q. Okay. And your view that there was
1070“', 1210 away- 302 Signal 10100000100 " 24 a conspiracy is based on your own personal
repaid me for the balance, but the point is is § 25 deduction and opinions is that fair'_)

Page 62 § Page 64
that we tried very hard from the start and all 1 A. Not only that. l would say that Mr.
the way to show the workers we cared about them. 2 Pol himself in the -- in the meeting with Signal
EXAMINATlON BY MR. KUPPERMAN: j 3 on l 1/20/06, he said that he had told us that the
Q. There was no scheme or plan 4 amount was 2,000 or $3,000, but then, you know,
involving Mr. Pol that was ever intended to 5 that it was really 10,000, and he didn't know
coerce anybody into believing they would suffer 5 what Sachin was charging and so forth, but that
serious harm if they left the man camps; is that 7 there had been -- so, he told us -- he told us
fair? 9 one thing and yet in that meeting, it came out
MR. SANDLER: 9 that it was higher, and we learned that it was
Object to form. 10 even higher still. And7 so, why would he tell us
MS. HANGARTNER: 11 one thing, and then outside of Signal's
Object to form. 12 knowledge, because, again, as our -- as Signal's
A. l'm sorry. Could you repeat? 13 _ recruiters, it was wha -- what they did was
EXAMINAHON BY MR. KUPPERMAN: 14 black box to us. So, it was a conspiracy in the
Q. Sure. You're not aware of any 15 sense that let's tell Signal one thing and then
scheme or plan that involved Mr. Pol that was 15 once they agree to have the workers, well, we'll
intended to coerce any of the lndian workers into 17 actually charge the workers much more and bring
believing they would suffer serious harm if they 10 them into Signal. So, l do see a conspiracy in
left Signal's employ, correct? 19 that sense.
MR. SANDLER: 20 Q. And, obviously, you're not offering
Object to form. § 21 any legal opinion, right?
A. I'm not aware of one. 22 MR. SANDLER:
ExAMrNATroN BY MR. kuPPERMAN: § 23 Object m form.
Q. And, in fact, you're not aware of 24 EXAMINATION BY MR. KUPPERMAN:
any conspiracy involving Mr. Pol, correct? 25

 

Q. You're not a lawyer?

 

 

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Page 31 Page 83
Q. What l want to focus on, Mr. 1 A. lwouldn't -- l wouldn't necessarily
Sanders, is towards the bottom of that, about 2 put it at that date, but, certainly, October 6th
live lines up, where you say she -- and I believe 3 or so, we could say -
that refers to Lisa Spears -- agrees he -- and I 4 Q- Okay-
think that is Mr. Pol -- is untrustworthy and 5 A. -- in terms of Signal's concern with
says she believes we can get out of the caten`ng 5 regard to him causing us to think along the lines
contract with him by giving him 30 days' notice, 7 of how can we -- how can we terminate the
and then you tell'her Anjay, the caterer, would 0 contract based on this lack of trust that we
pick up the contract and you argued successfully 9 feel.
that the contract should be held at $14 a day 10 Q. Okay. Now, the -- the $14 a day
even without Pol, and then you said that Anjay 11 that was being charged for catering, the 14 a day
would love you to death because that's an extra 12 per worker -- l'll just use shorthand of 14 a
$1.50 per man per day, which comes out to about 13 day, if that's okay.
325,0|}0 a yea r, right? 14 A. Yes,
MS. HANGARTNER: 15 Q. You were comfortable with that,
Object to form. 15 correct?
A. Predicated on close to 600 people, 17 A. I became comfortable with it in
which never materialized 18 August, yes.
EXAMINATION BY MR. K_UPPERMAN: 19 Q. Okay. And, in fact, you looked
Q. Okay. ls it fair that as of this 20 around and couldn't find anything less expensive,
date, which is about October 6, 2006, you wanted 21 correct?
to eliminate Mr. Pol's involvement with the 22 A. Correct.
Indian workers? 23 Q. And that $14 a day was part of the
MR. SANDLER: 24 $35 a day that each worker was paying, correct?
Object to the form. 25 A. Yes.
Page 82 Page 84
A. There was concern within Signal 1 Q. So, the cost to Signal just passed
lntemational that he was untrustworthy and, so, 2 through to each worker on the catering?
within the confines of the contract, how could 3 MS. HANGARTNER:
we - how could we bring that contract to a 4 Object to form.
close. 5 A. Yes, that was the -- the way the
EXAMINATION BY MR. KUPPERMAN: 5 plan was designed
Q. Okay. And that process in Signal or 7 EXAM[NATION BY MR. KUPPERMAN:
thought process in Signal started at least no 3 Q. And that is the way it worked,
later than the day that Mr. Pol had a breach of 9 correct?
etiquette with Diane Davis, as you put it in 10 MS. HANGARTNER:
here; is that fair? 11 Object to form.
MS. HANGARTNER: 12 A. There were times into 2007 where we
Object to form. l don't 13 would give the workers a -- instead of charging
understand the question. 14 them 335 a day times seven days, that we would
A. Could you rephrase? 15 charge them times four if -- times four days if
EXAM[NATION BY MR. KUPPERMAN: 15 their hours on the job were less than four per
Q. That one, I didn't think, was too 17 week, but, in general, that was the plan.
bad, but I'll be more than happy to rephrase it. 19 EXAMINATION BY MR. KUPPERMAN:
MS. HANGARTNER: 19 Q. Okay. And that change that you just
I may be just lost, but -- 20 described didn't come about until March or April
EXAMINATI()N BY MR. KUPPERMAN: 21 of ‘07, correct?
Q. The idea of trying to figure out how 22 A. COrT€Ct.
to bring Mr. Po|'s contracts with Signal to an 23 Q. Okay.
end started at least no later than Mr. Pol's 24 MR. SANDLER:
breach of etiquette with Miss Davis? 25

 

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I'm just going to interrupt

 

 

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for a second, Mr. Kupperman. Just 1 to give that $l.Sl] Mr. Pol had been receiving to
for the record, all these 2 the eaterer and rather than to remit it back or
questions relate to class; is that 3 lower the cost to the workers, correct?
right? 4 A. Yes.

MR. KUPPERMAN: 5 Q. And at the time that Mr. Pol Was
I think a lot of them do, if 6 terminated, the workers had been complaining to
not all of them, yeah. 7 you about the cost they were paying of $35 a day,
MR. SANDLER: 3 correct‘.’
Okay. Just wanted to -- 9 A. They were, yes.
EXAMINATION BY MR, KUPPERMAN: 10 Q. Was it your view at the time that
Q. When Mr. Pol was terminated -- 11 the workers, in coming over to the United States,
MR. KUPPERMAN: 12 had agreedto pay $35 a day for room and board?
Well, let's put it this way, 13 A. l don't -- l don't remember those --
they certainly relate to class 14 those details as far as what each worker knew
every bit as much as all your 15 prior to coming over.
questions did, 15 Q. Was it fair to say that, in your
EXAMINATION BY MR. KU PPERMAN: 17 view at the time, there was no need to reduce the
Q. When Mr. Pol was terminated, am l 13 $35 a day to the workers because they had already
correct that Signal could, in fact, have saved 19 agreed to the $35 a day?
each of the workers $I.SU a day by paying the 20 A. Could you say that again?
caterer what he had always received and then 21 MR. KUPPERMAN:
letting the workers have that $1.50 that had gone 22 Why don't we read it back
to Mr. Pol? 23 because l don't know if l can.
A. Anjay was able to provide a better 24 THE COURT REPORTER;
level of -- of service getting $14 a day, and it 25 Question: Was it fair to
Page 8 6 Page 88
was already a good deal even at that, as I knew. 1 say that in your view at the time,
So, he used that -- that $1.50 to increase his 2 there was no need to reduce the
service level and provide for some things in the 3 $35 a day to the workers because
menu that weren‘t possible at the lower level_ 4 they had already agreed to the $35
So, the money didn't go completely -- he had cost 5 a day?
that the $l .50 would have helped to cover. 5 A. No, that wasn't the consideration as
Q. When he started receiving the extra 7 far as they signed up to it and, so, we're not
$1.50, did he add people to help him with the 9 going to reconsiderl We had rather hoped that
catering? 9 the problem that -- the lndians wanted to see the
A. You would need to ask him. 19 $35 a day reducedl The reason for that is
Q. Did -~ how did his menu change? 11 because their net pay after taxes were taken out
A. Again, you would need to ask him, 12 from gross pay, and after the 535 a day was taken
but there were improvements, Ithink, maybe a 13 out ii'oln that, was that they didn't have enough
different, more expensive type of fish could have 14 money left over, in their view, to quickly or as
been an example 15 quickly as they hoped amortize their high debt.
Q. Okay. But nonetheless, the workers 15 So, in terms of addressing the root issue of high
still complained as late as, I think it was, in 17 debt, which as one of its symptoms had complaints
April that we saw of '07 about the food, correct? 13 about the 335 a day, we tried to get to the root
I'm sorry. March of ‘07, which was Exhibit 628, 19 of the problem, high debt, by having Mr. Pol
they were still complaining about the food, 20 repay asq indeed, on 11!20/06, he said he would,
correct? 21 though he later reneged.
A. Yes. 22 MR. ALEXIS:
Q. Okay. So, let me just get back to 23 Excuse me a second. Iwant
my original question, that when Pol was 24 to object on the record to the
terminated, it was Signal who made the decision 25

 

 

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1 Q. Good. Actually, between Mr. Alexis 1 Q. Excellent. That's somethingl
2 and Mr. Kupperman, a lot of my questions have 2 didn't have a chance to do when l was over there.
3 been eliminated or asked already, so, I'll try to 3 Now, did anybody from Dewan
4 make this as bn'ef` as I. can. 4 Consultants explain to you how long the -- Dewan
5 A. No problem 5 Consultants had stationed themselves in Chennai
5 Q. I thought you might like that. 5 in the recruitment process?
7 You indicated previously in your 7 A. I don't remember specifically
5 testimony that you met Mr. Dewan at one point in 5 Q. Okay. Now, l want to fast forward a
9 time. 9 little bit to late 2006, when, apparently, there
10 A. Yes. 10 were some problems at the Signal camp. Do you
11 Q. Okay. And was that first time you 11 recall Mr. Dewan coming to Signal in late - in
12 met him, was that in lndia? 12 early 2007, actually?
13 A. lt was. 13 A. Yes. lt was mid-January, 2007, as I
14 Q. Okay. And your job on behalf of 14 recail.
15 Signal was to go to India and to oversee the 15 Q. And do you know whether he was
15 consulate interviews? 15 requested to come or if he came on his own?
17 A. No. lwouldn't state it that way. 17 A. He was requested to oome.
13 lt was to be on stand by in case a Signal 13 Q. Okay. And when he arrived, when did
19 representative were needed by the consular 19 you first meet with him?
20 officials That was the prime reason While l 20 A. l think it was -- well, it was in
21 was there, as I testified in a previous 21 mid-January, and l think the setting was in Ron
22 deposition, other than saying hello to somebody 22 Schnoor's office.
23 at the consulate counter, l didn't talk to 23 Q. Okay. And do you know why Mr. Dewan
24 anybody from the consulate. So, me being on 24 was requested by Signal to come over to visit the
25 standby, they turned out not to need me. So, 25 Signal facility?
Page 134 Page 136
1 while l was there, I filled out some form 1 A. I think I remember, and that was
2 letters, if you will, or signed them to say that 2 because we had -- our contact had been with
3 such and such an indian worker had an opportunity 3 Michael Pol, and that relationship had been
4 to work f`or Signal. 4 terminated in mid-November, two months --
5 Q. Okay. Were you required to do that 5 approximately two months previousl And, so1 Mr.
5 for every worker? 5 Dewan and Malvern Bumett came to Signal to meet
7 A. l took the list of workers that 7 with Ron Schnoor, and I was also a part of` that
5 Sachin gave me and, in fact, l think he may have 5 meeting, just to talk about could there be --
9 already had the names filled in and l signed 9 about a potential way forward with them, with
10 them -- signed my name at the bottom of the form 10 Dewan Consultants and Malvern Burnett.
11 letter. 11 Q. Okay. And did Signal request Mr.
12 Q. Okay. And do you remember how many 12 Dewan to offer any assistance with respect to the
13 you signed? 13 problems some of the workers were having at
14 A. lt was several hundredl 14 Signal?
15 Q. Okay. Now, as I recall, you went to 15 A. Could you e!aborate as f`ar as
15 more than one city in India; is that correct? 15 problems that workers were having at Signal?
17 A. Yes, 17 Q. Well, for example, the food problem.
18 Q. Okay. And would that include Delhi? 13 At that point in time, the food problem had not
19 A. No. l went to Chennai, and that was 19 been resolved; is that correct?
20 the business part of my trip. Over a weekend, l 25 A. l don't remember. The food problem
21 went to Mumbai, but that was morejust to see 21 seemed to come and go with time. There were
22 India a little bit and get to know it. lt wasn't 22 times of complaint There were also times that
23 really related to Signal business, but l had to 23 the workers said they were happy with the quality
24 be there over a weekend I said, well, l'd like 24 of the food. So, where on that up-and-down scale
25 to go to Mumbai, and that was made possiblel 25 it was in mid-January, l don't know.

 

 

 

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1 Schnoor. l don't remember them, but afterwards, 1 don't speak l-lindi. I could just te|l. lmean,
2 he also wanted to see the workers‘ housing 2 you can know, regardless of the language, if
3 facility and while -- so, l was out there with 3 somebody‘s yelling, I mean, because it's their
4 him and l think Malvern may have been a part of 4 expression and how loud things are. So, l knew
5 that, too_, and there was a meeting with many of 5 that things weren‘t calm and wanted them to be.
5 the workers and there was some heated exchange in 6 Q. Okay. So, what did you do to calm
7 that meeting between Arvind Kumar, one of the 7 things down?
3 workers, and Mr. Dewan in Hindi, so, l couldn't 3 A. Again, l don't remember exactly,
9 understand but just by the expressions on faces 9 but, quite possibly, l might have interrupted and
10 and level -- just it was a very loud volume1 10 said1 hey, let's - in English, of` course -- just
11 almost shouting, l could see that there was a 11 let's keep everything calm and so forth i don't
12 problem, and tried to intervene in that to calm 12 remember the specifics
13 things down. So, l remember that was another 13 Q. Did you ask Mr. Dewan what was being
14 thing out there that he did. He talked to the 14 discussed?
15 workers, 15 A. ldon't -- l don't remember if l did
15 Q. He talked to the workers. And with 15 or not.
17 respect to his conversation that he had with 17 Q. Did you ask Mr. Kumar what was being
15 Kumar, did you feel like whatever difficulty 13 discussed?
19 there was, that that was resolved? 19 A. Again, l don't remember. Ijust
20 A. l wasn‘t sure that it was resolved, 20 know that he told me after thatjust he felt he
21 but l -- if I'm remembering correctly, l felt 21 had been cheated and so forth, but l don‘t
22 that my presence as Somebody that the workers 22 remember the specifics of that very well, just
23 trusted helped to keep things calm or calmer. 23 that l thought it might have gotten out of hand,
24 Q. Your presence? 24 but that it didn't in the end.
25 A. Yeah. Yeah, l would say so. 25 Q. Okay. When you say it didn't at the
Page 142 Page 144
1 Q. Okay. You've held yourself out, 1 end, do you mean that somehow there was a
2 you've called yourself a pretty good public 2 resolution to the matter?
3 speaker; is that correct? 3 A. The volume quieted down and didn't
4 MR. SANDLER: 4 get -- there was no more shouting or yelling.
5 Object to form. 5 And, so, even if the parties saw things from a
5 A. Others -- others consider me to be. 5 different point of view, at least it was more
7 EXAMINATION BY MR. SHAPIRO: 7 civil than otherwise might have been.
5 Q. And did you feel like Mr. Dewan had 3 Q. Okay. You never asked Kumar whether
9 a calming effect on the Indian workers? 3 the problem was resolved to his satisfaction?
10 A. No, certainly not with regard to 10 A. l don't remember one way or the
11 Arvind Kumar. l-lis presence made that worker 11 other.
12 angry is how it appeared to me. 12 Q. Okay. You write things down in your
13 Q. Okay. And, again, you don't know -- 13 journals pretty frequently, on a daily basis?
14 you don't recall how that was resolved or whether 14 A. l've actually ceased that habit.
15 it was resolved? 15 Q. Okay.
15 A. I don't reca|l. l just remember me 15 A. Yeah.
17 trying to keep -- keep the peace, so to say, so 17 Q. But you did at one time?
10 that it didn't escalate, and l thought I did that - 15 A. l did at one time.
19 successhil[y. 19 Q. Okay. And you write down things
20 Q. What did you do to intervene? 20 that strike you as important, don't you?
21 A. I don't -- I don't remember exactly. 21 A. Or my interpretation of them at the
22 J ust tried to be a peacemaker. 22 time.
23 Q. Okay. Now, were they speaking in 23 Q. Okay. Do you recall writing down
24 English or in a foreign tongue? 24 that there was an incident like this, argument
25 A. The argument was in Hindi, but l 25 between Mr. Dewan and Mr. Kumar?
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strike later.

EXAMINATION BY MR. SHAPIRO:

Q. Are you aware of what expenses are
needed to recruit approximately 600 workers in
India?

MR. SANDLER:

Object to form.

A. l've never done all of them, so, no,

l don't know how the expenses would break down.
At the same time, there's a general ballpark that

l would expect it to fall within.

EXAM[NATION BY MR. SHAPIRO:

Q. Okay. Well, you understand, for
example, that Mr. Dewan has an office that he
runs in Mu mbai.

A. Yes.

Q. Okay. Y`ou understand that he had to
do extensive traveling to undertake this

 

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recruitment process.

A. He or his workers, or both.

Q. Okay.

A. Yes.

Q. That means sometimes taking a large
contingent of his staff with him.

A. Yes.

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Q. Okay.

A. By large, l mean1 l saw maybe two
others in Chennai, for instance --

Q. Okay.

A. -- so --

Q. Were you aware that in some
instances, at some points in time, Mr. Dewan had
to station himself in Chennai, for example, for
weeks at a time?

A. lt doesn't surprise mc.

Q. Okay. And would it surprise you
that that creates an enormous amount of expenses?

A. l think "enormous" is a relative
term, especially in comparison to the amount of
money collected

Q. You'd agree then that there are
expenses that need to be paid in the recruitment
effort, and the expenses -- well, I'm not asking
you and l'm not trying to pin you down to a
number because l'm not giving you a number --

A. Sure.

Q. - but there are hours that need to
be spent on the recruitment, there are out-of-
pocket expenses that need to be made, and then,
at some point, there has to be perhaps a profit

 

 

 

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1 for Dewan Consultants. Would you agree that
2 that's a -- that would be a fair way to assess
3 the -- strike the -- strike that question.
4 You threw out a number in the
5 millions of dollars. Wouidn't that number be
5 less than significantly by the expenses that I'm
7 mentioning about recruiting workers, almost 600
3 workers in lndia?
9 MR. ALEXIS:
10 Object to form.
11 A. It's important to keep in mind the
12 relative nature of things1 where when the money
13 was collected from at least approximately 500
14 workers, just 500 being the number Mr. Kupperman
15 used, multiplying that times1 again, to use
15 Michael Pol's term of 310,000, which l know to be
17 higher in at least two instances, and think that
13 it's higher in the overwhelming majority, but
19 anyway, 500 and 10,000 -~ times 10,000 is five
20 million. lwould be very surprised if the
21 significant amount of expenses, to use the term
22 you used, "signit`:cant," would be even 20 percent
23 of that five million. l'd be very, very
24 surprised So, is something less than 20 percent
25 significant compared to 100 percent? No.
Page 152
1 EXAMINAT[ON BY MR. SHAPIRO!
2 Q. Well, you're coming up with
3 percentages, and that's iine.
4 A. I'm just trying to use the numbers
5 that you all have given, or Michael Pol with the
5 10,000.
7 Q. Let me expand on this further. If
3 Mr. Dewan had, for example -- I'm not accepting
9 this -- but if he had 20 percent expenses,
10 wouldn't Mr. Bumett and Mr. Pol have had 20
11 percent as well?
12 A. No. l'm saying combined together,
13 the three parties, l'd be surprised if` it --
14 Q. You don't have any basis for that
15 either?
15 A. The flights would be the largest
17 part for sure because, let's say, 1,000 to 2,000,
13 in that range, you know, that's 500,000 to $1
19 million in expense, just in plane fare, plus you
20 have the other expenses of the three parties
21 going against at least five million. And, so, if
22 the other expenses -- let's use $500,000 --
23 Q. Let me interrupt you for just a
24 second. Go ahead. Finish your answer.
25

A. Outside -- outside of the plane

 

 

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Mr. Dewan, Mr. Pol, Mr. Burnett, nor do you have 1 Q. Receipts from whom?
any personal knowledge about the expenses that 2 A. ReOeiptS from thc three parties
each of them incurred in the recruitment process, 3 which you lawyers represent
is that correct? Yes or no. You have no 4 Q. And What -- what -- what were those
personal knowledge about it? 5 receipts of? Help me out with this.
A. Correct. 5 A. Of money paid to them totalling more
Q. Okay. Now, you mentioned in your 7 than 310,000, significantly more.
previous testimony that workers had come up to 9 Q. And were all of the amounts stated
you complaining they had gone into -- if I‘m 9 in dollars?
using the word right, and correct me if l'm 10 A. Some were -- some were in dollars.
wrong -- massive amounts of debt in order to pay 11 We'd have to check the breakdown to see, but the
the recruitment in legal and broker fees - 12 breakdown was quite clear and specific and there
A. Yes. 13 were amounts in dollars, there may have been
Q. -- or large amounts of debts, or 14 amounts in lndian rupees, also, but at the
words to that effect? 15 prevailing exchange rate, would have translated
A. Yes. Yes. 16 to dollars that, in aggregate, totalled, as I
Q. Okay. And do you remember which 17 said, more than 10,000.
workers told you that? 10 Q. So, if there was a number in rupees,
A. l think one of them might have been 19 did you do some kind of calculation?
Thampy. l don't remember his last name, and l 20 A. Well, just, foreign an exchange
don't remember the name of the other worker. 21 rate, divide rupees by the foreign exchange rate
Q. So, there were two workers that came 22 to the dollar and you come up with the dollars.
up to you and shared that with you, shared that 23 Q. No. Did you actually undertake a
they went into large amount of debt? 24 calculation to figure out how much money was
A. No. There was actually a lot of 25 involved?
Page 162 Page 164
workers, but as far as specifics about who paid 1 A. Yes.
how much to who on what day, l got information 2 Q. Did you ever write it down anywhere?
from two workers who showed me receipts and other 3 A. Yes.
documentation signed by Malvern Burnett, Michael 4 Q. Did you ever make copies of the
Pol and Dewan Consultants, and those two 5 documents?
individuals, they were two among an entire 5 A. Yes.
bunkhouse of workers that was sharing this 7 MR. SHAPlRO:
information with me. So, I said, okay, well, let 0 Have they been furnished in
me take detailed information from two of you as 9 discovery?
representative of the whole, and both of those 10 MS. HANGARTNER:
workers -- both of them had numbers that were 11 Yes.
higher than the $10,000 which Michael Pol later 12 MR. SHAPIRO:
stated, on November 20th, where he was quite 13 Okay.
specific about it was right at 010,000, pending 14 EXAMINATION BY MR. SHAPIRO:
exchange rate fluctuations So, [ knew just from 15 Q. l think I was asking you about -- l
that and from the agreement of the workers, yeah, 15 wasn't asking you about how much the workers paid
we all paid a -- lots of money, here's two 17 to Mr. Dewan - allegedly paid to Mr. Dewan, Mr.
examples, that the numbers were high. 10 Pol and Mr. Burnett. I was asking you whether or
There was also another worker1 Sony 19 not - l was asking you how you came to know that
was his name, and he shared with me after the 20 they went into large amounts of debt in order to
fact, not with showing receipts or anything, but 21 be recruited to come to Signal.
he just gave specific details about a number even 22 A. Well, to use these two workers as
higher than those other two. 23 examples, that's a lot of-- that's a lot of
Q. Well, you're talking about receipts. 24 money. You know, significantly more than
A. Yes. 25

 

$10,000. So_. where did -- the question comes,

 

 

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1 where did they get it from? They told me where 1 'l`I-IE WITN ESS:
2 they got it from. That's where the information 2 Yeah, I can wait.
3 carne. 3 MR. SHAPIRO:
4 Q. They told you where they got it 4 l guess he had to go out on
5 from. Where did they get it from? With respect 5 an emergency
5 to Worker Number l, and you haven't identified 5 MR. SANDLER:
7 his name in full. 7 We'll probably pick up
3 A. l think it could be identified from 9 right -- right where you left off
9 Thampy, T-h-a-m-p- , first name. Ithink the 9 THE WITNESS:
10 badge number was 500273 -- 8 or 9. 10 Okay.
11 Q. Okay. 11 MS. TSU:
12 A. Maybe 178, 179 -- anyhow. 12 Can we go off the record for
13 Q. Do you know how much he went into 13 a moment?
14 debt? 14 THE VIDEOGRAPHER:
15 A. ldon't know. 15 Otf the record The time is
16 MR. SANDLER: 15 3:09. This is the end of Tape 5.
17 Object to fonn. 17 (Whereupon, a discussion was
10 A. I don't know. All I know is that 19 held off the rccord.)
19 he -- Ijust know that in that meeting on that 19 THE VIDEOGRAPHERZ
20 day, workers told me that they had to, for 20 This is the writinqu
21 instance, sell land in lndia, borrow money from 21 Videntnped deposition Of John
22 relatives, sell jewelry or borrow ar usurious 22 Sanders- This 13 the beginning 01
23 interest rates, in order to come up with the 23 THP€ 6- The time iS nOW 3320-
24 aggregate amount, which was then paid to Michael 24 EXAMWATION BY MR- SHAPlRO?
25 Pol, Malvern Bumett and Dewan Consultants, but l l 25 Q- Okay- MI'- Sanders, linn indicated
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1 don't know exactly how much either of those two 1 that you had spoken with two Signal workers about
2 workers had to borrow to come up with the total. 2 the debt they incurred in order to afford the
3 l don't know. 3 recruitment, legal and broker fee in order to be
4 EXAMINATION BY MR. SHAPIRO: 4 able to come over to Signal; is that correct?
5 Q. You just accepted the fact that this 5 A. More specifically, about the amount
0 is what they told you and this was correct? 6 That they Paid, and then n Was With the group 01
7 A. Well, I accepted it was correct 7 workers clustered around me on that day that they
3 because when they told me that they had -- in the 5 told me that they had variously had to come up
9 same conversation, if they're telling me we paid 9 with money from land that they owned or borrow
10 more than the two to $3,000 that Global Resources 10 from relatives or sell jewelry or borrow at
11 has told you, here’s the proof, you want to see 11 usurious interest rates, but I don't remember
12 receipts -- 12 that it was specifically those two workers that
13 MR. SANDLER: 13 told me that, just the group gathered around me.
14 Objection. Counsel for Mr. 14 Q. Okay. And that's one group out of
15 Pol has just stepped out of the 15 the entire man camp?
15 room -- if you want to wait for 15 A. A representative group.
17 him to come back_ 17 Q. Why do you characterize that group
13 THE WlTNESS: 13 as a representative group?
19 It'S up to you, Mr. Shapiro. 19 A. Well, the group was different in
20 MR. SANDLER: 20 many ways, but they did share in common the fact
21 I'm not sure that it is. 21 that they had to come up with many thousands of
22 MS. HANGA RTNER: 22 dollars from somewhere and that their way of
23 Because he represents 23 getting that, of course1 is going to vary by the
24 Michael Pol. lfyou're discussing 24 person, but that those ways encompassed the
25 Michael Pol -- 25 things ljust described

 

 

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1 Q. Did you ask each one of them how 1 somewhere in order to have the receipts that they
2 much they had to borrow, how much jewelry they 2 did_ The receipts for having -- the Indian
3 had to sell or what they had to do to come up 3 workers having the receipts for monies paid to
4 with the money to be able to pay the recruitment, 4 M_ichael Pol. Malvem Bumett and Dewan
5 legal, the broker fees? 5 Consulting. They got that money from somewhere
6 A. Each one, no. 5 They told me that they got it from these
7 Q. Okay. Did you ask -- so, are you 7 different ways described And so althoughl
2 saying that they all shouted at you en masse, 0 didn't see receipts of land mortgages orjewelry
9 indicating that they had paid -- they had 9 sales or contracts with -- with a high-interest
10 borrowed a lot of money and sold their wives' 10 lender, l didn't see those, but, certainly, they
11 jewelry and did all sorts of things to come up 11 got the money from somewhere and were, in these
12 with money to pay for the recruitment legal and 12 two examples, showing me quite credibly that what
13 broker fees? 13 they said was true. l took what they told me
14 A. They were -- l wouldn't say they 14 about -- [ took what that group of workers told
15 were shouting at me, but that was information 15 me is here's how we got it at face value, that
15 that l garnered from that interaction and there 15 those were ways that they really did engage in
17 were other interactions, for instance, with Sony, 17 borrowing the money or getting the money.
12 whose last name begins with V -- he was Worker 13 Q. Firstly, please tell me why you felt
19 500173, if l remember, that he had had to borrow 19 that these two individuals were so credible in
20 money at usurious interest rates, if l'm 20 your miud.
21 remembering correctly, and then there were just 21 A. Because they said we have paid
22 other workers who, in the course of my time as 22 thousands of dollars Do you want to see the --
23 the manager over the housing facility, that would 23 do you want to see the proof'? Yes, l said. And,
24 tell me the same thing So, l viewed it as a 24 so, they were able to produce it from their
25 common situation among the workers that many of 25 personal documents right there in front of me and
Page 170 Page 172
1 them, even the majority1 had had to come up with 1 show it to me.
2 the money. the thousands of dollars in these 2 Q. And yet you didn't ask them for any
3 various ways 3 proof about the debt they incurred or the land
4 Q. lt was pretty important to you when 4 sold or the jewelry sold?
5 you heard them - when I say "them," talking 5 A. Correct.
5 about the workers at Signal who approached you or 5 Q. You just accepted their Word?
7 you approached them, however you approached each 7 A. Because they had proven their
0 other - when they shared with you they borrowed 5 credibility in that sense and, So, l didn't ask
9 a lot of money to pay these fees, that was pretty 9 for the other documents that-- for other
10 important to you, wasn't it? 10 documents that might have shown receipts from the
11 A. Yes. 11 way that they got the money.
12 Q. And why was that so important to 12 Q. You had no personal knowledge about
13 yl“l'~’ 13 their financial backgrounds or anything of that
14 A. Because l cared about them and 14 nature that - how they might have been able to
15 wanted them to be treated fairly. 15 come up with money by any other means?
15 Q. Okay. And did you ask them to give 15 A. Other than what they told me, that
17 you any documents showing that they had borrowed 17 was what I based things on.
15 this kind of money? 12 Q. And you took it upon yourself to
19 A. No. 19 accept the word of two workers as a
20 Q. Did you ask them for any documents 20 representative of a group of workers?
21 showing that they had sold jewelry or done 21 A. No. l only had -- all of the
22 anything else in order to come up with money to 22 workers were telling me the same thing, that they
23 pay for the recruitment, legal and broker fees? 23 had had to pay many, many thousands of dollars
24 A. No. As far as borrowing the money, 24 And, so, l said, show me, and these two workers
25 no,just that they had obviously gotten it from 25 did exactly that, and if l had wanted more, l

 

 

 

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1 could have requested more, but the pattern was 1 gotten very similar information from any of them,
2 clear, and the pattern shows that the total 2 I'm certain. So, that's -- that's one way.
3 amount paid by these workers was far higher, 3 EXAMINATION BY MR. SHAPIRO:
4 multiples higher, than the two to $3,000 that ‘1 Q. Let me ask you this: Did you ever
5 Michael Pol told Signal and that Signal believed 5 go to any of the -- did you ever go to the
6 to be true that our whole acceptance of this plan 6 individual workers and ask them exactly how much
7 was -- was predicated on. 7 they paid in recruitment fees, legal fees and
8 Q. Getting back to the original 0 broker fees, yes -- did you ever go to each one
9 question, that is, you accepted the word of two 9 of the workers in Signal -- at the Signal camp
10 individuals and deemed them to be representative 10 and ask them how much they paid?
11 of a much larger group of workers; is that 11 A. No. Ijust established the Patt€m,
12 correct? ls that correct, yes or no? 12 and that pattern was confirmed at each point that
13 A. As a concept of them paying more 13 it was --that it came up and never denied.
14 money than we had been told, yes. 14 Q. Your answer is no; is that correct?
15 MR. SANDLER: 15 I'm asking you -- l'm asking you: Did you go to
15 Just for a second, she ; 15 each and every worker at Signal and ask them?
17 stepped out. 17 A. No.
18 MS. HANGARTNER: 13 Q. Okay. You only actually went to a
19 Can we go oFf` the record 19 group of workers who told you that they paid --
20 real quick? 20 they went into debt, they sold land, they sold
21 THE VlDEOGRAPHER: 21 their wife's jewelry, and you accepted that on
22 Oi`fthe record. The time is 22 face value; is that true?
23 3:29. 23 A. Yes.
24 (Whereupon, a discussion was 24 Q. Okay. Now, you accepted that as
25 held off the record.) 25 true without any documentary proof; isn't that
Page 174 Page 176
1 'l`l-lE VIDEOGRAPHER: 1 true?
2 Back on the record. The 2 A. Yes.
3 time is 3:36. 3 Q. Okay. Now, after Mr. Pol's
4 EXAMTNA'l`lON BY MR. SHAPIR_O: 4 termination -- after Signal terminated Mr. Pol,
5 Q. Mr. Sanders, l see you qualified 5 seem important to you and to Signal to keep Mr.
5 that last answer by saying as a concept of 6 Dewan and Mr. Bumett assisting in the
7 workers paying money, more money than they should 7 recruitment process; is that correct?
8 have, I think, in your words? 3 MS. HANGARTNER:
9 A. More money than Signal had been told 9 Object to form.
10 by Mr. Pol. 10 EXAMINATlON BY MR. SHAPIRO:
11 Q. Okay. Now, how do you draw the 11 Q. 1You can answer.
12 conclusion based on the word of two individuals 12 A. Could you repeat'iI
13 that, basically, that what they told you was they 13 Q. Okay. After Signal terminated Mr.
14 had paid a certain amount of money for 14 Pol, it was important to you and to Signal to
15 recruitment and legal and labor fees - how do 15 continue -- put it to you this Way -- to continue
15 you accept the word of two of them and have it 15 using services of Mr. Dewan for recruitment and
17 have a blanket effect on a whole group of 17 of Mr. Bu rnett for legal Services; is that
13 workers? 13 correct?
19 MR. SANDLER: 19 MS. HANGARTNER:
20 Object to form. 20 Object to form.
21 A. Because those two workers were -- 21 A. lt was our -- it was our preference
22 dtcir information was takcn, if you will, at 22 to do that, y€S.
23 random, and l could have spoken with any of the 23 EXAMINATION BY MR. SHAPIRO:
24 workers in the bunkhouse at that time. and there 24 Q. Okay. In fact, Signal did indeed
25 may have been 15 or 20 or so. l could have 25 continue to use Mr. Dewan, utilize the services
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1 MR. ALEXIS: 1 that maybe the company's business situation -- or
2 Thank you. 2 over the course of time, the company's business
3 MR. KUPPERMAN: 3 needs could have changed, so, it might be then a
4 You got a copy? 4 permanent need, so, we'll now apply for a green
5 MS. HANGARTNER: 5 Cal‘d.
5 Uh-uh. 5 EXAl\/UNATION BY MS. HANGARTNER:
7 MR. KUPPERMAN: 7 Q. Okay. So, you believed it went HZB,
0 Let me take a look at that 3 HZB, green card?
9 before you go on and ask him any 9 A. Yes.
10 questions 10 Q. And did you have --
11 MR. SANDLER: 11 A. That one could flow into the other
12 We‘ll just look before .lohn 12 quite naturally over the course of time, but you
13 answers. 13 couldn‘t apply for both at the same time.
14 EXAMINATION BY MS. HANGARTNER: 14 Q. And just one last question: When
15 Q. Mr. Sanders, if you could read those 15 you say one can flow into one or into one
15 two lines into the record, please, that are 15 another, what do you mean by that?
17 highlighted 17 A. That the same worker could be in the
15 A. l'm stating in a spiral-bound 13 United States working for the same company, let's
19 notebook on 12/22/06 that: 19 say Signal, on an HZB visa and that at the end of
20 "It is inconsistent to tile 20 the extensions, then, that person could -- could
21 for green card at same time as HZB 21 apply for a green card and continue in the
22 since green card is for permanent 22 country.
23 need." 23 Q. Continue working for that same
24 Q. And what was your understanding at 24 employer‘.’
25 that time when you wrote that entry - and what 25 A. Yes.
Page 190 Page 192
1 was that date again? l Q. In the United States?
2 A. 12/22/06. 2 A. Y€S.
3 Q. Okay. So, on 12/22/06, what was 3 Q. Okay.
4 your understanding of the HZB process versus the 4 MS. HANGARTNER:
5 green card process? 5 That'S all I have. Thank
6 MR. ALEXIS: 5 you, Mr. Sanders.
7 Object to form. 7 THE WITNESS:
9 A. That the HZB process represented a 3 Okay.
9 temporary need and that a green card was for a 9 MR. SAN])LER:
10 more permanent need, permanent status, and that 10 Plaintiffs are ready to go
11 you can't have both a temporary need and a 11 With()ut a break, if that'S
12 permanent need for the same person at the same 12 amcnable, although, l do feel like
13 time. Though a temporary need can, after time, 13 Mr. Shapil't) Sh(]uld be here, just
14 or over time, become a permanent need1 you can't 14 in case.
15 tile for both types of needs for the sarne person 15 THE VIDEOGRAPHER:
16 at the same time. 15 Off the record. The time is
11 ExArvnNArroN BY MS. HANGARTNER: 17 4:01.
13 Q. And when you say over time can 13 (Whereupon, a discussion Was
19 become a permanent need, what do you mean by 19 held Off the record.)
20 that? 20 THE VIDEOGRAPHER:
21 MR. ALEXIS: 21 This is the continued
22 Object to form. 22 videotaped deposition of John
23 A. As, for instance, that an HQB visa 23 Sanders. This is the beginning of
24 would be valid for ten months, but could be 24 TH|J€ 7r- The time iS llOW 4!11»
25 25 EXAMINATION BY MR. SANDLER:

extended, and that alter the extensions ran out,

 

 

 

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Page 193 Page 195
1 Q. Good afternoon, Mr. Sanders. 1 A. Yes, I would, if that Were Whatl
2 A. Good afternoon 2 testified previously.
3 Q. We've met before during your first 3 EXAMlNATION BY MR. SANDLER:
4 two days of deposition, November 9th and November 4 Q. Sure.
5 20th, 2009; do you recall‘.’ 5 Okay. To Mr. Shapiro earlier today,
6 A. Yes. 5 you were describing how you came to meet Anjay
7 Q. l'm just going to ask you some 7 Keswani.
3 questions that have arisen since then, based on 3 A. Yes.
9 questions that have been asked here or 9 Q. And you described that it was iu
10 clarifications from our original discussion. § 10 August, 2006?
11 MS. HANGARTNER: § 11 A. Yes.
12 Mr. Sandler, it's the 19th 12 Q. And l believe you said that it was a
13 and 20th, not the 9t}l and 20th 13 dinner that he catered.
14 MR. SANDLER: 14 A. Well, it was a dinner that occurred
15 Oh, l thought l said l9th. 15 at the lunch hour.
15 EXAMINATION BY MR. SANDLER: 15 Q. Okay. But it Was - Okay. All
17 Q. l'm just going to go over some of 17 right. Well, that's fine. So, it was du ring the
10 the testimony. Today I'm just going to ask you 10 lunch --
19 some clarilications to begin. 19 A. lt was a meal.
20 Before l begin, Miss Hangartner was 20 Q. Okay. A meal in the middle of the
21 asking you about a document, Exhibit 638. Do you 21 day.
22 have it in front of you? 22 A. Yes.
23 A. No. Shc has it. 23 Q. To Mr. Kupperman, he asked you when
24 Q. Do you recall - 24 you ended your work at Signal, when you were no
25 A. Yes. - 25 longer working for them, and I believe you said
Page 194 z Page 196
1 Q. You described a process whereby you - 1 November loth, 2007. Do you want to correct
2 understood that HZBs would flow into a green 2 that'.’
3 card. Is that a fair evaluation? 3 A. That would be 2009.
4 A. Could. 4 Q. Okay. November 16th, 2009.
5 Q. Could tlow. Okay. What is the 5 A. Yes. It`l said the wrong -- if 1
5 basis of your knowledge for that? 6 said 2007, that was the wrong year.
7 MR. ALEXIS: 7 Q. Okay. Mr. Kupperman earlier today
3 Object to form. 0 asked you about meetings that you had with the
9 A. Just my own understanding at that 9 workers. There were meetings, obviously, in
10 point in time, a little bit more than three years 10 India, there were like these seminars and then
11 ago, not being an expert in the immigration 11 there were subsequently meetings in the U.S. with
12 statuses, butjust my own interpretation 12 workers that Signal held; is that right? Do you
13 EXAMINATI()N BY MR. SANDLER: 13 recall Mr. Kupperman discussing with you meetings
14 Q. Did anyone tell you that? 14 earlier today?
15 A. [ don't remember anyone telling me 15 A. Well, I didn't have meetings with
15 that. 16 the workers in lndia.
17 Q. Okay. That document, l actually 17 Q- What l mean to - there -
10 originally introduced back in November, I don't 13 workers -the HZB workers at Signal attended
19 know if you remember or not. 19 meetings in lndia and I believe Mr. Kupperman
20 A. Yes. 20 asked you il' you attended those meetings, too.
21 Q. And if back then, if you had said 21 Do you recall that?
22 that Mr. Burnett had told you that, would you 22 A. I guess, not specifically 'I`hey
_ 23 defer to that testimony? 23 weren‘t meetings so much as I had a different
24 MR. ALEXIS: ' 24 role to l`ultill. Maybe that's what you're
25 Object to form. g 25 referring to.
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Page 197 Page 199
1 Q. No. What l‘m referring to is -- I'm 1 EXAMINATION BY MR. SANDLER:
2 not talking about the time that you were in 2 Q. l just want to conl'irm, you were not
3 lndia. 3 at Signal on Marcb 9th, 2007?
4 A. Okay. 4 A. l was not.
5 Q. l'm just talking about the fact -- 5 Q. Mr. Kupperman also asked you about
5 you weren‘t in lndia at the time - that there 5 the issues workers had, and he had indicated that
7 were meetings held in India, seminars, and there 7 perhaps some of them -- the lndians had different
3 were meetings held at Signal, worker meetings. 0 issues from -- amongst each other, they didn't
9 Do you recall this discussion with Mr. Kupperman? 9 all have the same issues when they were coming to
10 A. Yes, but l guess I was confused a 10 you with complaints, et cetera. Do you recall
11 little bit from how you phrased it. 11 that portion of the conversation with Mr.
12 Q. Right. My mistake My mistake. 12 Kupperman earlier today?
13 A. Okay. No problem. 13 A. Not so much that they weren't coming
14 Q. And l think what you said in your 14 to me with -- when they were coming to me with
15 testimony was that you didn't really attend those 15 complaints, but just that the workers were
15 meetings in India, which is again what you said 15 different one from another in many ways.
17 to me right now. 17 Q. Okay.
15 A. Yes, l did not. 13 A. l did -- l did agree with him on
19 Q. l just want to confirm that the 19 that.
20 meetings in the U.S. at the Signal camp in 20 Q. Okay. So, what l want to ask are
21 Pascagoula, you attended those meetings? 21 some of the issues, l'm going to ask you if they
22 MR. ALEXIS: 22 were the same or if they were different amongst
23 I'm going to object to form. 23 the workers. So, the expectation of permanent
24 MR. SAN[)LER: 24 visa, was that an issue that all of the workers
25 Okay. 25 who came to you had?
Page 198 Page 200
1 A. Yes. 1 A. Many voiced that concernl
2 EXAMINATION BY MR. SANDLER: 2 Q. Okay. And l think we kind of went
3 Q. Many, all -- and I'm talking about 3 over this with Mr. Shapiro as well, but as to the
4 large meetings where most all of the lndian 4 issue of cost that they had paid to come over,
5 workers would be in attendance 5 did many, all voice a concern about the expense
5 A. Most of those meetings, l was there. 5 that they had incurred to afford the opportunity
7 The main block of time that l was not there was 7 to come to Signal'.’
5 approximately three weeks, when l was on vacation 9 A. Yes, but the amounts that they paid
9 in At`rica. 9 were dif’f`erent, the time that they paid those
10 Q. Right. And those three weeks ended 10 amounts were different
11 when? 11 Q. But they all were concerned about --
12 A. Approximately Marcb lOth or l lth. 12 that the costs were high?
13 Q. okay. 13 MR. ALEXIS:
14 A. Of 2007. 14 Object to form.
15 Q. Okay. So, I think Mr. Kupperman 15 MR. KUPPERMAN:
15 also asked you if workers were ever forced -- l 15 Object to form of the
17 think he was trying to use the term forced labor, 17 question.
13 and he was like were they ever forced through 15 A. Yes, they were concerned The
19 fear or coerced to work at Signal, and you said 19 lndian workers were concerned
20 no, you had not seen any of that. Do you recall 20 EXAMINATTON BY MR. SANDLERI
21 that? 21 Q. [ think with Mr. Kupperman as well,
22 MR. KUPPERMAN: 22 he had asked you - you were talking about an
23 Object to form of the 23 e-mail, and he had asked you about an explanation
24 question. 24 you had given that one Worker had explained to
25 A. Yes. 25 you that if he could get one extension, the
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1 economics would work out. Do you recall that 1 this document is?
2 conversation? 2 A. Yes.
3 MR. ALEXIS: 3 Q. Okay. So, you drafted this
4 Object to form. 4 document?
5 A. Yes. 5 A. l did.
5 EXAMINATION BY MR. SANDLER: 5 Q. Do you recall when?
7 Q. I just want to get the record 7 A. Yes.
3 straight, that was one individual worker who said 5 Q. When?
9 that to you? 9 A. Mid- November, 2006
10 MR. KUPPERMAN: 10 Q. Okay. And just for the record, this
11 Object to the form. 11 document ls a breakdown of the recruiting fees
12 A. One that I remember specifically 12 paid by the lndian workers
13 EXAM[NATION BY l\/lR. SANDLER: 13 MR. ALEX[S:
14 Q. Maybe i’ll be more clear. When you 14 Object to form.
15 wrote that e-mail, you were talking about a 15 A. Yes, and there's also an entry about
15 conversation you had with one worker; is that 15 airfare, $1,289.
17 right? 17 EXAMINATION BY MR. SANDLER:
13 A. Yes. 19 Q. Okay. So, it's recruiting fees and
19 Q. Okay. And l'm going to enter a 19 travel to get to the U.S.?
20 document here, and for the record, the Bates on 20 A, Yes.
21 it is SIGE0005083, and it will be Exhibit Number 21 Q. Okay. What do the Employee Number
22 700. I'm just going to ask you to look it over 22 79 and 42 signify?
23 and then we can talk about it. And it's two 23 MR ALEXIS:
24 sides, and t brought copies for everyone. 24 Object to form.
25 (Whereupon, Exhihit Number ` 25 A. An abbreviation where 79 would be
Page 202 § Paga 204
1 700 was marked for identification.) 1 I'm almost certain ofthis, 5001?9.
2 A. Okay. 2 EXAMINATION BY MR. SANDLER:
3 MR. kUPPERMAN: 3 Q. Okay.
4 This is 700‘? 4 A. And Employee Number 42 would be
5 MR. SANDLER: 5 500142. And, so, Employee 79 is Thampy.
5 Yeah, the Excel spreadsheet 5 Q. Okay.
7 is 700. 7 A. That -- l think the cross-
0 MR. ALEXIS: 3 referencing will confirm that.
9 We need one more. 9 Q. Sure. Who did you show this
10 MR. SANDLER: 10 document to?
11 And it's two-sided, for the 11 A. l showed it to Signal management
12 record 12 specifically, Bill Bingie, Ron Schnoor and Lisa
13 MR. ALEXIS: 13 Spears.
14 lt's Exhibit 700? 14 Q. ls that all?
15 MR. SANDLER: 15 A. I don't think Darrell was quite
15 It's Exhibit 700_ 15 involved at this point, so, those would be the
17 A. I‘ve reviewed the document. 17 three that l remember.
15 EXAM[NATION BY MR. SANDLER: 19 Q. And Lisa Spears works directly under
19 Q. Okay. Both sides? 19 Chris Cunningham; is that right?
20 A. Yes. 20 A. Yes, I believe that she does.
21 Q. Okay. During Mr. Shapiro's - while 21 Q. Or at least did at that time?
22 Mr. Shapiro was deposing you, you had talk -- he 22 A. Yes.
23 had referred to two particular workers for whom 23 Q. Okay. So, you didn't show it to Mr.
24 you had recorded the fees, et cetera, and then 24 Cunningham, necessarily?
25 you had memorialized it somehow. ls that what l 25 A. No. No.
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52 (Pages 205 to 208)

 

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Q. Okay. 1 A. So, many differences in that regard,

A. But Ron was -- Ron Schnoor was my 2 but in terms of the fact that the very vast -
direct manager and, so, I showed it to him. 3 the very vast majority of workers paid more,

Q. Mr. Kupperman and you and I also 4 these are two examples of that.
believe you and Mr. Shapiro and you discussed 5 Q. So, would exemplars be a good word,
this $10,000 number as a fee that Mr. Pol had 5 then?
said was paid by the workers? 7 MR. ALEXIS:

A. Yes. 3 Object to form.

Q. Okay. So, does this document 9 MR. SHAPIRO:
contradict that number? 10 Object to form.

MR. SHAPIRO: 11 A. I'm not sure.

Object to form. 12 MR. SANDLER:

MR. KUPPERMAN: 13 Withdrawn.

Object to form of the 14 EXAM[NATION BY MR. SAN DLER:
question. 15 Q. Just for the record, just to he

A. Yes, it does. 15 sure, I think you said earlier paid more, and I
EXAMFNATION BY MR. SANDLER: 17 wanted to be sure you meant paid more than

Q. Exp|ain, please. 13 $10,000?

A. In the meeting that Signal 19 A. Yes. These two workers paid more
management had with Michael Pol on l l/20/06, 20 than $ 10,000 and their information contradicted
where I wrote down the things that Mr. Pol said 21 what Michael Pol told Signal.
and that Mr. Schnoor said, Mr. Pol was quite 22 Q. And every entry in the G, F, E
specific about the fact that the number --the 23 column and assumedly also the D eolumn, you
amount of money charged to the lndian workers was 24 verified with documentation?
right at 310,000. That's a direct, verbatim § 25 A4 With receipts

Page 206 § Page 208
statement from him, which since l had gathered 1 Q. With receipts, which is like
this breakdown a few days before, I knew that 2 documentation?
what he was saying on 11/20/06 was not true, 3 A. Yes. i saw them myself
because l had seen receipts that contradicted it, 4 Q. And they were given to you on the

Q. Right. And that's where all of 5 spot by workers?
these values came into the spreadsheet? That's 5 A. Yes. And l could have gotten more,
based on receipts that the workers had shown you? 7 but how many could I -- could l get right then.

A. These two workers in particular 5 Q. Exactly. Thank you.

Q. I believe you testified earlier with 9 I'm going to enter another document.
Mr. Shapiro, I think, that these workers were 10 It is DEWAN 000798. I know it's been entered
representative of -- correct me if I'm wrong -- 11 already. l brought copies for everyone So, l'm
but both the complaints about fees that you were 12 going to add the exhibit number as well to it.
hearing and the amounts and the details thereto? 13 So, if you could just have a look at it, Mr.

MR. SHAPIRO: 14 Sanders, and for the record, you aren't -- for

Object to form. 15 the reeord, you're not on these e-mails at all.

A. l don't know if l would use the term 16 (Whereupon, Exhibit Number
representative because each one was different in 17 701 was marked for identification.)
terms of time and amount, and you can even see 13 MR. SHAPIRO:
that in the dates here that Worker -- Employee 19 What's it?

Number 79, he paid money in - as early as June 20 MR. SANDLER:

of 2003, whereas, the other one was only in 2006. 21 It's 701.

So, there were differences and, also, as far as 22 MR. ALEXIS:

who the payee was. 23 Just so l don't waste any

EXAMlNATION BY MR. SANDLER: 24 time, I'm going to object to the
Q. Yeah. 25

 

 

form of-- I'm going to object to

 

 

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Page 233 l cage 235
1 5:09. This is the end of Tape 7. 1 point in time. If he's talking about that March
2 (Whereupon, a discussion was 2 9th incident being the first uprising, then, I
3 held offthe record.) 3 don't -- l mean1 l remember --
4 THE VIDEOGRAPHER: 4 Q. ls that what it meant to you, the
5 This is the continued 5 March 9th -- that's what I'm asking?
5 videotaped deposition of John 5 A. l think so_
7 Sanders. This is the beginning of 7 Q. You can't get into Mr. Burnett's
5 Tape 8. The time is now 5 :2')'. 5 head. So, I just wanted to know what it meant to
9 EXAMlNATlON BY MR. SANDLER: 9 you whether you read it.
10 Q. Okay, Mr. Sanders. l want to show 10 A. That's what it would mean to me as l
11 you a document, and the Bates on the document is 11 read it right now. Yes.
12 SIGE0020386, and the exhibit number will be 703. 12 Q. Okay. Do you think it would he
13 And l brought copies for everybody. 13 different than what you thought back then?
14 (Whereupon, Exhibit Number 14 MR. ALEXIS:
15 703 was marked for identification.) 15 Object to form.
15 EXAMINATION BY MR. SANDLER: 15 A. No, because that was the uprising
17 Q. Read the whole thing and then I'll 17 that l can -- that l can point to as far as his
15 ask you a few questions. 13 being invoived, because, for instance, in late --
19 A. l've read this document. 19 well, maybe it would be mid-Decemherq there was
20 Q. Okay. ln the last e-mail -- just 20 what I would refer to as the food riot.
21 for the record, it begins with an e-mail between 21 EXAMINATI()N BY MR. SANDLER:
22 you and Malvern Burnett, it's an e-mail thread. 22 Q. Right.
23 There's an e-mail from Malvern to you, you to 23 A. And he didn't have any involvement
24 Malvern and then you forward that communiqué to 24 in that.
25 Chris Cunningham with a bit of an explanation; is 25 Q. Okay.
Page 234 l Page 236
1 that right? 1 A. And didn't come to Signal that l
2 A. Yes. 2 remember until mid-January, '07. So,that's why
3 Q. And these e-mails begin on May l lth, 3 l think that he's referring to the March
4 2007, and you finally forward it to Chris 4 incident
5 Cunningham on May 16th, 2007. 5 Q. So, Mr. Burnett -- this is May,
5 A. Yes. 5 2007. You are now an industrial engineer at
7 Q. What -- in the very last paragraph 7 Signal?
8 in the first e-mail from Malvern Burnett to you, 3 A. ln Texas.
9 what is "the uprising," in quotation marks, that 9 Q. In Texas.
10 he's referring to? 10 A. Yes.
11 MR. ALEXIS: 11 Q. Okay. But Mr. Burnett still likes
12 Object to form. 12 sending you, l guess, immigration-related issues
13 A. My sense is that he's probably 13 vis-a-vis the Signal H2B workers?
14 referring to when he was apparently there after 14 A. Especially in regard to Texas --
15 the l’vlarch 9th incident -- 15 Q. Okay.
15 EXAM[NATION BY MR. SANDLER: 15 A. -- Indians, yes.
17 Q. Okay. 17 Q. Okay. ln the first question -- in
15 A. -- which l was not present at_ 10 the first question - sorry -- in the first
19 Q. Right. 19 e-mail and in the last paragraph, Mr. Bumett
20 A. Or maybe it was before the Marcb 20 asks you: "Is it safe to assume that those who
21 9th, l don't know, but l wasn't there. 21 Signal will extend. . . ," and I'm going to
22 Q. Or maybe it was before the Marcb 22 suggest that what he's saying there are Signal
23 9th? What do you mean by that? 23 H2B workers.
21 A. Well, the March 9th was, l think, a 24 A. Yes.
25 Friday and, so, I don't -- l wasn't there at that 25 Q. Okay. ". . . will also be those it
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1 will petition for permanent residence." 1 described at that January meeting?
2 A. Yes. 2 MR. ALEXIS:
3 Q. Okay. l)id Mr. Burnett advise you -- 3 Object to form, but go
4 it's not going to be in this e-maiL but just I'm 4 ahead.
5 asking you it' you learned this from Mr. 5 A. l don't remember him talking in that
5 Bumett -- that transitioning from an H2B to a 5 meeting, I'm not saying that he didn't. I'm
7 permanent visa was likely going to include a 7 saying that I don't remember, and in any event,
5 period of time where the worker would have to 5 that wasn't -- l don't think that he'S referring
5 leave the United States? 9 to that anyway.
10 MR. ALEXIS: 10 EXAMINATION BY MR. SANDLER:
11 Object to form. 11 Q. But I'm going to ask you something.
12 A. l did not know that. 12 In this last sentence, in the last clause of the
13 EXAMINATION BY MR. SANDLER: 13 last sentence, i.e., the last line in this case,
14 Q. Okay. But did Mr. Burnett tell you 14 it says: "as we promised the men in the mess
15 that or anything to that effect? 15 hall. . . ," and this is an e-mail strictly
15 A. l don't have any remembrance that he 15 between you and Mr. Burnett, right?
17 did, and l don't think that he did, 17 A. Yes.
15 Q. Okay. So, then, at this mess hall 15 Q. So, what do you think he's talking
19 meeting in the last paragraph -- last sentence of 19 about when he says "we"?
20 the last paragraph -- 20 MS. HANGARTNER:
21 A. Yes. 21 Object to form.
22 Q. -- did Mr. Burnett advise the 22 A. That he told workers six months
23 workers -- 23 alter filing the first HZB extension and, you
24 A. l don't -- l don't know -- 24 know, I think it would be the "he" part of "we"
25 MR. ALEXIS: § 25 as far as Mr. Bumett saying that because he was
d _____,m ,, l .. .. ___.._._
Page 238 § Page 240
i
1 Object to form. 1 the -- as l've testified earlier, he was the
2 A. -- because -- 2 expert in terms of who -- in terms of` what needed
3 EXAM[NATION BY MR. SANDLER: 3 to be done when and how to do it. So, l don't --
4 Q. You were there or you were not 4 l didn't know those details and especially if l
5 there? 5 wasn't even at the meeting, l wouldn't --
5 A. I Was not -- l was -- l do not 5 EXAMINAT!ON BY MR. SANDLER:
7 remember being there, especially if it's the 7 Q. But l'm suggesting to you that this
5 meeting that he's talking about here. 0 is a meeting that you both were at because I'm
9 Q. The uprising is Marcb 9th, 2007. 9 going to read it into the record and we'll talk
10 A. Right. 10 about it. This is the last sentence of the
11 Q. But you're back at Signal on what, 11 e-mail besides keep me informed.
12 March llth, the Monday? 12 "l still intend to try to
13 A. The Monday after, which might have 13 keep my original timeline for the
14 been the 12th 14 permanent residency process and
15 Q. Okay. Right. The thh. 15 file within six months of filing n
16 A. And the only meeting that l remember 15 the first HZBextensiou, as we
17 Malvern Bumett at with workers was in mid- 17 promised the men in the mess hall
15 January when Sachin Dewan was also there in terms 15 meeting after the first
19 of me being present when Malvern Bumett was to 19 'uprising."'
20 talk with workers in the mess hall, as he says. 20 MR. ALEXIS:
21 Q. That January meeting was in the mess 21 Object to form, but -- I'm
22 hall? 22 sorry. Did you ask a question
23 A. Yes, when Malvern Bumett and Sachin 23 yet?
24 Dewan came to Signal. 24 MR. SANDLER:
25 Q. Did Mr. Burnett make this promise he 25 No.

 

 

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1 MR_ ALEXIS; 1 A. l was the one who dealt with the

2 l‘m sorry. Go ahead and ask 2 WOI’k€I'S- ldon't ~~ l don't --

3 it. I'm sorry. 3 Q. Did you get - Mr. Schnoor and Mr.

4 EXAMINATION BY MR. SANDLE,R: 4 Marler, l think, raised concerns about trying to

5 Q. So, what I'm suggesting to you is 5 facilitate transfers with the "Nos," right?

5 that "we" is at least you and him. 5 That's what that second paragraph is about.

7 MR_ ALEXIS; 7 A. Could you repeat the question?

3 Object to form_ 5 Q. I'm going to read the second

9 EXAMINATION BY MR_ SANDLER; 9 paragraph into the record. This is an e-mail
10 Q, DO you gee how one Would read that? 10 from y0ll to Chl‘lS Clllllllllghi][ll, May 16th, 2007. "I
11 A. l do, but my interpretation of that 11 realized after we hung up" -- that “we," that's
12 is that the "we" could be Malvern Bumett and 12 you and Malvern Bumett -- that -- "that Monday's
13 Signal, which would not necessarily include .lohn 13 details were“ -- actually, I think "ai`ter we hung
14 Sanders. 14 up" might have been a phone conversation you had
15 Q. Okay. Okay. That, I understand. 15 With Chl'iS-
16 Sounds like the answer to this is 16 A. res1 Ithink that's correct
17 going to be -- I don't want to put the answer in 17 Q- SU~ I'm going 10 5131'1 agai"- "I
15 your head. I think we've already gone over this, 13 realized after W€" - tth'S you and Chl'i§
19 but were you ever in the presence of Mr. Burnett 19 Cunningham - "hung up that Monday‘s details were
20 when he discussed immigration matters with the 20 actually the Second mention of a transfer
21 workers? 21 possibility. lo late March there was a related
22 A. The only -- there's a possibility 22 discussion having to do with straight pay versus
23 that if he talked with the workers about 23 per diem wages."
24 immigration matters in mid-January of 2007, that, 24 And before I go on, the transfer
25 yes1 l would have been present at that. l don't 25 possibility is transferring HZB workers, That's

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1 have any recollection of what was said, if 1 what you're talking about?

2 anything but that's the only time that l can 2 A. To another company, yes_

3 point to when he and I were present together at 3 Q. "'Ron," and I'm going to say that's

4 Signal for talking to Indian workers, 4 Ron Schnoor.

5 Q. Okay, Mr. Sanders. ln the first 5 A. Yes.

5 c-mail on this thread, you want to just reread 5 Q. "Expressed concern that if we

7 the second paragraph to yourself, and then I'm 7 released nonkeepers" -- those would be also

5 going to ask you a question. 3 described as "Nos"?

9 A. l've read the second paragraph 9 A. Yes.
10 Q. Earlier on when we started -- when I 10 Q. -- "to another company, the more
11 started asking you some questions, I asked you 11 productive Indian workers might desert for the
12 about what Signal's plan was for the "No" 12 higher pay being offered. (See attached e-mail
13 workers, and you, l think -_ correct me if this 13 chain). Dick" - and I'm going to suggest to you
14 is not how you recall, but I think you said 14 that's Dick Marler?
15 something to the effect of Signal was concerned 15 A. Yes.
15 about all the workers and they wanted even the 15 Q. -- "also mentioned that we would get
17 "No" ones to find something somewhere. Does that 17 nothing in exchange."
15 sound about right? 15 So, my point is very simple. It's
19 A. That was our desire. 19 just that as far as ensuring that even the "No"
20 Q. Okay. That was your desire. l 20 workers would be taken care of, that was maybe
21 suggest to you that the way that you've 21 your concern, John Sanders‘, and Signal had --
22 recapitulated to Chris Cunningham Dick Marler‘s 22 was not as concerned with it?
23 and Ron Schnoor's concerns that it might have 23 MS. HANGARTNER:
24 been your desire, John Sanders‘, and maybe not 24 Object to form.
25 Signal lnternational's; is that fair? 25 A. l don't -- l don't read that into

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1 this. 1 Atlantia?
2 EXAMINATION BY MR. SANDLER: 2 A. It's a rig that we were building in
3 Q. Okay. What do you read? 3 Texas at the time.
4 A. That l was concerned and -- 4 Q. Oh, oh, I See. So, the Atlantia is
5 Q. Yes. 5 like a project?
5 A. -- wanted to make things -- make a 5 A. A project.
7 transfer -- or have a transfer be possible for 7 Q. Okay. So -- as the Atlantia project
9 the workers within the confines of H2B 3 wraps up?
9 immigration law and that Ron Schnoor and Dick 9 A. Yes.
10 Marler, who have a larger picture view than l do, 10 Q. Okay.
11 since they're senior managers of the company -- 11 ". . .it would free up jobs
12 Q. Yes. 12 for higher quality workers who are
13 A. -- that in addition to that fact of 13 also U.S. citizens and could work
14 me being -- wanting to -- me wanting to show 14 011 LPD-"
15 concern for the workers and let them go somewhere 15 LPD is like U.S. government work
15 else, if possible1 that as long as that is a 15 that only American citizens can work.
17 priority within Signal -- or an interest -- 17 A. COI`I`€CL
19 Q. What‘s the interest? Say that 18 Q- "I don't knows but Pei'ilaps
19 again_ 19 this new dynamic on our side
20 A. Transferring the workers so that 20 might change tile transfer
21 they can work legally somewhere else and reduce 21 decision thought Pr°ceSS-"
22 their debt, that Signal is interested in that. 22 So, What is it changing the thought
23 John Sanders is interested in that and that Ron 23 PFOCESS from?
24 Schnoor and Dick Marler are also interested in 24 A- That Signal Would be Pe"hap$ able 10
25 that because we're concerned about the high level ` 25 let the nonkeei?ei`$ go right away Oi" Very 500“
1
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1 of the debt -- l mean, that's what Ron 1 after.
2 Schnoors -- that's why he back in November had 2 Q. You said "the transfer decision
3 said half back to the workers because he was 3 thought process." So, what your --
4 ooncemed. 4 A. That they could -- l mean, what l'm
5 Q. We' re not talking about that. I 5 trying to say is that if a transfer possibility
5 know we've got testimony on that already and I'm 5 comes up and it can happen soon after May 16th,
1 aware that back in November, 2006 -- 7 2001 date of this e-mail, then maybe Texas's
3 A. Right. Right. Right. l‘m just 9 desire to have higher quality workers could be
9 trying to show you that Signal senior management 9 filled Sooner --
10 is also concerned about the workers 10 Q. So, What is the Change that you're
11 Q. Right. In November, 2006 it was -- 11 talking about in that last interrogative, the
12 A, And that didn't change 12 second-to-last interrogative of the third
13 Q. - it was Michael Pol, Malvern 13 paragraph? l can reread it:
14 Burnett, and Sachin Dewan‘s money going back to 14 "I don't kllOW-, but P€l‘haIJS
15 the workers? 15 this new dynamic on our side might
15 A. Because he cared about the workersh 15 change the transfer decision
11 Q. But now I'm asking you, and I'm 11 thought process."
13 going to read the third paragraph of the e-mail: 18 A' Well, the new dynamics from Contexi,
19 "Two months men many in 19 is that there's potentially an opportunity to
20 Orange would like to see the 20 transfer WOI`keI'S Soim-
31 nonproductive lndians leave 21 Q- Okay-
22 quickly If Same of them were 22 A. That's what l read as the new
23 transferred very soon as the 23 dynamic-
24 At|antia concludes" -- 24 Q- Okay-
25 Just before I go on, what is the 25 A- And "
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l Plai_ntif"l`s [P) Signal Det`s. t_Sl I)cwan l)ct`s. (l`)) Bumett T)efs. tim

 

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1 Q. So, what is the standing transfer 1 Q. Right. We talked about that, that's
2 decision thought process that you thought that 2 right And, also, l think, Dick Marler expressed
3 might change? 3 concerned, the CEO of the company, right? "l)ick
4 A. That -- that Signal's senior 4 also mentioned that we would” -- I'm quoting now
5 management would be willing to let the less 5 from the e-mail: “Dick also mentioned that we
5 productive workers -- 5 would get nothing in exchange.," and he's talking
7 Q. But what's the standing transfer "' about transferring workers
5 decision thought process? You're, like, look, 5 A. Yes.
9 l'm giving you new information, there's transfer 9 Q- Okay. So, I'm just saying that the
10 opportunities, whatever. This might change the 10 standing -~ the standing position of Signal at
11 transfer decision thought process So, at that 11 this juncture in time was not to transfer
12 time, what was the transfer decision thought 12 workers
13 process? 13 MS. HANGARTNER:
14 MS. HANGARTNER: 14 Object to form. l'm not
15 Object to form. 15 sure that he's the proper person
15 A. The concem from Ron Schnoor about 15 to answer that question.
17 the transfer was that these workers might earn 17 MR. SANDLER:
15 more than the first-class wages that we Were 15 He drafted an e-mail and --
19 paying because different companies pay different 19 MS. HANGARTNER:
20 things. 20 But he expresses statements,
21 EXAMINATION BY MR. SAN DLER: 21 but l don't think he's the proper
22 Q. Sure. 22 person to testify as to what
23 A. And that that fact of their lndian 23 Signal's position was at that
24 worker friends, the "Nos," earning more would 24 time. ln other words, that's
25 incentivize "Yes" workers to leave Signal. 25 going to be Schnoor or Marler.
Page 250 Page 252
1 Q. So, Mr. Schnoor was concerned that 1 MR. SANDLER:
2 workers that Signal deemed as "Nos," these 2 But at least his vision, his
3 low-quality guys, might get picked up by another 3 understanding of their position, l
4 company and earn more than the first-class 4 can ask that.
5 workers at Signal? 5 MS. HANGARTNER:
5 MS. HANGARTNER: 5 Okay.
7 Object to form. 7 EXAMINATION BY MR. SANDLER:
5 A. Yes. 3 Q. Your understanding was at that time,
9 EXAMINATION BY MR. SANDLER: 9 May 16th, 2007, Signal's view Was that they were
10 Q. Okay. 1° not going to transfer the nonkeepers?
11 A. But I -- you - to go back -- 11 A. l don't say that. l only say that
12 Q. Okay. So, just -~ so, the standing 12 Ron Schnoor and Dick Marler had expressed
13 thought process on this May 16th e-mail at the 13 concern, but the fact that they have concerns --
14 time at Signal was that Signal wasn't willing to 14 Q. I'm not--
15 transfer nonkeepers, right? 15 A. -- doesn't mean that it's an
15 MS. HANGARTNER: 15 absolute no.
17 Say the last part again. 17 Q. Right. But I'm asking you about the
13 EXAMINATION BY MR. SANDLER: 15 third paragraph. Ron and Dick, you kind of
19 Q. Was that Signal wasn't willing to 19 summarize in the second paragraph. I'm asking
20 transfer nonkeepers. At May 16th, 2007, the 20 about the third paragraph and, again, I'm just
21 standing thought process was that they weren‘t 21 going to read it.
22 willing to transfer nonkeepers, right? 22 "l don't know, but perhaps
23 A. Well, i'm not going to say that 23 this new dynamic on our side might
24 explicitly. All l'm going to say is that Ron 24 change the transfer decision
25 expressed concerned 25 thought process."
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1 MR. SANDLER: 1 Q. Can you tell me?
2 Object to form. 2 A. Mid-November, 2006.
3 EXAMINAT[ON BY MR. KUPPERMAN: 3 Q. And what happened to the supporting
4 Q. -- because, as you said, you were 4 documents?
5 attempting to be precise in your language to your 5 A. The two workers retained them.
5 boss, correct? 5 Q. You didn't make copies of them?
7 A. Yes, Ido try to be -- 7 A. l don't remember ifl did or not. l
3 Q. Okay. 3 may have -- | would have had to write them down
9 A. I do try to be accurate, but whether 9 somewhere because l didn't have my laptop with me
10 it was just one worker or multiple workers, l 10 when I was out at the man camp, but I don't know
11 don't remember at this time without further 11 where that piece of paper would have been. lt
12 documentation 12 might have been just a piece of scrap paper.
13 Q. Okay. 13 Q. So, if the paper doesn't exist and
14 THE VIDE()GRAPHER: 14 we don't have these particular invoices that you
15 One minute. 15 are -- or receipts that you used, there would be
15 MR. SANDLER: 15 no way for us to check the work, correct?
17 May l see that? 17 A. Incorrect. You would be able to go
15 MR_. KUPPERMAN: 13 to these two individuals and, also, you could get
19 Yeah. Would you take it 19 specific breakdowns from other lndian workers
20 down to Ralph? 20 besides these two because all of them that I
21 THE VIDEOGRAPHER: 21 remember speaking to had paid significantly more.
22 Of`t' the record. It is 6:24. 22 Q. I'm not asking about others. I'm
23 This is the end of Tape 8. 23 asking about what's on this sheet, and these are
24 (Whereupon, a discussion was 24 the two. So, there's no way for us to check this
25 held off the record.) 25 through you or Signal if you didn't retain the
Page 274 Page 276
1 THE VIDEOGRAPHER: 1 documents, correct'll
2 This is the continued 2 A. Correct.
3 videotaped deposition of John 3 Q. Okay. What do you use for currency
4 Sanders. This is the beginning of 4 conversion?
5 Tape 9. The time is now 6:27. 5 A. The -- well1 we could know exactly
6 ExAMlNATIoN BY MR. KUPPERMAN= 6 by dividing 1500 by 33-
7 Q. Mr. Sanders, do you recall when the 7 Q. No. No. What do you use to
3 Signal contract with Mr. Pol was entered into, 5 determine the currency conversion?
9 what the date of that contract was? 9 A. The rate --the foreign rate of
10 A. I don't remember exactly. 10 exchange
11 Q. Does about April of '06 sound about 11 Q. As of what, the day you did this?
12 right? 12 A. I don't remember, but I think that
13 A. Yes. 13 if anyone went back and checked the -- and any
14 Q. With reference to Exhibit 700, can 14 financial charts of the foreign exchange rate, of
15 you take a quick look at that, when did you do 15 the U.S. dollar to the Indian rupee for this time
15 this document? 15 frame of mid-November, you would find that the
17 A. When did l what? 17 exchange rate in those charts, in that data,
19 Q. Create this document. 13 which is historical and you could find out, very
19 MR. SANI)LER: 19 closely -- or would be very close to the exchange
20 l'm going to object to that 20 rate that is implicit here.
21 because it's been asked and 21 Q. Okay. Now, let's see if we can
22 answered. 22 answer my question. Do you recall what the
23 MR. KUPPERMAN: 23 source was for the currency conversion that you,
24 I don't remember it. 24 in fact, used in this document?
25 EXAM]NATION BY MR. KUPPERMAN: 25 A. lt would be one of the online

 

 

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1 sources For instance, if you google foreign 1 _ Q. Okay. And the receipts just set out
2 exchange, a number of options come up, and l 2 the amount that they had paid and the day?
3 think that's what I would have used. 3 A. And the party who received that
4 Q. So, you don't remember which one, 4 money.
5 but it was something you got off the internet? 5 Q. Okay. Now, looking at Employee 79,
5 A. Correct. 5 if you take the time frame after which Mr. Pol
7 Q. Okay. Now, let me ask you: On the 7 became involved when he had a contract with
5 first one, did you use the currency conversion 5 Signal, that would include only the November
9 for June 12, 2003, in creating that conversion -- 9 payments in 2006, correct?
10 in converting that number, or did you use the one 10 A. No. Oh, are you talking just this
11 as of the date in November of 2006 that you 11 Worker 79?
12 created the document? 12 Q. Correct.
13 A. Ithink it was in --just in 13 A. Yes, I agree with you.
14 mid-November, 2006. 14 Q. I mean, you can't hold Mr. Pol
15 Q. Okay. All right. 15 responsible for payments made by people prior to
15 A. And you would therefore find a 15 the time he even had a contract with Signal or
17 common exchange rate through if you went back and 17 was involved, can you?
13 did that calculation. lthink so. 15 MR. SANDLER:
19 Q. Now, looking at this document, in 19 Object to form.
20 the top, Worker, Employee 79, in fact, if you 20 A. No. With regard to Signal. But why
21 look to see what that worker supposedly paid 21 then did this worker, Employee 79, why on January
22 according to your chart -- scratch that. 22 2nd, 20`04, did he pay $2,750 to Michael Pol?
23 Let me ask you: Under the 23 EXAMTNATI()N BY MR. KUPPERMAN:
24 Description, where did that description come from 24 Q. He did not.
25 for both of these workers'.’ 25 MR. SHAP[RO:
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1 A. From what they told me andjor showed 1 I object to the
2 me when l met with them about this issue. 2 responsiveness of the answer.
3 Q. So, when you have Installment lA, 3 EXAMINATION BY MR. KUPPERMAN:
4 Installment lB, for example, that was something 4 Q. He paid Indo-Ameri Soft. Do you see
5 that they told you was Installment lA? 5 that, sir?
5 A. No, that's my terminology 5 A. Oh, l‘m sorry. I‘m reading from
7 Q. What did they tell you? 7 Column I.
5 A. That -- 3 Q. Yes. ln fact, if you turn over,I
5 Q. Or what did this worker tell you 9 think you pointed out that it's backsided.
10 about Installment lA and lB? 10 MR. SANDLER:
11 A. That -- I don't remember the 11 I pointed it out.
12 specifics of what they told me as far as the -- l 12 MR. KUPPERMAN:
13 don't have a transcript of that conversation, but 13 Oh, I'm sorry. Mr. Sandler,
14 the general sense that is being conveyed, which 14 he gets credit for that.
15 they conveyed to me and then I put into 15 EXAMINATION BY MR. KUPPERMAN:
15 Installment 11311 lB, 2A, 2]3, et cetera, is that 15 Q. l think all l and J are, and you
17 they had to pay different amounts of money at 17 tell me if l‘m wrong, is a summary of the amounts
15 different times, and within a particular time, 15 paid to each party, which are reflected in
19 they would pay different parties 19 Columns B through G; is that fair?
20 Q. And did they show you any contracts 20 A. Could you repeat that?
21 or agreements to back up any of these 21 Q. Yeah. l think that I and J are just
22 installments? 22 summaries of the amounts paid in total to each
23 A. I don't remember. Those_. l 23 party listed in Columns B through G, correct?
24 remembered more seeing the receipts That was 24 A. Oh, oh, oh, yes, you are correct. I
25 the focus of what they were showing me. 25 follow you and agree, yes.

 

 

 

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1 Q. And the individual payment amounts i 1 l may have one question.
2 differ between Employee 79 and Employee 42, don't l 2 MR. SANDLER:
3 they? 3 And l have two.
4 A. Yes. 4 THE VlDEOGRAPHER:
5 Q. And neither one of these workers, 5 Off the record. The time is
5 Employee 79 or Employee 42, ever told you that 5 6:44.
7 they paid Dewan, Bumett or Pol any more than 7 (Whereupon, a discussion was
5 they had agreed to pay them, correct? 5 held off the record.)
9 A. They did not mention anything one 9 THE VIDEOGRAPHER:
10 way or the other in that regard 10 Back on the record. The
11 Q. As far as you were concerned or 11 time is 6:50.
12 knew, they had, irl fact., agreed to make these 12 EXAIV[[NATION BY MR. SANDLER:
13 payments and they made them, right? 13 Q. Mr. Sanders, Mr. Kupperman was
14 A. Yes. 14 asking you about Exhibit 700, which is the Excel
15 Q. And no worker, not just these two, 15 spreadsheet.
15 but no worker, in fact, ever told you that they 15 A. Yes.
17 ended up paying more than they had agreed to pay, 17 Q. l just want to clarify, Column F is
15 correct? 15 the amount paid denominated in rupees, correct?
19 MR. SANDLER: 19 A. Not always There's an example, f`or
20 Object to form. 20 instance, in Cell -
21 A. That wouldn't make sense for them to 21 Q. l see what you're saying. Let me
22 dO. 22 retract that.
23 EXAMINATION BY MR. KUPPERMAN: 23 MR. KUPPERMAN:
24 Q. Right. And none of them ever told 24 You want to let him answer
25 you that, right? 25 the question?
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l 1 A. Correct. 1 Ma sANI)LER:
2 MR. SANDLER: 2 Well, I'm going to correct
3 Object to form. 3 because l think I can make the
4 EXAMIN ATION BY MR. KUPPERMAN: 4 record clear.
5 Q. Do you have any sheet that is 5 EXAMINATION BY MR. SANDLER:
5 similar to this, by meaning showing recruiting 5 Q. Column -- the amounts -- the
7 fee breakdown, other than this single page with 7 currency in Column F corresponds with the
5 Employee 79 and Employee 42? 5 currency described in Column E for the same row
9 A. No, l don’t_ This is the most 9 numbers, i.e., the currency depicted at E7 would
10 detailed information that I have. 10 indicate what the currency is in F7.
11 MR. SANDLER: 11 A. Yes.
12 l'm going to stipulate it's 12 Q. And that's all the way down for the
13 two pages. 13 whole docu ment?
14 MR. KUPPERMAN: 14 A. Yes.
15 Well, l was going to say 15 Q. Thank you.
15 one, but it includes the back, but 15 Earlier today, you were asked about
17 whatever it is, it's fine with me. 17 Exhibit 641, and it had to do with getting a new
15 THE WlTNES-S: 15 housing agreement signed, and you said that you
15 One Excel file. 19 didn't really remember it.
20 MR. SANDLER: 20 A. Okay.
21 One Excel spread -- 21 Q. Do you recall what I'm saying?
22 MR. KUPPERMAN: 22 A. If you could refresh my memory a
23 l don't have any other 23 little bit.
24 questions right now. Thank you. 24 Q. It's Exhibit 641. There's an e-mail
25 MR. ALEXIS: 5 25 exchange about a new housing agreement, getting
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